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          EXHIBIT 4
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                   APPENDIX A




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’A lot of us in the Army didn’t agree or disagree with..., 2023 WLNR 8094670




                                                    3/5/23 Sunday Tel. 11
                                                    2023 WLNR 8094670

                                               Sunday Telegraph (UK)
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                                                        March 5, 2023

                                                         Section: News

                       ’A lot of us in the Army didn’t agree or disagree with Afghanistan war’
      Prince Harry talked about drugs and the importance of therapy to Dr Gabor Maté in an online interview

THE Duke of Sussex has said “a lot of us” in the Army “didn’t necessarily agree or disagree” with the war in Afghanistan.

Prince Harry, who served for 10 years in the Army and did two tours in Afghanistan, said that one of the rea sons why so
many people in the UK did not support the troops was because they “assumed” that all serving military personnel were in
favour of the invasion. “But once you sign up, you do what you’re told to do,” he told Dr Gabor Maté, a trauma expert, in a
livestreamed conversation. “There was a lot of us that didn’t necessarily agree or disagree, but you were doing what you were
trained to do. You’re doing what you were sent to do.”

The Duke, 38, took part in the 90-minute interview to promote his memoir, Spare, which was published in January.

The conversation with Dr Maté, a Hungarian-Canadian Jewish Holocaust survivor, touched on subjects including his drug
use, the importance of therapy and his wife, Meghan, who he said had “saved” him.

The Duke admitted that he has “lost a lot” by turning his back on royal duties and relocating to California. But he said that in
changing the “root cause” of his issues, he had gained the ability to bring up his children, Archie, three and Lilibet, one, in a
more “beneficial” environment, smothering them with the affection he was not shown as a child.

”I as a father feel a huge responsibility to ensure that I don’t pass on any trauma or any negative experiences that I’ve had as
a kid or as a man growing up,” he said.

The Duke said he was “grateful” that he had been able to change his environment after realising that life within the royal
institution was not right for himself or his family - and acknowledged that he was lucky to have had the resources to do so.

”When there are tough decisions to be put in front of you, there’s a lot of fear involved,” he said.

”Where you know what the right decision is but you’re afraid of making it because of what you’re going to lose.

”I’ve lost a lot. But at the same time, I’ve gained a lot. To see my kids growing up here the way they are, I just can’t imagine
how that would have been possible back in that environment.”

The Duke said he did not see himself as a victim but rather, considered his memoir “an act of service”.


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’A lot of us in the Army didn’t agree or disagree with..., 2023 WLNR 8094670



Meanwhile sources close to the Duke and Duchess of Sussex suggested that their children may not develop a relationship
with the King if the couple are not provided with accommodation in the UK. The couple have not been offered alternative
accommodation in the UK since being evicted from Frogmore Cottage, The Sunday Telegraph understands. The couple are
said to be concerned that future visits will be incredibly “complicated” if they are forced to stay outside the security
perimeters of a royal estate.

AKGS

PA/

STILLWELL/

JOHN

There has been no counter offer of a place to stay should they want to return, a source suggested.

They have not been offered the occasional use of rooms at St James’s Palace, for example, or any other royal resi dence,
meaning that they may have to use hotels or stay with friends.

The news raises the prospect that the King will have no tangible relationship with his two youngest grandchildren,

Archie and Lilibet, who may never be brought back to the UK.

”It’s not just his son, it’s his grand children too,” the source noted.

Buckingham Palace declined to comment. The King’s decision to remove one of the final links his son has to the UK was
described as indicative of the current state of the relationship between the two sides of the family.

While the Palace has also refused to comment on the allegations made in the Duke’s memoir or interviews, such actions have
been interpreted in California as a direct retaliation.

The Telegraph revealed last week that the Sussexes were “disappointed” but resolute about the King’s decision to ask them to
leave their Windsor home.

The couple were asked to vacate the five-bedroomed property in January, the day after the publication of Prince Harry’s
memoir.

’I as a father feel a huge responsibility to ensure that I don’t pass on any trauma I’ve had as a kid or as a man growing up’


---- Index References ----


News Subject: (Family Social Issues (1FA81); Judaism (1JU93); Religion (1RE60); Social Issues (1SO05))

Industry: (Aerospace & Defense (1AE96); Defense (1DE43); Ground Forces (1GR94); Military Forces (1MI37))

Region: (Afghanistan (1AF45); Asia (1AS61); Europe (1EU83); Western Asia (1WE54))

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Edition: 02

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’Hallucinogens have helped me to clean the windscreen of..., 2023 WLNR 8068334




                                 3/4/23 Daily Mail Online (U.K.) (Pg. Unavail. Online)
                                               2023 WLNR 8068334

                                                Daily Mail Online (UK)
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                                                       March 4, 2023


   ’Hallucinogens have helped me to clean the windscreen of my troubled mind’: Prince Harry extols the use of
                                   Class A drug in cosy online chat with ‘t...

                                             Caroline Graham In Los Angeles

’Hallucinogens have helped me to clean the windscreen of my troubled mind’: Prince Harry extols the use of Class A drug in
cosy online chat with ‘toxic trauma therapist’ Gabor Maté

For a man who demands his privacy, it was an extraordinary soul-bearing 90-minute public therapy session.

Prince Harry sat down with Dr Maté for a £17 livestreamed chat last night Duke of Sussex described taking hallucinogen
ayahuasca, saying it ‘changed me’ Read more: Prince Harry opens up on his ‘broken home’ upbringing

Prince Harry sat down with controversial ‘trauma therapist’ Gabor Maté for a £17 livestreamed chat last night and poured his
heart out about topics ranging from his ‘positive’ experience of psychedelic drugs to how wife Meghan Markle ‘saved’ him.

Sitting in front of a roaring fire at his £12 million home in Montecito, California, Harry at one point joked about how ‘great’
the free therapy session was as he yet again complained about how he felt ‘different’ from the rest of his family and now
bombards his own children with the love he feels he never received from his own father King Charles.

His choice of inquisitor was controversial as Dr Maté has been roundly criticised for advocating the use of psychedelic drugs
including the South American drug ayahuasca, which makes users vomit.

The Duke of Sussex cheerfully described taking the hallucinogen, saying it ‘changed me’ and describing it as ‘cleaning the
windscreen’ of his troubled mind. Harry, 38, also appeared to advocate for illegal drugs, at one point saying: ‘Marijuana
really did help me.’

While the ‘old’ Harry has long been fading from sight, yesterday’s event, entitled Living With Loss And Personal Healing,
blasted that person into oblivion. Often sliding into Californian ‘therapy speak’ the Prince opened up about his ‘broken home
upbringing’ and talked about his ongoing quest to find his ‘authentic true self’.

In one of the more jaw-dropping moments he talked about his military service saying he was a good candidate for the Army
‘because they recruit from broken homes’.

When Dr Maté said he disagreed with the war in Afghanistan, the Duke veered into politics saying many British soldiers
were ‘not necessarily supportive’ of the military effort, saying: ‘Once you sign up, you do what you’re told to do.

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’Hallucinogens have helped me to clean the windscreen of..., 2023 WLNR 8068334




’So there was a lot of us that didn’t necessarily agree or disagree, but you were doing what you were trained to do, you were
doing what you were sent to do.’

When asked if he ‘wallowed’ in victimhood, Harry smiled and said: ‘I definitely don’t see myself as a victim.’

Many of the themes were familiar topics from the endless interviews he has given to promote his memoir, a copy of which
was included in last night’s price for the event. Recalling his childhood, Harry called himself ‘a boy in a bubble’ saying: ‘I
am still unclear to this day whether it was one bubble or multiple bubbles... My own self was distorted and perhaps because
of my environment I was confined in but also because of society. What it does to you, is almost like box[ing] you in.’ The
topic then turned to his love of therapy with the Duke saying: ‘When I found my therapist and started to unpack 12-year-old
Harry at the point my mother died, it was scary. I thought that when I went to therapy, it would cure me, and that I would lose
whatever I had left of my mother [but] it was the opposite.

’I turned what I thought was supposed to be sadness to try to prove to her that I missed her into realising she just really
wanted me to be happy, and that was a huge weight off my chest.’ However he said that as he ‘learned a new language of
therapy’, he found that ‘my family didn’t speak that language.’ Elaborating on his use of ayahuasca he said it ‘brought me a
sense of relaxation, release, comfort, a lightness that I managed to hold on to for a period of time’.

But he said: ‘The moment I’m back in the chaos it kind of dissipates. I started doing it recreationally and then started to
realise how good it was for me. I would say it was one of the fundamental parts of my life that changed me and helped me
deal with the traumas and the pains of the past.’ He added that ‘marijuana really did help me’ but cocaine ‘did nothing’
except make him feel part of a group.
 READ MORE HERE: ‘I felt different to the rest of my family - and my mum felt the same’: Prince Harry opens up
on his ‘broken home’ upbringing saying parents rowing in front of children ‘is not a good idea’ - but FAILS to
mention William once in 90min toxic trauma chat
Speaking about fatherhood he said he wanted to avoid the emotional distance that defined his relationship with his own father
– recalling how Charles broke the news of Diana’s death to his son without hugging him.

He said that with his own children, Archie, three, and Lilibet, one, he was ‘trying to smother them with love’, adding: ‘I feel
a huge responsibility not to pass on any trauma or negative experiences that I’ve had as a kid or as a man growing up.’

He added that he and Meghan are trying to ‘break the pattern’ of divorce and childhood trauma, saying: ‘We do the best we
can as parents, learning from our own past and overlapping those mistakes, perhaps, and growing... to break that cycle.’
When asked what the most important thing in raising children he said: ‘It has to be love. There have to be rules, but one thing
my wife and I talk about is if they have a moment of frustration, to allow them to have that and then talk about it.’

Of his relationship with Meghan he said: ‘People have said my wife saved me. I was stuck in this world and she was from a
different world and helped draw me out of that.

’But none of the elements of my life would have been possible without me seeing it for myself.

’My partner is an exceptional human being and I am grateful for the space that she’s given to me.’

Turning to his decision to step away from Royal duties, he said: ‘Fear is a very controlling force... I wasn’t aware that there
was a choice and then I became aware of my situation, my environment and I was like “now there is a choice”.

’I realised if I take this change... I am inevitably going to get hugely criticised but I cannot let the fear of that keep me stuck
in this environment because it is not right for me, it’s not right for my wife or my children.


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’Hallucinogens have helped me to clean the windscreen of..., 2023 WLNR 8068334



News Subject: (Children (1CH89); Family Social Issues (1FA81); Health & Family (1HE30); Minority & Ethnic Groups
(1MI43); Parents & Parenting (1PA25); Race Relations (1RA49); Social Issues (1SO05))

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Other Indexing: (Prince Harry; Gabor Maté)

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’Spare’ but not stingy: takeaways from Prince Harry’s memoir, 2023 WLNR 987273




                         1/9/23 Delta Democrat Times (Greenville, Miss.) (Pg. Unavail. Online)
                                                2023 WLNR 987273

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                                                        January 9, 2023

                                                    Section: Entertainment

                              ’Spare’ but not stingy: takeaways from Prince Harry’s memoir

                                           HILLEL ITALIE AND JILL LAWLESS

From the book’s opening citation of William Faulkner, to Prince Harry’s passionate bond with his wife Meghan, you could
almost call the Duke of Sussex’s memoir “The Americanization of Prince Harry.”

Bereaved boy, troubled teen, wartime soldier, unhappy royal - many facets of Prince Harry are revealed in his explosive
memoir, often in eyebrow-raising detail. Running throughout is Harry’s desire to be a different kind of prince - the kind who
talks about his feelings, eats fast food and otherwise doesn’t hide beyond a prim facade.

Like an American.

From accounts of cocaine use and losing his virginity to raw family rifts, “Spare” exposes deeply personal details about
Harry and the wider royal family. Even Americans may flinch when he confides that a trip to the North Pole left him with
frostbitten genitals that proved most irritating during his brother’s wedding to Kate.

BROTHERHOOD

The book opens with a famous quote from Faulkner, bard of the American South: “The past is never dead. It’s not even past.”

Harry’s story is dominated by his rivalry with elder brother Prince William and the death of the boys’ mother, Princess
Diana, in 1997. Harry, who was 12 at the time, has never forgiven the media for Diana’s death in a car crash while being
pursued by photographers.

The loss of his mother haunts the book, which Harry dedicates to Meghan, children Archie and Lili “and, of course, my
mother.”

The opening chapter recounts how his father Prince Charles - now King Charles III - broke the news of his mother’s accident,
but didn’t give his son a hug.

Harry reveals that years later he asked his driver to take him through the Pont de l’Alma tunnel in Paris, site of the fatal crash,
hoping in vain that it would help end a “decade of unrelenting pain. He also says he once consulted a woman who claimed to
have “powers” and to be able to pass on messages from Diana.


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’Spare’ but not stingy: takeaways from Prince Harry’s memoir, 2023 WLNR 987273



Harry adds that he and William both “pleaded” with their father not to marry his long-term paramour Camilla Parker-Bowles,
worried she would become a “wicked stepmother.”

Harry also is tormented by his status as royal “spare” behind William, who is heir to the British throne. Harry recounts a
longstanding sibling rivalry that worsened after Harry began a relationship with Meghan, the American actor whom he
married in 2018.

He says that during an argument in 2019, William called Meghan “difficult” and “rude” (the kind of insults an upper class
Englishman might reserve for Americans), then grabbed him by the collar and knocked him down. Harry suffered cuts and
bruises from landing on a dog bowl.

Harry says Charles implored the brothers to make up, saying after the funeral of Prince Philip in 2021: “Please, boys - don’t
make my final years a misery.

Neither Buckingham Palace, which represents King Charles III, nor William’s Kensington Palace office has commented on
any of the allegations.

ADMIRATION FOR GRANDPARENTS

Harry writes with admiration and some affection about Queen Elizabeth II and Prince Phillip. He remembers Phillip’s “many
passions -carriage driving, barbecuing, shooting, food beer,” and above all how he “embraced life,” as did his mother.
“Maybe that was why he’d been such a fan” of Princess Diana, Harry recalls.

Meanwhile, he acknowledges being intimidated at times by his grandmother, if only because she was the Queen. She is no
more helpful than anyone else in containing the media leaks, but she is often seen as sympathetic to his wishes, never more so
than when she approved of his marriage of Meghan.

Harry also sees her as an engaging, even humorous person beyond her otherwise proper bearing. Reflecting on her death last
year he remembers whispering jokes into her ear or convincing her to participate in a widely seen promotional video of the
Invictus Games, in which she one-ups the Obamas in a sparring contest.

”She was a natural comedienne,” he writes, calling her “wicked sense of humor” a prized confidence between the two. “In
every photo of us, whenever we’re exchanging a glance, making solid eye contact, it’s clear. We had secrets.”

WILD TEENAGE YEARS

The memoir suggests the media’s party-boy image of Harry during his teen and young adult years was well-deserved.

Harry describes how he lost his virginity at 17 - in a field behind a pub to an older woman who loved horses and treated the
teenage prince like a “young stallion.” It was, he says, an “inglorious episode.”

He also says he took cocaine several times starting at the same age, in order to “feel different.” He also acknowledges using
cannabis and magic mushrooms - which made him hallucinate that a toilet was talking to him.

ARMY REVELATIONS

Harry offers extensive memories of his decade in the British Army, serving twice in Afghanistan. He says that on his second
tour, as an Apache helicopter co-pilot and gunner in 2012-2013, he killed 25 Taliban militants. Harry says he felt neither
satisfaction nor shame about his actions, and in the heat of battle regarded enemy combatants as pieces being removed from a
chessboard, “Bads taken away before they could kill Goods.”

Veterans criticized the comments and said they could increase the security risk for Harry. Retired Col. Richard Kemp said it
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’Spare’ but not stingy: takeaways from Prince Harry’s memoir, 2023 WLNR 987273



was “an error of judgment,” and regarding enemy fighters as chess pieces is “not the way the British Army trains people.”

”I think that sort of comment that doesn’t reflect reality is misleading and potentially valuable to those people who wish the
British forces and British government harm,” he told the BBC.

The Taliban returned to power in Afghanistan in 2021, and Harry’s words have drawn protests in the country. Afghan
Foreign Ministry spokesman Abdul Qahar Balkhi called the Western invasion of Afghanistan “odious” and said Harry’s
comments “are a microcosm of the trauma experienced by Afghans at the hands of occupation forces who murdered
innocents without any accountability.”

A REGULAR GUY

Yes, he’s a Prince, but he isn’t above stopping by for burgers and fries at an In-N-Out, or getting clothes from a chain outlet.
He’s also a compulsive watcher of “Friends” and relates most to the wisecracking Chandler Bing, played by Matthew Perry.
And because he’s a prince, he got to meet another “Friends” star, Courteney Cox, and indulge in chocolate psychedelic
mushrooms at her Los Angeles home.

THE REAL VILLAIN

Harry shares painful words about his father and brother, but his real anger is directed at the British media, and at those within
the royal circle who cooperated and otherwise stood aside. While Charles remains apparently indifferent to the press, the rest
of the family is obsessed with media coverage, Harry writes, himself as much as any of them. He expresses despair over what
he calls endlessly false stories about him, the racist caricatures of his wife and of the press’ unnerving knowledge of his
whereabouts and private correspondence. “One has to have a relationship with the press,” he is told by the royal staff.

PERSONAL JOURNEY

Harry credits Meghan with changing the way he sees the world and himself. He says he was “awash in isolation and
privilege” and had no understanding of unconscious bias before he met her.

The young prince notoriously wore a Nazi uniform to a costume party in 2005, and claims in the book that William and his
now-wife Kate encouraged the choice of outfit and “howled” with laughter when they saw it. He was recorded using a racist
term about a fellow soldier of Pakistani descent in 2006, but says he did not know the word was a slur and that the soldier
was not offended.

Meghan and Harry cited the U.K. media’s treatment of the biracial American actor as one of the main reasons for their
decision to quit royal duties and move to the U.S. in 2020.

The book gives no sign that royal family relations will be repaired soon. Harry told ITV in an interview to promote the book
that he wants reconciliation, but that there must be “accountability” first.

In the final pages, Harry describes how he and William walked side by side during the funeral procession of Queen Elizabeth
II in September, but spoke barely a word to one another.

”The following afternoon, Meg and I left for America,” he says.

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’Spare’ but not stingy: takeaways from Prince Harry’s memoir, 2023 WLNR 987273



Company: British Government; BRITISH ARMY TRAINING UNIT KENYA

News Subject: (Health & Family (1HE30); Minority & Ethnic Groups (1MI43); Race Relations (1RA49); Social Issues
(1SO05))

Industry: (Celebrities (1CE65); Entertainment (1EN08))

Region: (Afghanistan (1AF45); Americas (1AM92); Asia (1AS61); England (1EN10); Europe (1EU83); United Kingdom
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’Spare’ Is a Royal Riot. But What Does Prince Harry Really Want?, 2023 WLNR 1070635




                                   1/10/23 TheDailyBeast.com (Pg. Unavail. Online)
                                               2023 WLNR 1070635

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                                                     January 10, 2023


                       ’Spare’ Is a Royal Riot. But What Does Prince Harry Really Want?
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                                    Subscribe here to get it in your inbox ev...

                                                        Tom Sykes

Chris Jackson/Getty ImagesRoyalist is The Daily Beast’s newsletter for all things royal and Royal Family. Subscribe here to
get it in your inbox every Sunday.The most shocking revelations in Prince Harry’s memoir, Spare, have been splashed across
websites and newspapers for almost a week now, since Spanish booksellers put the book on sale six days earlier.The fact that
it is still a riveting read is a testament to what a skillfully written account of Harry’s life this book is.And what an
extraordinary life Harry has lived.The narrative proper opens with a description of the last day before everything changed
with the death of his mother: Aug 30, 1997.He and William are at Balmoral, the queen’s Scottish country home, and we get a
compelling picture not just of that day, but their entire, crazy, insanely privileged childhood, where they are served fish
fingers in front of the telly by footmen bearing plates covered with “fancy silver domes” removed with a flourish. They sleep
in starched sheets of an astounding thread count, embossed with his grandmother’s “EIIR” cipher. They bow to a statue of
Queen Victoria every time they pass it. His father, meanwhile, could often be found standing on his head in his bedroom in
his boxer shorts, by order of his physiotherapist, trying to heal old polo injuries. Wes Anderson would have a field day.Much
has been made of Harry’s supposed pettiness in relating examples of when he is treated less preferentially than his big
brother.One of these occurs here; the fact that he and William shared a divided room, but William had “the larger half, with a
double bed, a good size basin, a cabinet with mirrored doors, a beautiful window looking down on the courtyard, the
fountain, the bronze statue of a roe deer buck. My half of the room was far smaller. Less luxurious. I never asked why. I
didn’t care. But I also didn’t need to ask. Two years older than me, Willie was the Heir, whereas I was the Spare.”Harry (or
should we say his ghostwriter) is doing something much more clever than stamping his foot and saying, “It’s not fair.” He is
describing how he was overtly conditioned to accept, without question, an inferior status to his brother, and inviting the
reader to shake their head in wonder at the absurdity of it all, and ask themselves what that does to a kid.The death of his
mother is the beating heart of this book, and in one of the finest pieces of writing in the memoir, Harry takes us to his
bedroom on that grim morning, his wretched father sitting helplessly on the edge of his enormous, sunken bed with all its fine
linen. Charles ultimately broke the news by saying, “They tried, darling boy. I’m afraid she didn’t make it.” Diana, Princess
of Wales with her sons Prince William and Prince Harry attend the Heads of State VE Remembrance Service in Hyde Park
on May 7, 1995, in London, England. Anwar Hussein/Getty Images Harry’s accounts of the days after her death and her
funeral are also astonishing, with the icy writing injecting an eerie sense we are watching a mime show taking place behind
glass. So disconnected is Harry from his emotions that he refuses to believe his mother is really dead, a wilful delusion he
continued to harbor off and on for years.He says that Diana’s sister Sarah McCorquodale handed him and William “two tiny
blue boxes,” which contained Diana’s hair. He writes, “Aunt Sarah explained that, while in Paris, she’d clipped two locks
from Mummy’s head. So there it was. Proof. She’s really gone.”The reader might be forgiven for thinking this is a macabre
example of what Harry will later call the Windsor “death cult,” so it is, therefore, with some astonishment that we read, over

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’Spare’ Is a Royal Riot. But What Does Prince Harry Really Want?, 2023 WLNR 1070635



20 years later, that he keeps the blue box on his nightstand-and credits it with magically encouraging a positive result to
Meghan’s first pregnancy test.His conflict with his family, especially his brother, is the other key theme of the book, and he
paints a compelling portrait of the agony of brothers at war. William is overbearing, controlling, and dismissive of his
younger brother, and, much as they love each other, the resentments inexorably build up, layer by layer, rather like the stones
in the Tower of London that Harry later tells us were set with mortar mixed with animal blood for extra strength.Harry starts
using drink and drugs, but his habits remain, strangely, unexamined. He appears anxious to give the impression he doesn’t
have a problem with substances, just really likes getting high, hence the oddly boastful account of getting wasted on magic
mushrooms at Courtney Cox’s house and communing with a talking bin. One is left with the impression he still partakes of
the perhaps not-so-occasional joint.His account of his time in the military is a bit odd. Tales of killing the enemy are rather
Boy’s Own, and the now well-documented admission that he killed 25 enemy fighters is evidence that all-powerful figures
need advisers bold enough to say, “Maybe not, sir,” rather than yes men.Some readers may find their sympathy for Harry
drains somewhat in the final third of the book when he goes to war with his family and then leaves it. Not coincidentally,
perhaps, this, of course, is where the stream of gossipy revelations become a torrent. But the endless accusations against
Camilla make him look mean-spirited, and publishing Kate’s text messages to Meghan in their row over a bridesmaid dress
for Charlotte is simply hugely hypocritical for an advocate of privacy and compassion. When William pushes him over and
he breaks a dog bowl, one can’t help wondering: who the hell has a china dog bowl? Prince Harry, Meghan Markle,
Catherine, Duchess of Cambridge and Prince William, Duke of Cambridge attend the first annual Royal Foundation Forum
held at Aviva on February 28, 2018 in London, England. Chris Jackson - WPA Pool/Getty Images As the bones of the
dispute are picked over, it all becomes a bit much, a bit tawdry, and entirely unlike the marvelous revelation in the opening
section of the book that Princess Margaret once gave him a biro for Christmas that says so very much about the abiding
insanity of Britain’s ruling family.A scene in which he and Meghan gawp jealously at William and Kate’s apartment, which
is decorated with priceless artifacts from the Royal Collection, while Harry moans that they have just bought a new couch
with her credit card from sofa.com is tin-eared, especially considering that £2.4 million (as public records would later reveal)
of taxpayer’s money is at that very moment being spent renovating Frogmore Cottage for them.Their treatment by the media
is horrific, and the account of how the paparazzi ruin his relationships one by one by stalking his girlfriends is sickening. But
Harry takes out his anger with the press on his family, becoming increasingly outraged that William and Charles won’t join
what they regard as his ill-advised war on the media. Harry then concludes that they are in cahoots with the papers and
briefing against them.It’s a 2+2=5 moment, not helped by the contradiction of Harry’s own burgeoning media career.In
interviews, Harry has frequently appeared petulant, spoiled, babyish, and vindictive. It’s to the credit of his ghostwriter J.R.
Moehringer that in this book most of those rough edges are ironed out and he conveys, on the whole, the impression of a
flawed but hugely sympathetic human being.Ultimately, however, there is a huge credibility gap. Writing a book like this
simply is a betrayal of your family-and that means it is hard to square his endless protestations that he wants to reconcile with
his troubled clan with the reality of the damning, but rather brilliant, book in your hand.Read more at The Daily Beast.


---- Index References ----

Company: GETTY IMAGES HOLDINGS, INC.

News Subject: (Health & Family (1HE30))

Industry: (Book Publishing (1BO18); Books (1BO26); Celebrities (1CE65); Entertainment (1EN08); Publishing (1PU26);
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’Spare’ Is a Royal Riot. But What Does Prince Harry Really Want?, 2023 WLNR 1070635




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10 things we learned from Prince Harry’s live interview with..., 2023 WLNR 8242285




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                                                      March 6, 2023


                   10 things we learned from Prince Harry’s live interview with trauma expert
  Prince Harry’s 90-minute live conversation with ‘toxic trauma’ expert Dr Gabor Maté covered everything from
                                    hugs, drugs and his true feelings on th...

                                                     Martha Alexander

Prince Harry’s 90-minute live conversation with ‘toxic trauma’ expert Dr Gabor Maté covered everything from hugs, drugs
and his true feelings on the invasion of Afghanistan...

As part of the continued promotion for his memoir, Spare, Prince Harry, 38, joined Hungarian-Canadian trauma expert and
author Dr. Gabor Maté , 79, for what was billed as an intimate online conversation on ‘living with loss and the importance of
personal healing’. The 90-minute chat was hosted in part by Penguin Random House, who published Spare and was
broadcast live online to a select audience who had paid £20 per ticket.

Settled into vast armchairs in front of a roaring fire, the pair covered Harry’s childhood, his role as a soldier deployed to
Afghanistan, psychedelic drugs and the feeling of living in a bubble in 90 minutes. Here are ten top take aways from the talk.
1. Dr Maté is not deferential to the Prince
Throughout their conversation, Dr Maté repeatedly demonstrated that he was not in awe of the prince and not there to
mollycoddle him.

He challenged his opinions frequently and would openly disagree with him -including a moment where Harry claimed he had
enjoyed happy childhood.

This ties into Dr Maté’s obvious self-confidence: he once told an interviewer “I am arrogant. I like attention.”
 2. Condemnation compels Harry to reveal more
While Harry pointed out how much positive feedback Spare had received, citing ‘essays’ of praise it has received, he
acknowledged that it -and he -has plenty of detractors. However, he admits he is galvanised by negative opinions, telling Dr
Maté “The more [my enemies] criticise me, the more I need to share.”
 3. Harry believes some of his experiences with drugs “helped”
During their chat, Harry admitted to taking a range of recreational drugs, including cocaine and marijuana.

The former, he said, “did nothing” for him aside from giving him a temporary “sense of belonging” while the latter “actually
really did help me”.

But it was his appreciation for psychedelics -including drink ayahuasca which is brewed from two plants native to South
America -which was perhaps the most revealing.

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10 things we learned from Prince Harry’s live interview with..., 2023 WLNR 8242285




”It was the cleaning of the windscreen, cleaning of the windshield, the removal of life’s filters just as much as on Instagram,
these layers of filters,” he said of his experiences of psychadelics which can cause hallucinations.

”It removed it all for me and brought me a sense of relaxation, release, comfort, a lightness that I managed to hold on to for a
period of time. I started doing it recreationally and then started to realise how good it was for me, I would say it is one of the
fundamental parts of my life that changed me and helped me deal with the traumas and pains of the past.”
 4. Dr Maté diagnosed harry with ADD
In the midst of their discussions, Dr Maté, who spent decades as a medical doctor before retiring, diagnosed Harry with
Attention Deficit Disorder (also known as ADHD -Attention Deficit Hyperactivity Disorder).

ADD is, according to Additude magazine -a publication dedicated to educating people about ADHD -”a neurological
condition with symptoms of inattention, distractibility, and poor working memory”.

Although this was only their second meeting, Dr Maté was confident Harry presented as someone with ADD.

”Whether you like it or not, I have diagnosed you with ADD. You can agree or disagree,” he said.

Prince Harry answered, “OK – should I accept that or should I look into it?”

Maté replied, “You can do what you want with it.”
 5. Harry denied being a victim or seeking sympathy
Presumably aware that some critics and commentators see him and his wife as playing the victim -the most recent example
being an episode of South Park which sees a prince and princess in exile demanding privacy and attention at the same time
-Harry twice denied seeing himself as a victim.

He also said “and I have never looked for sympathy in this, for me.”

Instead he claimed his efforts were acts of service.
 6. Harry said British soldiers did not ‘necessarily agree’ with war in Afghanistan
Dr Maté told Harry he did not endorse the war in Afghanistan -where Harry was deployed as an officer.

”One of the reasons why so many people in the United Kingdom were not supportive of our troops was because they
assumed that everybody that was serving was for the war,” he responded.

”But no, once you sign up, you do what you’re told to do. So there was a lot of us that didn’t necessarily agree or disagree,
but you were doing what you were trained to do, you were doing what you were sent to do.”
 7. The Duke loves hugging his children
Harry and Dr Maté discuss how displays of emotion, hugging and physical touch were not the norm in the royal family
growing up. Harry agreed that he lacked being held as a child and admitted that is has made him commit to hugging his own
children, Archie and Lilibet, as much as possible.

”[My childhood] leaves me in position now, as a father to two kids of my own, making sure that I smother them with love
and affection... feel a huge responsibility to ensure that I don’t pass on any traumas...or any negative experiences that I had as
a kid or as a man growing up.”
 8. Harry compared himself to The Boy in the Bubble
In the early 1980s, a documentary exploring the life of a little boy called David Vetter, from Texas, USA shocked the world.
Vetter had spent his entire life sealed inside a plastic bubble with no human contact whatsoever until his death, aged 12, in
1984.

Harry referenced it -suggesting his childhood as a royal was similar to Vetter’s.

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10 things we learned from Prince Harry’s live interview with..., 2023 WLNR 8242285



’It’s interesting, the film The Boy in the Bubble, it kind of felt like that to some extent.’
 9. There was no mention of William
The absence of Harry’s brother, the Prince of Wales, in any of the discourse is telling. Maybe it’s because Harry is trying not
to bring William any unwanted or negative attention after the volley of incendiary bombshells in Spare -or perhaps it’s
because he is sticking to the adage ‘if you have nothing nice to say, say nothing at all’. Whatever the reason, the omission of
William speaks volumes.
 10. Harry believes Meghan saved him
Harry has always been vocal when it comes to praising his wife, so it was no surprise to hear him describe her as an
“incredible human being” to Dr Maté.

”My wife saved me. I was stuck in this world, and she was from a different world and helped draw me out of that,” he said.
“But none of the elements of my life now would have been possible without me seeing it for myself.”

He also shared that his relationship with Meghan has educated him on the blight of racism.

”I think what people perhaps don’t understand is the pain that it causes to an individual is huge, but then the pain that it
causes to society is immense,” he said.


---- Index References ----

Company: PENGUIN RANDOM HOUSE LLC

News Subject: (Children (1CH89); Children’s Health (1CH55); Disabled Issues (1DI27); Health & Family (1HE30);
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Industry: (Celebrities (1CE65); Entertainment (1EN08); Healthcare (1HE06); Healthcare Practice Specialties (1HE49);
Healthcare Services (1HE13); Psychiatric Disorders & Conditions (1PS79); Psychiatric Services (1PS61); Psychiatry
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All Prince Harry’s Memoir Revelations So Far-and One Big Omission, 2023 WLNR 669699




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                                                        January 7, 2023


                        All Prince Harry’s Memoir Revelations So Far-and One Big Omission
    Photo Illustration by Elizabeth Brockway/The Daily Beast/GettyThe publishers promised us a heartfelt and
                                    intimate memoir.While the jury is out on t...

                                                           Tom Sykes

Photo Illustration by Elizabeth Brockway/The Daily Beast/GettyThe publishers promised us a heartfelt and intimate
memoir.While the jury is out on that one, what we do know is that Prince Harry’s memoir, Spare, certainly contains a series
of eye-popping and toe curling revelations.Two warnings: do not read on if you find accounts of frost-bitten royal penises
offensive, and please note, all quotes are taken from British newspapers, and websites’ translations of the Spanish version of
the book, which went on sale six days early, so the precise wording may differ from the original English language version
due to be published next week.Harry says that he killed 25 Taliban fightersHarry says that in the “din and confusion of
combat” he thought only to ensure that “baddies” were eliminated before they could kill “goodies” and he thought of enemy
combatants as chess pieces. Harry’s decision to publicize his kill count has been widely criticized, amid fears that it could
make him an even bigger target for terrorists. Hashtags saying Harry is a war criminal have been trending on Twitter. Colonel
Richard Kemp, commander of British forces in Afghanistan in 2006, told BBC News: “Talking about ‘chess pieces’ and not
human beings… feeds very much into the narrative that the British Army went into Afghanistan and other places as callous,
cold-hearted killers… which of course is far from the truth,” adding that Harry’s words could “potentially be used to incite
and encourage others to carry out attacks, including British people in this country.”Harry had a frost-bitten penis at Kate and
William’s weddingThe Victorian constitutional historian Walter Bagehot once said that the greatest risk the monarchy could
take was to allow sunlight in on the magic. He probably wouldn’t have approved, therefore, of a member of the royal family
pulling down their pants in the way that Harry does in Spare. Harry writes that his penis became “frost nipped” after an
expedition to the North Pole in March 2011 and was still “an issue” at the time of his brother’s wedding. He says that among
the remedies he tried, with little success, were Elizabeth Arden cream. He also says that he was circumcised as a child,
adding, “the chance of getting penile frostbite is much greater if you’re not circumcised… I was snipped as a baby.”While we
are down there, Harry also says, per the BBC, that he wet his pants hours before meeting Meghan for their first date while out
at sea for a racing competition on a boat that didn’t have a toilet. He says: “All I cared about was jumping into the water,
washing off the pee from my trousers and getting back to London as fast as possible where I was about to start my real
race.”He learned about the queen’s death from the BBCThere was a great deal of controversy around the time of the queen’s
death about how and when Harry was told the news. In his book Harry reveals, The London Times says, contrary to what the
palace has insisted, that he did not get the information from his father first, but learned of her death in the first instance from
the BBC website as the private plane he had chartered to whisk him towards Balmoral was descending into Scotland.
Britain’s Prince Harry, Duke of Sussex (L), and Prince William, Duke of Cambridge, attend the unveiling of a statue of their
mother, Princess Diana at The Sunken Garden in Kensington Palace, London on July 1, 2021, which would have been her
60th birthday. Dominic Lipinski/Pool/AFP via Getty Images William and Harry: the fight, and smashed dog bowlThis was
the first revelation to break from the book, and a scoop for The Guardian. On Thursday morning it was dynamite. It seems

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All Prince Harry’s Memoir Revelations So Far-and One Big Omission, 2023 WLNR 669699



rather tame now. Amazingly, Harry says that immediately after the fight the first person he called was his therapist. This has
left some people scratching their heads, as Meghan claimed on her Oprah Winfrey interview that she was unable to get access
to a therapist. A friend of William’s exclusively told The Daily Beast, “It hardly sounds like a violent assault.”Harry accused
Camilla of planting storiesCamilla, who had an affair with Charles throughout much of his marriage to Diana, comes off
pretty badly in the book, with Harry at one stage pondering whether she will be “an evil stepmother.” He also accuses her of
placing stories about him in the media, and seems to imply that she plotted to be queen. He also says that William referred to
Camilla as the, “other woman.”He writes: “Willy did everything he [King Charles] wanted, and sometimes he didn’t want
him to do much, because dad and Camilla didn’t like Willy and Kate getting too much publicity.”Charles told him about
Diana’s deathHarry describes being woken at Balmoral the morning after his mother’s death in a Paris underpass by his
father. According to the Sky News translation, Harry writes that he was woken up by his father, who “sat on the edge of the
bed and put his hand on my knee.” He then recalled Charles saying: “My dear son, mum has had a car accident. There have
been complications. Mum has been seriously injured and has been taken to hospital, my dear son.” Harry adds: “He would
always call me ‘dear son,’ but he was repeating it a lot. He spoke quietly. It gave me the impression he was in shock.”Harry
went to the Paris tunnel where Diana diedHarry writes, “The bump that supposedly sent mummy’s Mercedes veering off
course” was “nothing” and he “barely felt it.” He hoped the drive would aid closure, but it didn’t, and he concludes it was “a
very bad idea.” Princess Diana, Prince Harry, Prince William, Prince Charles at Prince William’s first day at Eton. Tom
Wargacki/WireImage Harry, William wanted Diana death investigation reopenedHarry alleges that he and William were
persuaded not to go forward with a plan to issue a statement asking for the investigation to be reopened by senior courtiers.
According to some translations of the Spanish text, Harry calls the conclusion that the crash was caused solely due to a drunk
driver “simplistic and absurd,” and asks “Why had those paparazzi got off lightly? Why weren’t they in prison? Who had
sent them? And why weren’t those people in jail either? What other reason could there be apart from corruption and
cover-ups being the order of the day?”Meghan told Kate she had baby brainHarry claims that Meghan upset Kate Middleton
shortly after she had given birth by telling her that she might have “baby brain” before their 2018 wedding. Harry alleges that
Meghan apologized but William “pointed a finger” at her. Per the Telegraph, William then reportedly went on to say: “Well,
it’s rude, Meghan. These things are not done here.” Meghan is alleged to have responded: “If you don’t mind, keep your
finger out of my face.”He called a graveside meeting with Charles and WilliamAt a meeting in a royal graveyard after Prince
Philip’s death, Charles pleaded with his sons not to make his “final years a misery.” Call us naïve, but isn’t the point of
calling a secret meeting not to tell anyone about it? Especially one in a graveyard.Charles gave him the title for his bookOn
the day Harry was born, Charles allegedly told Diana, “Wonderful, now you’ve given me an heir and a spare. My work is
done.” Prince Harry grimaces during a polo match on June 18, 2003 in Windsor, England. Anwar Hussein/Getty Images
Harry took lots of drugsHarry describes smoking marijuana in his garden at his home in Kensington Palace and making sure
the smell didn’t waft through to his neighbor, Prince Michael of Kent. He also says he took cocaine, cannabis and magic
mushrooms. Under the influence of the latter, he became persuaded that a toilet had grown a head and was talking to him.
“Psychedelic drugs also helped me. I had experimented with them throughout the years, for simple pleasure, but now I had
started to take them for therapy, like medicine [to see] another world beyond my very limited sensory perception.”Lost
virginity in field to woman who compared him to a stallionAccording to a translation posted on the Sky News website, Harry
described his partner as “an older lady, who loved horses very much and treated me like a young stallion… I mounted her
quickly, after which she spanked my ass and held me back… one of my mistakes was letting it happen in a field, just behind
a busy pub. No doubt someone had seen us.”The Daily Beast understands from friends of Harry’s set that the pub in question
is a now-shuttered, formerly legendary hostelry in the Cotswolds where the “glossy posse” used to go after hunting, named
The Tunnel House Inn-and known locally as the Tunnel.He tried to contact Diana via a woman with “powers”According to
The Guardian, the woman told him: “You’re living the life she couldn’t. You’re living the life she wanted for you.”Harry
writes that on being told his mother was “with him,” his neck “grew warm” and his eyes watered, The Guardian reported.
Harry said that before the visit to the psychic, Archie had smashed a Christmas tree ornament in the shape of his
grandmother, Queen Elizabeth II.This bizarre detail resurfaces when Harry visits the psychic, who says: “Your mother
says… something about a Christmas ornament? Of a mother? Or a grandmother? It fell? Broke?… Your mother says she had
a bit of a giggle about that.” A man reads The Sun in London, Jan. 13, 2005 with a headline about Prince Harry wearing a
Nazi uniform at a costume party. Jim Watson/AFP via Getty Images Harry part-blames William and Kate for Nazi
costumeHarry writes that he was trying to choose between a pilot uniform or a Nazi uniform and called his brother for
advice. “I phoned Willy and Kate, asked what they thought. Nazi uniform, they said.” Harry adds that he later tried the outfit
on in front of them: “They both howled. Worse than Willy’s leotard outfit! Way more ridiculous! Which, again, was the
point.”He likes a nice room, with a nice viewPer Sky News, he considered it disrespectful “that one of the queen’s private
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All Prince Harry’s Memoir Revelations So Far-and One Big Omission, 2023 WLNR 669699



secretaries parked next to his window and blocked out his bedroom light.” Later he complains that at Christmas at
Sandringham in 2013, he was “given a mini room in a narrow back corridor.”In another section, Harry and Meghan visit
William and Kate in their apartment. He writes: “The wallpaper, the ceiling trim, the walnut bookshelves filled with volumes
of peaceful colors, priceless works of art. Magnificent. Like a museum. We congratulated them on the renovation without
holding back the compliments while feeling embarrassed of our IKEA lamps and the second-hand sofa we’d recently bought
on sale with Meg’s credit card on sofa.com.” Such is the agony of being the spare!And the glaring omission… Who was the
royal racist?In their interviews with Oprah Winfrey, the couple alleged that a member of the royal family asked them what
color skin their then-unborn babies would be likely to have. They refused to identify the person beyond saying it wasn’t the
queen or Prince Philip.It seems odd the issue isn’t addressed in Spare, alongside Meghan’s experiences of racism within the
family and at the hands of the British tabloids. Maybe he is saving this for the sequel, or one of the TV interviews to
come.Read more at The Daily Beast.


---- Index References ----


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Anti-drug campaigners blast Prince Harry for sending..., 2023 WLNR 8173678




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                                                         March 6, 2023


    Anti-drug campaigners blast Prince Harry for sending ‘worrying message to young people’ after he claimed
                                  Cannabis ‘really helped’ his mental health...

                                                          Claire Duffin

Anti-drug campaigners blast Prince Harry for sending ‘worrying message to young people’ after he claimed Cannabis ‘really
helped’ his mental health in latest interview - before describing ‘positive’ experience of psychedelic drug ayahuasca

Campaigners have criticised Prince Harry after he spoke again about using drugs, saying he is sending a worrying message to
young people.

The Duke of Sussex told how using cannabis – a Class B drug – ‘really helped’ him He said ayahuasca it ‘brought me a sense
of relaxation, release, comfort’

In a live-streamed interview, the Duke of Sussex told how using cannabis – a Class B drug – ‘really helped’ him to deal with
mental health issues following the death of his mother.

He also talked about his ‘positive’ experience of psychedelic drug ayahuasca, saying it ‘brought me a sense of relaxation,
release, comfort, a lightness that I managed to hold on to for a period of time’.

The duke, 38, made the comments in an interview with therapist Dr Gabor Mate, an outspoken supporter of decriminalising
drugs who has allegedly used Amazonian plant ayahuasca to treat patients suffering mental illness.

Harry told him: ‘[Cocaine] didn’t do anything for me, it was more a social thing and gave me a sense of belonging for sure, I
think it probably also made me feel different to the way I was feeling, which was kind of the point. Marijuana is different,
that actually really did help me.’
 READ MORE: Reckless, ignorant, self-serving... Prince Harry’s words will cause huge harm, says psychiatrist DR
MAX PEMBERTON
Fiona Spargo-Mabbs, who launched a drugs education charity in her son Daniel’s name after he died of an accidental MDMA
overdose aged 16, described the comments as ‘concerning’.

’Our work is with under-18s and our concern is that this can send a message that is going to make young people think that
drugs are going to help them with stuff that is really difficult,’ she said.

’It is a time when a lot of them are struggling with their mental health.


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’Numbers have really increased and access to support services is a real struggle as services are incredibly stretched.

’Unfortunately young people are getting the message from somewhere that drugs are going to help with their problems and
anything that reinforces that is a concern for us.

’Using drugs as a coping strategy is more likely to lead to dependence than other motivations because that becomes how you
are coping with something.’

She added of Harry: ‘He has been very public about his drug use, which is one thing, but the statement that it helped him is a
concern for young people.’

TV presenter Kirstie Allsopp also criticised the duke, tweeting: ‘If you have a vast platform you don’t mouth off about using
illegal drugs, the trade which kills people.’ In his memoir Spare, Harry admitted using cocaine, cannabis and magic
mushrooms and was accused of being ‘irresponsible’ and glorifying drugs.

Yesterday his latest comments were seized upon by pro-cannabis campaigners to bolster their calls for it to be legalised in the
UK.

The CannaClub said on Twitter: ‘Definitely time to decriminalise.

’If it’s good enough for our Prince Harry then it’s good enough for millions of people. Listen to the science. Cannabis is good
for so many aliments.’

Clear Cannabis Law Reform, which campaigns for legally regulated cannabis to be available on prescription and at licensed
outlets for adults, also retweeted a link to an article about Harry.

Yesterday a charity blasted Dr Mate for diagnosing Harry with ADHD (attention deficit hyperactivity disorder) live on air.

The ADHD Foundation said it was not ‘ethical nor appropriate to tell someone for the first time, in a public interview, that
they have ADHD. It is for the individual to decide whether to disclose their neurodiversity’.


---- Index References ----

Company: ADHD FOUNDATION


Industry: (Agriculture (1AG63); Agriculture, Food & Beverage (1AG53); Cannabis (1CB42); Healthcare (1HE06);
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Aunt of woman killed by Class A drug rebukes ‘irresponsible’..., 2023 WLNR 8218779




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                                                       March 6, 2023


           Aunt of woman killed by Class A drug rebukes ‘irresponsible’ Prince Harry for praising it
  The Duke of Sussex spoke of using psychedelic drugs such as ayahuasca in a live interview with trauma expert
                                                Dr Gabor Mate.

                                                           Jon King

Prince Harry’s praise for a drug has been criticised by the family of a woman who died after taking the psychedelic
substance. The Duke of Sussex spoke to Dr Gabor Mate on Saturday in a live interview where topics also included his use of
cocaine, marijuana and alcohol.

Related articles

Harry said cocaine didn’t do anything for him and was more of “a social thing,” giving him a sense of belonging.

The Duke also revealed his use of psychedelics such as the plant-based drug ayahuasca, which can lead a user to hallucinate,
as a way of helping him cope with the trauma of the death of his mother, Princess Diana.

Harry said: “It was the cleaning of the windscreen, cleaning of the windshield, the removal of life’s filters just as much as on
Instagram, these layers of filters.

”It removed it all for me and brought me a sense of relaxation, release, comfort, a lightness that I managed to hold on to for a
period of time.”

Harry and Meghan given updated timeline to vacate Frogmore Cottage - long after CoronationPrince Harry and Meghan
Markle have reportedly been given an updated timeline to give up the keys to their royal home, Frogmore Cottage, with the
couple expected to be given a new Palace home by King Charles.

While the Sussexes must leave their previous residence “within weeks”, the America-based couple could be offered Prince
Andrew’s old suite in Buckingham Palace.

Read more HERE.

He added: “I started doing it recreationally and then started to realise how good it was for me, I would say it is one of the
fundamental parts of my life that changed me and helped me deal with the traumas and pains of the past.”

Jennifer Spencer killed herself in 2019 after she suffered psychosis from the drug on a yoga retreat in Peru.

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Aunt of woman killed by Class A drug rebukes ‘irresponsible’..., 2023 WLNR 8218779




Her aunt, Fiona Chase, 73, from Andover, Hampshire, told The Sun: “He should not be speaking positively about this drug.
It’s irresponsible because a lot of people look up to him.

”It worked for him, but it certainly didn’t work for Jenny. Like every drug, different people react differently.”

READ ABOUT CAMILLA MAKING ANTIQUES ROADSHOW HISTORY

Related articles

After the inquest into Ms Spencer’s death, East Sussex assistant coroner James Healy-Pratt issued a prevention of future
death report in which he issued an urgent alert to the NHS.

Mr Healy-Pratt warned ayahuasca, DMT and similar “Shamanic” hallucinogens were becoming more common in the UK. He
called for more awareness among mental health professionals.

In the report, he wrote: “In my opinion action should be taken to prevent future deaths.”

Tory MP Nigel Mills told the same publication: “Harry’s comments are clearly dangerous. What he said is a disgrace.”

DON’T MISS: Americans react to Rebel Wilson’s comments about Meghan Markle [LATEST] Prince Harry has ‘put
himself in danger’ and should ‘miss’ Coronation [REPORT] Queen Camilla makes Antiques Roadshow history with rare find
[REVEALED]

Mr Mills added: “If you have a coroner issuing warnings about this stuff then we should not have someone in such a
high-profile position promoting and boasting about it. He is by no means a medical expert. His comments are outrageously
stupid.”

Harry’s interview with Dr Mate came after the publication of the Duke’s best-selling memoir, Spare.

Dr Mate told him: “Reading the book, I diagnose you with ADD... I see it as a normal response to normal stress.”

He said this can be “healed at any age”.

ADD is a term used for people who have difficulties with concentration without the presence of symptoms of attention deficit
hyperactivity disorder , such as impulsiveness or hyperactivity.

A speaker and best-selling author, Dr Mate claims to have expertise on a range of topics including addiction, stress and
childhood development.

According to reports, he is an outspoken supporter of decriminalising drugs and has allegedly used the Amazonian plant
ayahuasca to treat patients suffering from mental illness.

The livestreamed event was produced by Penguin Random House in partnership with Barnes & Noble, Waterstones and
Indigo Books & Music.

Related articles

Tickets for the event cost £17, plus a £2.12 fee for UK customers.

The price included a copy of Spare, which became the fastest-selling non-fiction book in the UK since records began on its
release in January.
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Aunt of woman killed by Class A drug rebukes ‘irresponsible’..., 2023 WLNR 8218779




For information, help and advice about drugs visit talktofrank.com

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Lincolnshire antique store Stacey Solomon cleans ‘greasy’ hair after not washing it for 3 weeks


---- Index References ----

Company: BARNES & NOBLE, INC.; Indigo Books & Music Inc.; PENGUIN RANDOM HOUSE LLC

News Subject: (Health & Family (1HE30); Health & Wellness (1HE60))

Industry: (Healthcare (1HE06); Healthcare Practice Specialties (1HE49); Healthcare Services (1HE13); Psychiatric Disorders
& Conditions (1PS79); Psychiatric Services (1PS61); Psychiatry (1PS63))

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Enrique may lose his visa after saying he used drugs




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                                                        March 7, 2023


                                   Enrique may lose his visa after saying he used drugs

                                                      Agencia Reforma

Once again Prince Harry is in trouble, now he is at risk of having his U.S. visa revoked after revealing that he used drugs,
reported the Mirror.

The Duke of Sussex revealed in Spare, his memoirs, that in his youth he repeatedly used cocaine and other drugs, as it helped
him to improve his life.

Prince Henry revealed that he started using marijuana and ayahuasca to cope with all the traumas of his past and said he
realized that it did him good to use them in his daily life.

”I started doing it recreationally and then I started to realize how good it was for me,” he told Dr. Gabor Mate.

The Mirror reported that U.S. immigration officials take a tough stance when it comes to non-U.S. citizens using drugs in the
country, so the Duke of Sussex risks having his visa revoked.

In recent years British citizens have had problems entering the United States such as Nigella Lawson, who was prevented
from taking a flight to the country after using cocaine beforehand.


---- Index References ----


News Subject: (Crime (1CR87); Immigration & Naturalization (1IM88); Smuggling & Illegal Trade (1SM35); Social Issues
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Enrique may lose his visa after saying he used drugs




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From a frostbitten penis to Dad’s daily handstand habit in..., 2023 WLNR 1076754




                                       1/10/23 N.Y. Daily News (Pg. Unavail. Online)
                                                  2023 WLNR 1076754

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                                                        January 10, 2023


   From a frostbitten penis to Dad’s daily handstand habit in boxer shorts, Prince Harry spares nothing in new
                                                    memoir

                                            Theresa Braine; New York Daily News

The hype is done. We now have the Book.

Prince Harry’s memoir, “Spare,” came out on Tuesday, replete with even more revelations than his smattering of
prepublication interviews had hinted at. It sold 400,000 copies in the U.K. including hardcover, e-book and audio, on day one
— rivaling first-day sales of the “other Harry,” said Larry Finlay, managing director of Transworld Penguin Random House,
referring to the Harry Potter franchise.

We’ve already heard about how Prince Harry for years was unable to believe his mother was dead; that he missed his
grandmother’s last moments because he wasn’t invited on the plane rushing family members to her bedside; that he
experimented with drugs, and that he lost his virginity at age 17 to an older woman, behind a pub.

The full book contains a bombshell on every page, what BBC News calls a mixture of confession, rant, love letter and “the
longest angry drunk text ever sent.”

The trauma of losing his mother, Princess Diana, infuses and informs the entire narrative.

Many of his anxieties seem to stem from that terrible day in 1997 when the then 12-year-old prince’s father, now King
Charles, told his “darling boy” that his mummy had been in a car crash and “didn’t make it.”

Harry seems almost as traumatized by the relentless press attention as he is by his mother’s death.

”The last thing Mummy saw on this Earth was a flash bulb,” Harry told Anderson Cooper in a “60 Minutes” interview that
aired Sunday.

The day after she died, Harry grabbed his father’s hand for comfort as the cameras clicked while the family greeted the
crowds of mourners. It backfired completely, since “that gesture set off an explosion of clicks,” he wrote, adding that he had
inadvertently “given them exactly what they wanted. Emotion. Drama. Pain. They fired and fired and fired.”

Harry hates the British press in particular, especially the tabloids.

Rebekah Brooks, who used to edit News of the World and The Sun, is not referred to by name. She becomes the anagram

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From a frostbitten penis to Dad’s daily handstand habit in..., 2023 WLNR 1076754



“Rehabber Kooks,” though the moniker’s true identity is left up to the imagination of the reader. He describes her as “an
infected pustule on the arse of humanity, plus a s--- excuse for a journalist.”

Charles and Camilla allegedly did not hesitate to further their public image at the expense of his son.

Thus it came as a major betrayal when Charles and Camilla’s rep worked with Brooks to change his dad’s public image from
“unfaithful husband” to “harried single dad coping with a drug-addled child.”

They did this by not bothering to correct a false story asserting Harry had gone to rehab.

”I felt heartbroken at the idea that this had been partly the work of my own family, my own father and future stepmother,”
Harry writes. “They’d abetted this nonsense. For what? To make their own lives a bit easier.”

Camilla, in particular, “sacrificed me on her personal PR altar,” Harry writes, even as he acknowledges that he wanted them
to be happy.

Charles joked about Harry’s “spare” status starting on the day of his birth.

”Wonderful! Now you’ve given me an Heir and a Spare — my work is done,” Harry reports that his father told his mother.
Though the future king was “presumably” joking, he said it just before trotting off to meet “his girlfriend,” Camilla.

King Charles does daily headstands, on doctor’s orders, wearing nothing but boxers.

There is no shortage of TMI in this tome. One of the more intimate details is King Charles’s daily regimen:

”Prescribed by his physio, these exercises were the only effective remedy for the constant pain in Pa’s neck and back,” Harry
writes. “Old polo injuries, mostly. He performed them daily, in just a pair of boxers, propped against the door, hanging from
a bar like a skilled acrobat.”

He wishes, in retrospect, that he and his Aunt Margo, the late Princess Margaret, had been friends — spare to spare.

Her relationship to her sister, Queen Elizabeth II, bore similarities to the one Harry shares with older brother William, now
next in line to the throne. There was the “simmering rivalry” and the “intense competition,” mostly emanating from the elder
sibling. Also similar was the way they were pushed apart as their drastically different destinies unfolded.

He identified with Chandler’s character in “Friends,” and once stayed at Courtney Cox’s house.

Cox was a friend of a friend, and he once ended up there at a party that lasted a couple of days and involved many magic
mushrooms, washed down with tequila.

He’s grateful to ex-girlfriend Cressida Bonas for helping him process his mother’s death.

Bonas helped him open up and cry for the first time since Diana’s burial. She was “the first person to help me across that
barrier,” he wrote. “It was cathartic, it accelerated our bond, and added an element rare in past relationships: immense
gratitude.”

That bond notwithstanding, he realized while on a ski trip to Kazakhstan that “we weren’t a match” and felt remorse at
breaking up and “leaving her in tears” when she had been the one to help him cry.

His penis got frostbite.

During a trip to the Arctic, the royal appendage got frostbitten and remained icy and painful even as Harry attended William
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From a frostbitten penis to Dad’s daily handstand habit in..., 2023 WLNR 1076754



and Kate’s wedding. It was during a charity expedition to the North Pole, as he and fellow soldiers who had served in
Afghanistan hiked 200 miles across the frozen landscape. Harry’s ears, cheeks and “todger,” as he calls it, were frostbitten.
He also goes to great lengths to clarify that he and his brother were circumcised, refuting numerous stories that Diana had
expressly forbidden it, as Vanity Fair noted.

”All the stories were false,” he wrote. “I was snipped as a baby.”

With News Wire Services


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News Subject: (Family Social Issues (1FA81); Social Issues (1SO05))

Industry: (Book Publishing (1BO18); Books (1BO26); Celebrities (1CE65); Entertainment (1EN08); Live Entertainment
(1LI85); Publishing (1PU26); Traditional Media (1TR30))


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From Brotherly Beefs to Penises, Virginity, Drugs and More,..., 2023 WLNR 578403




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                                                          January 5, 2023

                                                          Section: Arena

   From Brotherly Beefs to Penises, Virginity, Drugs and More, Prince Harry’s Biggest Bombshells and Juiciest
                                            Confessions From ‘Spare’

                                                              Parade

Prince Harry really does tell all, for better or worse.

Prince Harry revealed a slew of secrets in his memoir Spare, dishing on everything from his marital spats with Meghan
Markle to the infamous royal rift with his brother Prince William and father King Charles III.

Here are the biggest revelations from Spare.

Related: How to Watch Prince Harry’s Interviews for Spare

Then-Prince Charles allegedly told Princess Diana he was ‘done’ after Prince Harry was born.

Prince Harry alleged in Spare that after his birth, his father King Charles III (then Prince Charles) told his mother, Princess
Diana, “Now you’ve given me an heir and a spare-my work is done.”

Prince Harry addresses rumors of James Hewitt being his real father-and King Charles’ reaction to them.

Prince Harry alleges that his father would often make cruel remarks about whether or not he was Harry’s biological father.

”Pa liked telling stories, and this was one of the best in his repertoire. He’d always end with a burst of philosophizing …
‘Who knows if I’m really the Prince of Wales? Who knows if I’m even your real father?’” Harry wrote.

”He’d laugh and laugh, though it was a remarkably unfunny joke, given the rumor circulating just then that my actual father
was one of Mummy’s former lovers: Major James Hewitt. One cause of this rumor was Major Hewitt’s flaming ginger hair,
but another cause was sadism,” he continued.

Harry pointed out that Hewitt and Diana met well after his birth, making the rumors completely bogus, but that it didn’t stop
anyone from speculating about it.

Prince Harry alleged that Prince William felt guilt over King Charles’ affair with Camilla during his marriage to Princess
Diana.

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Prince Harry writes in Spare that when his mother talked about there being “three in the marriage” in her famous Panorama
interview, he and Prince William were hit hard, but that his brother in particular felt responsible somewhat for his father’s
infidelity.

”She left Willy and me out of the equation. We didn’t understand what was going on with her and Pa, certainly, but we
intuited enough, we sensed the presence of the Other Woman, because we suffered the downstream effects,” Harry wrote.
“[It] confused him, tormented him, and when those suspicions were confirmed he felt tremendous guilt for having done
nothing, said nothing, sooner.”

Harry noted that he was too young at the time to understand what was happening between his parents, but that he did notice
“the lack of stability, the lack of warmth and love, in our home.”

Related: Prince Harry and Meghan Markle’s Most Shocking Harry & Meghan Confessions

Prince Harry said that Charles barely consoled him when Princess Diana died.

Prince Philip, Prince William, Earl Spencer, Prince Harry and Prince Charles at Princess Diana’s funeral in 1997Anwar
Hussein/Getty Images

Prince Harry recalls in Spare that now-King Charles III wasn’t particularly warm nor comforting towards him when Diana
died in a car crash in August 1997.

”Pa didn’t hug me. He wasn’t great at showing emotions under normal circumstances, how could he be expected to show
them in such a crisis?” he wrote.

”His hand did fall once more on my knee and he said, ‘It’s going to be OK.’ That was quite a lot for him. Fatherly, hopeful,
kind. And so very untrue,” he added.

He recalled of their conversation about Diana’s death, “[Dad] sat down on the edge of the bed. He put a hand on my knee.
‘Darling boy, Mummy’s been in a car crash.’ I remember thinking: ‘Crash … OK. But she’s all right? Yes?’ I vividly
remember that thought flashing through my mind. And I remember waiting patiently for Pa to confirm that indeed Mummy
was all right. And I remember him not doing that.”

Related: Will Prince Harry and Meghan Markle Go to King Charles’ Coronation?

Prince Harry and Prince William didn’t want Charles to marry Camilla.

Prince Harry alleges in Spare that both he and his brother urged King Charles (then the Prince of Wales) not to marry
Camilla.

”Despite Willy and me urging him not to, Pa was going ahead. We pumped his hand, wished him well. No hard feelings,” he
wrote. “We recognized that he was finally going to be with the woman he loved, the woman he’d always loved.”

”Fate might’ve intended for him in the first place,” he added. “Whatever bitterness or sorrow we felt over the closing of
another loop in Mummy’s story, we understood that it was besides the point.”

Harry also compared his stepmother to fairy-tale villains.

”I remember wondering … if she would be cruel to me; if she would be like all the evil stepmothers in the stories,” he wrote,
adding, “Willy had been suspicious of the Other Woman for a long time, which confused and tormented him. When those
suspicions were confirmed, he felt agonizing remorse for not having done or said anything before.”
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In Harry & Meghan, Harry pointedly said that most men in the royal family don’t marry for love, but for whoever can “fit the
mold” of the position.

Prince Harry was upset that Camilla used his old bedroom as a dressing room.

Camilla and Prince HarryAnwar Hussein/WireImage

Prince Harry recalled being upset when Camilla transformed one of his old bedrooms into a dressing room.

Harry claims that almost as soon as he moved out of his father’s Clarence House residence, Camilla converted the room into
a wardrobe. “I tried not to care. But especially the first time I saw it, I cared,” he wrote.

Prince Harry lost his virginity to an older woman.

Prince Harry doesn’t name the woman nor specify when it happened, but he writes in Spare that when he lost his virginity
that it was an “inglorious episode ... She liked horses, quite a lot, and treated me not unlike a young stallion.”

”Quick ride, after which she’d smacked my rump and sent me to grace,” he continued. “Among the many things about it that
were wrong. It happened in a grassy field behind a busy pub.”

Prince Harry used cocaine in the past.

Though he long denied ever using drugs, Prince Harry came clean in Spare about using cocaine as a teen, recalling the first
time he tried it being at a hunting weekend with friends.

”I’d been offered a line, and I’d done a few more since,” Harry wrote. “It wasn’t much fun, and it didn’t make me particularly
happy, as it seemed to make everyone around me. But it did make me feel different, and that was the main goal.”

He previously has spoken about using drugs and alcohol to numb the pain he still felt years after the death of Diana.

Prince Harry said Prince William and Kate Middleton encouraged him to wear his notorious Nazi costume.

Newspaper with Prince Harry in a Nazi costumeJIM WATSON/AFP via Getty Images

While planning to attend a colonizers and natives-themed party-already massively distasteful, tone deaf and minimizing of
the damage the British empire wreaked over the entire world-Prince Harry asked Kate Middleton and Prince William for help
deciding whether to dress up as a Nazi or as a pilot.

”I phoned Willy and Kate, asked what they thought. Nazi uniform, they said,” Harry recalled in Spare, adding that he went to
their house to model the Nazi uniform for them.

”They both howled. Worse than Willy’s leotard outfit! Way more ridiculous! Which, again, was the point.”

Prince Harry was 20 years old at the time of the incident. So far none of the royals have made any significant statements on
how colonization has harmed the world.

Related: Prince Harry Details Why He Partly Blames Kate Middleton and Prince William for Nazi Gaffe

Prince Harry got frostbite on his penis before Prince William and Kate Middleton’s wedding.

Among details that he absolutely needed to share, Prince Harry writes in Spare that he got frostbite on his nether regions
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during a trip to Antarctica ahead of Prince William and Kate Middleton’s royal wedding in April 2011.

”The pre-wedding dinner was pleasant, jolly, despite Willy visibly suffering from standard groom jitters,” he wrote. “I
regaled the company with tales of the [South] Pole. Pa was very interested and sympathetic about the discomfort of my
frostnipped ears and cheeks, and it was an effort not to overshare and tell him also about my equally tender penis.”

He continued, “Upon arriving home I’d been horrified to discover that my nether regions were frostnipped as well, and while
the ears and cheeks were already healing, the todger wasn’t.”

Prince Harry and Prince William are circumcised

As if it were anyone’s business, Prince Harry confirmed that he and brother Prince William are circumcised. When
discussing his frostbitten privates, he explained, “My penis was a matter of public record, and indeed some public curiosity,”
Harry writes. “The press had written about it extensively. There were countless stories in books, and papers (even The New
York Times) about Willy and me not being circumcised.”

”Mummy had forbidden it, they all said, and while it’s absolutely true that the chance of getting penile frostbite is much
greater if you’re not circumcised, all the stories were false. I was snipped as a baby.”

Prince Harry thinks he lost his brother when Prince William and Kate Middleton got married.

Prince William, Kate Middleton, Prince Harry and Pippa Middleton and Prince William and Kate Middleton’s royal wedding
in 2011Kirsty Wigglesworth - WPA Pool/Getty Images

Prince Harry felt a sense of loss when Prince William and Kate Middleton married in April 2011.

”The brother I’d escorted into Westminster Abbey that morning was gone-forever. Who could deny it?” he wrote in Spare.
“He’d never again be first a foremost Willy. We’d never again ride together across the Lesotho countryside with capes
blowing behind us. We’d never again share a horsey-smelling cottage while learning to fly. Who shall separate us? Life,
that’s who.”

”And I recall Willy walking her back up the aisle, and as they disappeared through the door, into the carriage that would
convey them to Buckingham Palace, into the eternal partnership they’d pledged,” he continued. “I recall thinking:
‘Goodbye.’”

Related: Relive the Best Royal Weddings

Prince William and Kate Middleton were ‘religious’ fans of Suits before meeting Meghan Markle, according to Prince Harry.

Meghan Markle as Rachel Zane in “Suits”USA Network/NBCUniversal

Prince Harry writes in Spare that Prince William and Kate Middleton invited him over to chat when they noticed a change in
his behavior. It was then that he revealed he was dating someone new, and when Harry told the Cambridges that it was
Meghan Markle, an actress on Suits that it rocked their worlds.

”Their mouths fell open. They turned to each other. Then Willy turned to me and said, ‘F–k off?’” he recalled, adding that
they explained to him that “they were regular-nay, religious-viewers of Suits.” He said they barraged him with questions but
that he was cautious not to reveal too much too soon.

”All this time I’d thought Willy and Kate might not welcome Meg into the family, but now I had to worry about them
hounding her for an autograph,” he wrote.

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Prince Harry says watching Meghan Markle’s sex scenes was a ‘mistake.’

Patrick J. Adams as Mike Ross and Meghan Markle as Rachel Zane in a sex scene from “Suits”USA Network

You live and you learn!

In Spare, Prince Harry recalled Googling Meghan Markle when they first started dating and falling into a rabbit hole of
watching her Suits sex scenes with co-star Patrick J. Adams.

Harry joked, “It would take electric-shock therapy to get those images out of my head.”

”I’d witnessed her and a castmate mauling each other in some sort of office or conference room,” Harry wrote. “I didn’t need
to see such things live.”

Prince William told Prince Harry to slow down in his relationship with Meghan Markle.

William and Kate attend Christmas service on the Sandringham Estate along with Prince Harry and Meghan Markle.Chris
Jackson/Getty Images

Prince Harry recalled one of the first times he grew miffed with his family’s attitude towards his now-wife: When Prince
Harry told Prince William he thought Meghan Markle was the one, William urged him to slow his roll.

”He still said to slow down,” Harry wrote. He said that William warned him, “’She’s an American actress, after all, Harold.
Anything might happen.’”

Prince Harry said Meghan Markle took Kate Middleton aback when she asked to borrow lip gloss.

Prince Harry, Meghan Markle and Kate MiddletonCHRIS JACKSON/AFP via Getty Images

Prince Harry says that Meghan Markle rubbed Kate Middleton the wrong way when she asked the now Princess of Wales to
borrow lip gloss before they had to speak at an event in 2018, noting that the moment was “awkward” and calling Meghan’s
request “an American thing.”

”Kate, taken aback, went into her handbag and reluctantly pulled out a small tube,” Harry wrote in Spare. “Meg squeezed
some onto her finger and applied it to her lips. Kate grimaced.” He said that it shouldn’t have been a big deal, but that once
the press sensed there may be tension, the stories never stopped, explaining that Middleton realized then that she was “going
to be compared to, and forced to compete with, Meg.”

Related: Prince Harry and Prince William Fight Details

Prince Harry and Prince William got into a physical fight over Meghan Markle.

Prince Harry, Meghan Markle, Prince William and Kate MiddletonEmilio Morenatti - WPA Pool/Getty Images

In what was supposed to be a civil discussion over difficulties Prince Harry and Meghan had adjusting to royal life, Harry
recalled that he and Prince William got into a shouting match. Harry alleged that William referred to Meghan as “abrasive”
and “difficult,” which Harry felt was simply mimicking the media narratives that surrounded his wife. When things got
heated to the point of insulting one another, Harry went into the kitchen of his Nottingham Cottage home to get a glass of
water for William, but the storm didn’t stop.

”He set down the water, called me another name, then came at me. It all happened so fast. So very fast,” Harry wrote. “He
grabbed me by the collar, ripping my necklace, and he knocked me to the floor. I landed on the dog’s bowl, which cracked
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under my back, the pieces cutting into me. I lay there for a moment, dazed, then got to my feet and told him to get out.”

Next, find out everything Prince Harry and Meghan Markle have said about racism in the royal family.


---- Index References ----

Company: GETTY IMAGES HOLDINGS, INC.; MADISON SPORTS & ENTERTAINMENT GROUP, INC.; THE NEW
YORK TIMES COMPANY


Industry: (Apparel & Textiles (1AP20); Celebrities (1CE65); Consumer Products & Services (1CO62); Entertainment
(1EN08); Fashion Industry (1FA88); Retail (1RE82); TV (1TV19); TV Programming (1TV26))

Region: (Europe (1EU83); United Kingdom (1UN38); Western Europe (1WE41))

Language: EN

Other Indexing: (AFP; Getty Images; USA Network; The New York Times) (Prince Harry; Spare)

Word Count: 2469
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Frozen penises, drugs, and virginity: what is already known..., 2023 WLNR 1214475




                            1/11/23 NOTICIASFINANCIERAS - ENG. (Pg. Unavail. Online)
                                              2023 WLNR 1214475

                                             NoticiasFinancieras - English
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                                                     January 11, 2023


                Frozen penises, drugs, and virginity: what is already known about Prince Harry’s book

With a series of controversial revelations about the British royal family , Prince Harry ‘s book, officially released on
Tuesday, has been causing a stir worldwide. The book, entitled “What’s Left “ (”Spare”), brings to light various
behind-the-scenes aspects of the relationship of the 38-year-old Duke of Sussex with other members of royalty, especially
King Charles III and his wife, Queen Consort Camilla , as well as disagreements with his brother William and sister-in-law
Kate Middleton .

In the midst of family conflicts, the youngest son of Princess Diana also relates many controversial personal stories. Recall
some of them below.

Fight with William

In detail, Harry tells about the time he was assaulted by his brother, Prince William. The Duke of Sussex revealed an ugly
argument between the two, caused by Meghan Markle. The reason for the argument was allegedly a comment made by King
Charles III’s eldest son in 2019, who described the Duchess as “difficult,” “rude,” and “rough.”

- He grabbed me by the collar, snatched my lanyard and threw me to the floor. I fell into the dog’s food bowl, which broke on
my back, with the shards cutting me. I stayed there for a moment, stunned, then I got up and told him to go away,” he
recounts in one excerpt.

Drugs

Harry says he snorted a career’s worth of cocaine when he was 17, and admits to having used the stimulant on several other
occasions. He also describes his relationship with marijuana at Eton, the boarding school for boys, and in the gardens of
Kensington Palace. “After dinner, I would smoke a joint, taking care that the smoke did not reach the garden of my neighbor,
the Duke of Kent,” he narrates about his life in 2015. In the book, he also tells about the experience of using hallucinogenic
mushrooms.

Nazi fantasy

Harry was involved in one of his biggest controversies in 2005, when the British tabloids exposed him on the cover wearing a
Nazi soldier costume. In the piece the Prince reveals that William and Kate Middleton encouraged him to wear the costume,
which was also a laughingstock.

- I phoned Willy and Kate, asked them what they thought,” he writes. - They both howled. Worse than Willy’s knitted outfit.

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Frozen penises, drugs, and virginity: what is already known..., 2023 WLNR 1214475



Much more ridiculous! - he adds.

’Laughed at’: Prince Harry blames William and Kate Middleton for wearing Nazi costume at party

Death of Taliban soldiers

In the memoir, he claims to be responsible for 25 deaths of Taliban fighters. During the ten years he served the army, the
duke served two missions in Afghanistan.

- It’s not a number that satisfies me, but it doesn’t embarrass me either,” Harry confesses, saying further that he saw them as
“chess pieces removed from the board” because “you can’t kill people if you see them as people.”

The prince’s account even came under condemnation from the Afghan government, which released a note of repudiation
from the Asian country’s Foreign Ministry.

Name of the book

The title of the book, ‘Spare’, translated into the Brazilian version as “What is left”, is a reference to a comment allegedly
made after Harry was born. He points out that, when he was 20, he was told that his father, Charles, said to Diana, “Great.
You have given me an heir, and a reserve. You’ve done your job.”

Frozen penis

One of the most intimate stories described by Harry is the episode when he had his penis frozen during a 305 km expedition
to the North Pole when he was in the military. He says that his penis was injured and burned because of the extreme cold.
The incident took place on the eve of William and Kate’s wedding in 2011.

Virginity

Harry mentions that he lost his virginity at the age of 17, in a field behind a “busy pub”. The prince branded the moment as
“one of my many mistakes,” because of the chances that he was caught with “an older woman who liked macho horses and
who treated me like a young stud.”


---- Index References ----

Company: Islamic Emirate of Afghanistan

News Subject: (Drug Addiction (1DR84); Health & Family (1HE30); Smoking (1SM71))

Industry: (Book Publishing (1BO18); Books (1BO26); Celebrities (1CE65); Entertainment (1EN08); Publishing (1PU26);
Traditional Media (1TR30))

Region: (Afghanistan (1AF45); Asia (1AS61); Western Asia (1WE54))

Language: EN

Other Indexing: (Foreign Ministry; Afghan government) (Prince Harry)

Keywords: (Cultura)

Word Count: 664

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Frozen penises, drugs, and virginity: what is already known..., 2023 WLNR 1214475



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Harry ignores drug damage, 2023 WLNR 8505457




                                               3/8/23 Irish Daily Mail 39
                                                 2023 WLNR 8505457

                                                 Irish Daily Mail
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                                                      March 8, 2023

                                                      Section: News

                                               Harry ignores drug damage

I HAVE long thought that people should give Prince Harry a break - until his ‘honesty’ about using drugs including cannabis
and how this has ‘helped’ him.

I wonder if he has taken a walk on the other side of Los Angeles? I was there a couple of weeks ago and was shocked to see
so many homeless people high as a kite. Cannabis is legal in California for recreational use, which clearly exacerbates the
problem. Beverly Hills oozes wealth, but on its doorstep is a tent city of the desperate. The fact Harry says cannabis helped
his mental health does no favours to those who have succumbed to regular drug taking or youngsters thinking of trying it.
Most won’t have the luxury of money to keep them out of tent city.

ELAINE GOODWIN, by email.


---- Index References ----


News Subject: (Health, Education & Welfare (1HE31); Social Issues (1SO05); Social Welfare (1SO83))

Industry: (Agriculture (1AG63); Agriculture, Food & Beverage (1AG53); Cannabis (1CB42))


Language: EN

Other Indexing: (Prince Harry)

Edition: 01

Word Count: 135
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Harry ignores drug damage, 2023 WLNR 8505457




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Harry never ‘intended to hurt’ the royal family, 2023 WLNR 1256117




                                                 1/12/23 USA TODAY B4
                                                   2023 WLNR 1256117

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                                                     January 12, 2023

                                                       Section: News

                                     Harry never ‘intended to hurt’ the royal family

                                                      Edward Segarra

January 12, 2023

Prince Harry isn’t sparing us the cold, hard truth of life as a British royal. The Duke of Sussex sat down for a candid
interview with Anderson Cooper on “60 Minutes,” which aired Sunday on CBS. The interview previewed the “unflinching
honesty” of Harry’s upcoming memoir “Spare,” which hits shelves today and details his life before and after he and his wife,
Duchess Meghan, stepped back from their roles as senior members of the royal family. In his conversation with Cooper,
Harry opened up about his relationships with members of the royal family, including his father’s wife, Queen Consort
Camilla, as well as the yearslong grief of losing his mother, Princess Diana, at age 12. Here are the biggest bombshells from
Harry’s interview.

Despite the frankness of his upcoming memoir, including his description of his brother, Prince William, Harry told Cooper
“Spare” is his way of setting the record straight about the tensions in his family life.
 Prince Harry never ‘intended to hurt’ family with memoir
”None of anything that I’ve written, anything I’ve included is ever intended to hurt my family,” Harry said. “But it does give
a full picture of the situation as we were growing up, and also squashes this idea that somehow my wife was the one that
destroyed the relationship between these two brothers.”

Responding to the criticism of being very “public” since resigning from his royal duties, Harry claimed his attempts at
privacy have been thwarted by the royal family’s correspondence with the media.

”Every single time I’ve tried to do it privately there have been briefings and leakings and planting of stories against me and
my wife,” he said. “The family motto is ‘Never complain, never explain,’ but it’s just a motto.

”So now, trying to speak a language that perhaps they understand, I will sit here and speak truth to you with the words that
come out of my mouth, rather than using someone else, an unnamed source, to feed in lies or a narrative to a tabloid media
that literally radicalizes its readers to then potentially cause harm to my family, my wife, my kids.”
 Prince Harry revisits ‘guilt’ after Diana’s death
Harry also spoke about the emotional aftermath of the loss of his mother, who was killed in a car accident in Paris in 1997.
Recalling meeting mourners outside Kensington Palace in London with William, Harry said he remembers “the guilt that I
felt.”


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Harry never ‘intended to hurt’ the royal family, 2023 WLNR 1256117



”The fact that the people that we were meeting were showing more emotion than we were showing, maybe more emotion
than we even felt,” said Harry, adding that he felt like a “middle person” for people’s grief.

He said he understands his mother more now because he is a parent to two children himself.

”I’m starting to comprehend the position that she was as a mother, a single parent, looking after two boys with this intense
media harassment,” he said. “It wasn’t online then. It was very much physical. She was being chased.”

He added that he continues to do everything he can to protect his family “because it certainly doesn’t seem as though the
British press have changed their ways.”
Prince Harry on using psychedelic drugs to cope with trauma of Princess Diana’s death
Harry went into detail with Cooper about the healing process of grieving his mother’s death. Apart from going to therapy,
Harry said he has also pursued experimental medicinal treatments, such as using the psychedelics Ayahuasca and psilocybin.

Ayahuasca is a psychedelic created from “prolonged heating or boiling of the Banisteriopsis caapi vine with the leaves of the
Psychotria viridis shrub,” according to the Alcohol and Drug Foundation. Psilocybin, or magic mushrooms, are “naturally
occurring and are consumed for their hallucinogenic effects.”

”I would never recommend people to do this recreationally,” Harry said. “But doing it with the right people, if you are
suffering from a huge amount of loss, grief or trauma, then these things have a way of working as a medicine.”

Harry said taking the drugs gave him clarity about his own relationship with grief. “They cleared away this idea that I had in
my head that I needed to cry to prove to my mother that I missed her. When in fact, all she wanted was for me to be happy,”
Harry said.
Prince Harry, William ‘didn’t think it was necessary’ for King Charles, Camilla to wed
Harry spoke about his relationship with Camilla, who married his father, King Charles III, in 2005.

Harry revealed that he and William asked Charles not to marry Camilla. “We didn’t think it was necessary,” Harry said. “We
thought that it was going to cause more harm than good and that if he was now with his person, that surely that’s enough.
Why go that far when you don’t necessarily need to?”

He added: “We wanted him to be happy, and we saw how happy he was with her. So, at the time, it was, ‘OK.’”

But, Harry said, Camilla’s need to “rehabilitate her image” came at a cost because of “the connections that she was forging
within the British press.”

”If you are led to believe, as a member of the family, that being on the front page, having positive headlines, positive stories
written about you, is going to improve your reputation or increase the chances of you being accepted as monarch by the
British public, then that’s what you’re going to do.”
 Prince Harry says he was excluded from plans to see Queen Elizabeth II before she died
Harry was in the right place when it was announced Queen Elizabeth II was under medical supervision at Balmoral Castle in
Scotland. Harry was in London in September while his grandmother was ill.

”I asked my brother – I said: ‘What are your plans? How are you and Kate getting up there?’ And then, a couple of hours
later, you know, all of the family members that live within the Windsor and Ascot area were jumping on a plane together. A
plane with 12, 14, maybe 16 seats,” he said, adding that he was “not invited” to travel with them.

Harry was met by his aunt, Princess Anne, who allowed him to spend some time with Elizabeth alone. She had died by the
time he arrived.

”I was actually really happy for her. Because she’d finished life. She’d completed life, and her husband was waiting for her,”
he recalled. “And the two of them are buried together.”
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Harry never ‘intended to hurt’ the royal family, 2023 WLNR 1256117




---- Index References ----

Company: ALCOHOL & DRUG FOUNDATION

News Subject: (Family Social Issues (1FA81); Social Issues (1SO05))

Industry: (Celebrities (1CE65); Entertainment (1EN08); TV (1TV19); TV Programming (1TV26))

Region: (Europe (1EU83); United Kingdom (1UN38); Western Europe (1WE41))

Language: EN

Other Indexing: (Alcohol and Drug Foundation) (Prince Harry)

Edition: 1

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Harry says marijuana ‘really helped’ him mentally but cocaine..., 2023 WLNR 8060432




                                 3/4/23 Daily Mirror Online (U.K.) (Pg. Unavail. Online)
                                                 2023 WLNR 8060432

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                                                            March 4, 2023


               Harry says marijuana ‘really helped’ him mentally but cocaine ‘did nothing’ for him
  Prince Harry went through various drugs from stimulants to psychedelics and explained what they did for him
                                  during a livestreamed Q&A with trauma e...

                                             By, Charlie Jones & Kelly-Ann Mills

Prince Harry went through various drugs from stimulants to psychedelics and explained what they did for him during a
livestreamed Q&A with trauma expert Dr Gabor Maté

Prince Harry has said that marijuana “really helped him” mentally but taking cocaine “did nothing for him”.

The Duke of Sussex opened up about his drug use in a live question and answer session tonight, set up to promote his
memoir, Spare, where the audience paid for a ticket to tune in.

Speaking about cocaine, Prince Harry told Dr Gabor Maté: “That didn’t do anything for me. It was more of a social thing.”

He added: “It gave me a sense of belonging for sure.

”It also made me feel different to the way I was feeling, which is kind of the point.”

Moving on to cannabis, which he has admitted to using before, Harry said: “Marijuana is different, that actually did really
help me.”

The Duke sat down with Dr Gabor Maté, an expert in trauma and childhood development, on Saturday March 4.to discuss
living with loss and the importance of personal healing.

The live event came a month after the highly-anticipated book, which details how the young Prince dealt with the death of his
mum Princess Diana, was released.

He also revealed he felt a lot of peer pressure to drink alcohol.

The Prince said: “I was at a dinner party and people would all be drinking and I wasn’t the one drinking. I would feel left out
of the conversation, to the point where it was like ‘if you’re not going to have a drink leave.’ So i was like ‘Okay I’ll leave.’

”I started to realise ‘Wow is this the way the world is’.


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Harry says marijuana ‘really helped’ him mentally but cocaine..., 2023 WLNR 8060432



”Where if, for whatever reason you don’t drink or you don’t want to have a drink that night, then there seems to be this group
peer pressure.”

The duke also told of using psychedelics such as ayahuasca.

He went on: “It was the cleaning of the windscreen, cleaning of the windshield, the removal of life’s filters just as much as on
Instagram, these layers of filters.

”It removed it all for me and brought me a sense of relaxation, release, comfort, a lightness that I managed to hold on to for a
period of time.

”I started doing it recreationally and then started to realise how good it was for me, I would say it is one of the fundamental
parts of my life that changed me and helped me deal with the traumas and pains of the past.”

Tickets for the event cost £17, plus a £2.12 fee for UK customers, and included a copy of Spare which became the
fastest-selling non-fiction book in the UK since records began following its release in January.

Harry’s ghost-written tell-all autobiography laid bare his frustrations with his family.

He claimed his brother William, now the Prince of Wales, had knocked him to the floor at Harry’s then home Nottingham
Cottage after calling the Duchess of Sussex “difficult”, “rude” and “abrasive”.

The duke claimed his father, now the King, put his own interests above Harry’s and was jealous of Meghan and Kate, and
that the Queen Consort sacrificed him on “her personal PR altar”.

Speaking about negative reaction to the book, Harry said: “Sometimes I’m surprised and sometimes I’m not.

”It is the same group of people who react the same way when someone in a position like myself talk about their trauma.

”As we’ve already discussed, I’m not a victim in this, but there’s almost a balancing act. The more they criticise, the more
they comment, the more I feel the need to share.

”I found a way to be able to look around, and firstly ignore, the criticisms and the abuse.”

The duke, who lives in California after moving to the US in 2020, has revealed he has enough material for two books but
held back because he does not think his father and brother would “ever forgive” him.

It has not yet been confirmed whether Harry will be invited to attend his father’s coronation in May.

The livestreamed event was produced by Penguin Random House in partnership with Barnes & Noble, Waterstones and
Indigo Books & Music.


---- Index References ----

Company: BARNES & NOBLE, INC.; Indigo Books & Music Inc.; PENGUIN RANDOM HOUSE LLC

News Subject: (Alcohol Abuse (1AL63); Drug Addiction (1DR84); Health & Family (1HE30); Parents & Parenting
(1PA25); Teenagers (1TE59))

Industry: (Book Publishing (1BO18); Books (1BO26); Celebrities (1CE65); Entertainment (1EN08); Publishing (1PU26);
Traditional Media (1TR30))

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Harry says marijuana ‘really helped’ him mentally but cocaine..., 2023 WLNR 8060432



Language: EN

Other Indexing: (Barnes & Noble; Indigo Books & Music; Penguin Random House) (Prince Harry)

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Harry used drugs to deal with ‘trauma and pain’, 2023 WLNR 8079563




                                        3/5/23 Independent (United Kingdom) 12
                                                 2023 WLNR 8079563

                                                   Independent (UK)
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                                                       March 5, 2023

                                                        Section: News

                                     Harry used drugs to deal with ‘trauma and pain’

                                                     JOE MIDDLETON

Prince Harry has revealed that using marijuana and psychedelics helped him deal with trauma in his life, as he is diagnosed
with attention deficit disorder (ADD) during a livestream interview.

The Duke of Sussex spoke to Dr Gabor Mate, a trauma expert, and they covered a wide range of topics, including his
mother’s death, drug use, his time in the army, and his relationship with other members of the royal family.

On using drugs, Prince Harry said: “(Cocaine) didn’t do anything for me, it was more a social thing and gave me a sense of
belonging for sure, I think it probably also made me feel different to the way I was feeling, which was kind of the point.
Marijuana is different, that actually really did help me.”

The duke also spoke of using plant-based psychedelics such as ayahuasca, after Dr Mate told of using it with his patients.

Harry said: “It was the cleaning of the windscreen, cleaning of the windshield, the removal of life’s filters just as much as on
Instagram, these layers of filters. It removed it all for me and brought me a sense of relaxation, release, comfort, a lightness
that I managed to hold on to for a period of time.

”I started doing it recreationally and then started to realise how good it was for me, I would say it is one of the fundamental
parts of my life that changed me and helped me deal with the traumas and pains of the past.”

Harry, who took part in the interview to continue publicising his controversial tell-all memoir Spare, also spoke about the
death of his mother, Diana, Princess of Wales, who died in a car crash in Paris in 1997 when the duke was just 12 years old.

Dr Mate told him: “Reading the book, I diagnose you with ADD....I see it as a normal response to normal stress.” He said this
can be “healed at any age”. The Duke of Sussex responded: “Thanks for the free session.”

Prince Harry also tackled some of the negative reaction to his book, that included a recent particularly scathing portrayal of
the prince and his wife, Meghan, in an episode of South Park.

Speaking about dismissive reaction to the tome, the Duke of Sussex said: “Sometimes I’m surprised and sometimes I’m not.


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Harry used drugs to deal with ‘trauma and pain’, 2023 WLNR 8079563



”It is the same group of people who react the same way when someone in a position like myself talk about their trauma. “As
we’ve already discussed, I’m not a victim in this, but there’s almost a balancing act.

”The more they criticise, the more they comment, the more I feel the need to share. I found a way to be able to look around,
and firstly ignore, the criticisms and the abuse.”

Talking about his army career, he claimed that some British soldiers were not “necessarily” supportive of military efforts in
Afghanistan.

During the livestreamed conversation, Dr Mate told the Duke of Sussex that he did not align with the West during the
conflict.

Harry responded: “One of the reasons why so many people in the United Kingdom were not supportive of our troops was
because they assumed that everybody that was serving was for the war.

”But no, once you sign up, you do what you’re told to do. “So there was a lot of us that didn’t necessarily agree or disagree,
but you were doing what you were trained to do, you were doing what you were sent to do.”

The Duke of Sussex also revealed that a lack of hugs he received from members of the royal family during his childhood has
affected how he raises his children.

He said: “It leaves me in the position now, as a father of two kids of my own, to make sure that I smother them with love and
affection,” he said. “Not smother them to the point where they’re trying to get away and I’m like, ‘No, come here I need to
hug you.’”

Harry’s latest interview comes after the revelation that he and wife Meghan have been asked to leave Frogmore Cottage by
King Charles.

Sources claimed that the couple are “not fighting” the decision, as they are said to be making arrangements to have their
remaining belongings shipped to California.

It has not yet been confirmed whether Harry will be invited to attend his father’s coronation in May or whether he will accept
if he is asked to come.

Additional reporting by PA


---- Index References ----


News Subject: (Family Social Issues (1FA81); Minority & Ethnic Groups (1MI43); Race Relations (1RA49); Social Issues
(1SO05))

Industry: (Celebrities (1CE65); Entertainment (1EN08); Healthcare (1HE06); Healthcare Practice Specialties (1HE49);
Healthcare Services (1HE13); Psychiatric Disorders & Conditions (1PS79); Psychiatric Services (1PS61); Psychiatry
(1PS63))


Language: EN

Other Indexing: (Prince Harry)

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Harry used drugs to deal with ‘trauma and pain’, 2023 WLNR 8079563



News

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Harry’s book shatters foundations of the royal family before..., 2023 WLNR 721009




                             1/7/23 NOTICIASFINANCIERAS - ENG. (Pg. Unavail. Online)
                                              2023 WLNR 721009

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                                                        January 7, 2023


                     Harry’s book shatters foundations of the royal family before hitting the stands

Three days before its world premiere, Prince Harry’s autobiography, entitled Spare, has shaken the foundations of the British
royal family before it even hits the stands. In 416 pages, the youngest son of King Charles III makes a series of revelations
that have led critics to accuse him of wanting to “ruin the monarchy. Leaked excerpts show that Harry used cocaine and other
drugs, report that he killed 25 Taliban during his military service in Afghanistan, and expose his troubled relationship with
his brother, William. First in line of succession to the throne, William reportedly assaulted him during an argument over
Meghan Markle, Harry’s wife. In 2020, Harry abdicated his monarchical duties and moved to California with his wife.

A specialist in constitutional law and UK politics, with a focus on monarchy, from Bangor University (in Wales), Craig
Prescott admitted to the Mail that the autobiography is damaging to the royal family. “There are allegations about Prince
William. More deeply, the book suggests pressures and challenges that members of the royal family may face. This is likely
to lead to debates about reform and the future of the monarchy,” he commented. However, the scholar understands that the
past has highlighted similar situations. “There was the abdication of King Edward VIII in 1936, and the difficulties between
Charles and Princess Diana in the early 1990s. On both occasions, the monarchy carried on. It is in transformation, with a
greater focus on the future of the line of succession,” he said.

Prescott envisioned the possibility that Harry and Meghan would return to the bosom of the royal family and play an
important role in the coming years. “Now, that is something very hard to imagine. The book reveals the depth of the feud
between William and Harry, and it seems hard for me to see how it can be overcome. It seems that Harry wants some form of
public accountability or apology for what he believes occurred.”
 Open criticism
Jonathan Sacerdoti - a British journalist and commentator on the royal family - agrees that Harry’s autobiography is “one of
the most potentially damaging books to the monarchy in many years.” “In a direct way, Harry attacks aspects of his own
family’s behavior and openly criticizes the royal family as an institution. His attack is both personal and organizational. The
way he refers to William shows a clear sense of rivalry with his older brother,” he explained to the report. “But Harry is also
very critical of the king himself, by suggesting that Buckingham Palace deliberately leaked information against him and
Meghan, to somehow damage his reputation.”

According to him, the most sensitive points of the piece were the direct criticism of Charles III and the royal family’s value
system. “Charles III has just begun the reign, and part of his job is to erect his existing reputation so that subjects will support
him more and more. In the book, Harry paints his father as unfriendly and unloving, which will not be well received. The
same goes for William, Prince of Wales: attempts to portray him as explosive and violent go against the image he wishes to
convey,” Sacerdoti added.

The revelation about the deaths of 25 Taliban drew criticism from the British military and Afghanistan’s own Islamic

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Harry’s book shatters foundations of the royal family before..., 2023 WLNR 721009



fundamentalist militia. “Harry is putting salt in the wounds of the Afghan people,” Mohammad Suhail Shaheen, head of the
Taliban’s political office in Doha (Qatar) and former spokesman, warned the Post. Shortly after, he posted on social media
that the British prince committed crimes against humanity. “They (the Taliban) were guerrillas for the freedom of their own
country. Harry was an invader, and his cause, illegitimate. While our men were heroes, you were the enemy. To this day,
every day people visit the graves of heroes and honor their memory, but they put a curse on Harry,” the Taliban wrote.

Sacerdoti pointed out that the mention of the operations in Afghanistan was widely questioned for characterizing the British
Armed Forces in a negative way. In his autobiography, Harry confided that he thought of the executed Taliban as “chess
pieces removed from the board.” “This suggests that Harry was trained to regard those he killed as if they were not human,”
said the royal commentator.
 Charles and Camilla
In the book, Harry claimed that he and his brother, William, begged their father, now King Charles III, not to marry Camilla
Parker Bowles. According to the British tabloid The Sun, the brothers had separate dates with Camilla before she was part of
the family. Harry said that they both showed willingness to forgive their stepmother if she would make Charles happy.
 Diana’s death
Harry was 12 years old when Princess Diana, his mother, died in a car accident in Paris on August 31, 1997. In the book, he
details that Charles did not hug him when he gave him the news about his mother’s death. Harry wrote that he retraced
Diana’s path on the night of the accident because he believed that this gesture would end a cycle. According to him, this
made him question the official cause of the tragedy.
 Assaulted by his brother
Harry reported that William grabbed him by the collar and knocked him to the floor of his London home. The brother
reportedly made comments about his sister-in-law Meghan, calling Harry’s wife “rude,” “difficult,” and “scathing.” “I fell
into the dog bowl, which cracked under my back, the pieces cutting into me. I stood there for a moment, stunned, then got up
and told him to leave,” Harry wrote.
 Loss of virginity
Humiliating. That was the term Harry used to describe the experience when he lost his virginity to an older woman, at the age
of 17, in a field behind a pub. According to him, the woman treated him like a “young stud”.
 Drug use
According to the autobiography, Harry snorted a career of cocaine at someone’s house when he was 17, and used the drug on
other occasions. However, he claimed not to have enjoyed it. He also reported smoking marijuana in the bathroom at Etton
College, and trying hallucinogenic mushrooms on a trip to California in 2016.
 Fight at grandfather’s funeral
Harry and William reportedly got into another argument during the funeral of their grandfather, Prince Philip, on September
19, 2022. According to the autobiography, Charles stood between his sons and made a plea, “Please, boys. Don’t make my
last years of life a misery.”
 Taliban as a target
Harry recounted that when he was a helicopter pilot in Afghanistan between 2012 and 2013, he participated in six military
missions and killed 25 Taliban fighters. “It wasn’t a statistic that filled me with pride, but it didn’t make me ashamed either,”
he wrote. “When I found myself immersed in the heat and confusion of combat, I didn’t think of those 25 (Taliban) as
people. They were chess pieces removed from the board.”

”Let’s see if the International Criminal Court and human rights organizations will question Harry about this crime and bring
him to justice or if they will cover it up. We will see whether they are sincere in their mission or raise mere empty slogans.”
 Mohammad Suhail Shaheen, head of the Taliban’s political office in Doha (Qatar)
”After personal details became public, including conversations Harry had with his father and brother, Charles and William
are likely to be accurate in confronting the younger man, for fear of further leaks. They would like all of this to be resolved
privately, without public exposure.”
 Craig Prescott, an expert in constitutional law and UK politics, with a focus on monarchy, from Bangor University
(in Wales)
”In the book, Harry claims concern for his own safety. This seems totally at odds with the fact that he boasts of having killed
25 Taliban. Many people fear that the prince has put a target on the back of himself and his own family by mentioning the
deaths in Afghanistan. But there are other parts of the autobiography that could damage the monarchy.”
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Harry’s book shatters foundations of the royal family before..., 2023 WLNR 721009



Jonathan Sacerdoti, British journalist and commentator on the royal family

---- Index References ----

Company: International Criminal Court; Bangor University

News Subject: (Assault & Battery (1AS33); Crime (1CR87); Global Politics (1GL73); Social Issues (1SO05); Top World
News (1WO62); Violent Crime (1VI27); World Conflicts (1WO07))

Industry: (Celebrities (1CE65); Entertainment (1EN08))

Region: (Afghanistan (1AF45); Arab States (1AR46); Asia (1AS61); Europe (1EU83); Gulf States (1GU47); Middle East
(1MI23); Qatar (1QA42); United Kingdom (1UN38); Wales (1WA56); Western Asia (1WE54); Western Europe (1WE41))

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Harry: I’ve always felt different from rest of my family, 2023 WLNR 8102497




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                                                      People (UK)
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                                                       March 5, 2023

                                                       Section: News

                      Harry: I’ve always felt different from rest of my family
 FRESH MISERY FOR ROYALS ALS AS dukE cHAtS to tRAumA guRu Prince admits he took drugs to relax New
                          blast at King over his traumatic broken home

                                          JOHN SIDDLE & GRANT HODGSON

PRINCE Harry last night heaped more misery on his dad King Charles with a series of shocking admissions which included
TAKING illegal drugs like cannabis and cocaine that changed him.

FEELING different from the rest of the Royal Family.

QUESTIONING why Britain went to war in Afghanistan - and claiming he was a typical soldier from “a broken home”.

? CLAIMING that speaking about his trauma over his mum Diana’s death was an act of service to the world.

The Duke of Sussex - speaking publicly for the first time since he and wife Meghan, 41, were ordered out of their UK royal
base at Frogmore Cottage by Charles - denied he was looking for sympathy by publishing blistering allegations in his
memoir, Spare.

But his latest claims in an internet podcast with a controversial self-help guru are likely to cause further divisions with his
dad and brother Prince William.

Harry, 38, revealed in the £20-a-head podcast - likely to have been watched by Palace aides - how elements of his childhood
were incredibly painful and he always felt slightly different to other royals.

And he drew parallels with mum Diana, who died in 1997 after

NEW LIFE Harry and Meghan live in US divorcing Charles. He said: “I felt strange being in this container and I know that
my mum felt the same.

”It makes sense to me. It didn’t make sense at the time. I felt as though my body was in there and my head was out.”

Quizzed by Canadian author Dr Gabor Maté on whether readers would see his

GRIEF William, memoir as wallowing in selfpity, Harry replied: “I definitely don’t see myself as a victim.”

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Harry: I’ve always felt different from rest of my family, 2023 WLNR 8102497




He said people told him Meghan had saved him, adding: “I was stuck in this world and she was from a different world and
helped draw me out of that.”

Asked about how it felt to break free from “fancy captivity” by quitting the UK for California, Harry replied: “It feels great.
Once the book came out I felt incredibly free. I felt a huge weight off my shoulders. The system in which I was part of
doesn’t encourage free living.”

He told Dr Maté how he was diagnosed with post-traumatic stress after seeking counselling over Diana’s death.

Harry said: “When I found my therapist and started to really unpack 12-year-old Harry at the point of where my mother died,
that did start to unravel all sorts of other moments. It was scary.”

Harry said he turned to the psychedelic drug ayahuasca to deal with the traumas and added: “It was the cleaning of the
windshield, the removal of life’s filters.

”And these layers and filters, it removed it all for me. It brought me a sense of relaxation, release, comfort.”

He added: “I started doing it recreationally and started to realise how good it was for me. It is one of the fundamental parts of
my life that changed me and helped me deal with the traumas and pains of the past.”

With

The duke said of his dabbles with cocaine: “That didn’t do anything for me. It was more a social thing. It gave me a sense of
belonging for sure.

”Marijuana is different, that did actually really help me. Alcohol is certainly more of a social thing.” Harry also claimed a lot
of people in the armed forces didn’t agree or disagree with the war in Afghanistan, where he was a helicopter gunship pilot.

He said: “One of the reasons why so many people in the United Kingdom were not supportive of our troops was because they
assumed that everybody that was serving was for the war.

”But no, once you sign up, you do what you’re told to do. So there was a lot of us that didn’t necessarily agree or disagree.”

Last night Col Philip Ingram, a former military intelligence officer and Nato planner, said he believed Harry was wrong to air
his views.

He added: “I also think he is wrong saying about troops being against the war because I don’t think that was the case.”

scoops@reachplc.com


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News Subject: (Family Social Issues (1FA81); Global Politics (1GL73); Military Conflicts (1MI68); Social Issues (1SO05);
Top World News (1WO62); World Conflicts (1WO07))

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Harry: I’ve always felt different from rest of my family, 2023 WLNR 8102497



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How dangerous Amazonian drug ‘promoted’ by Prince Harry..., 2023 WLNR 8254813




                                  3/6/23 Daily Mail Online (U.K.) (Pg. Unavail. Online)
                                                2023 WLNR 8254813

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                                                        March 6, 2023


    How dangerous Amazonian drug ‘promoted’ by Prince Harry has become the latest trend adored by middle
                                               class Brits

                                   Emily Craig Senior Health Reporter For Mailonline

With Prince Harry discussing the role of drugs in managing his ‘trauma and pain’, a spotlight has once again been shone onto
ayahuasca.

Amazonian tribes have used the psychedelic brew for thousands of years to bring ‘spiritual enlightenment’.

Amazonian tribes use the psychedelic ayahuasca for ‘spiritual enlightenment’ Prince Harry discussed the role of the
hallucinogenic in managing his ‘trauma’

Yet ayahuasca’s use isn’t just confined to shamanistic rituals deep in the jungles of Peru, Bolivia and Ecuador — or young
Western travellers experimenting while they journey through South America.

For the powerful hallucinogenic potion has, over the past decade, become trendy among another group... to the despair of
psychiatrists and experts.

Presenter Bruce Parry, famous for making documentaries in remote parts of the world, has been partly credited with ‘bringing
ayahuasca to the middle classes’.

After taking it with indigenous tribes in Iquitos, Peru, he called the bitter brew one of his ‘greatest healing methodologies’
when discussing its effects in 2013.

In a frank admission, Bruce said he takes it ‘as often as possible’ in Colombia and other parts of the world.

No data exists to prove how commonly the drink is used in the UK.

Yet there are dozens of events and retreats, which cost up to £1,500 for a week, in the UK that have been shared online under
the hashtag ayahuasca, or promising ayahuasca ceremonies.
 READ MORE: Family of woman, 29, who killed herself after suffering psychosis from the drug Prince Harry
claimed ‘really helped’ his mental health in latest interview slam the Duke as ‘irresponsible’ after he described his
‘positive’ experience of ayahuasca
Ayahuasca has been blamed for the deaths of at least three Brits, one of whom took her own life due to its effect on her
mental health.

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How dangerous Amazonian drug ‘promoted’ by Prince Harry..., 2023 WLNR 8254813




DMT is the active ingredient in ayahuasca, which makes it a Class A Drug.

Possession can come with a prison term of up to seven years in the UK and an unlimited fine.

It is made by combining the bark from a Banisteriopsis caapi vine tree and leaves from the Psychotria viridis bush — both of
which are native to south America — and originally used by shamans for healing and religious rituals.

The psychedelic affects all the senses — altering a person’s thinking, sense of time and emotions. It can make users feel
tripped out, hallucinate or feel frightened and confused.

Its effects, which are almost instantaneous and said to be similar to LSD and magic mushrooms, also include raised blood
pressure, heart rate and body temperature, as well as nausea, diarrhoea and anxiety.

Experts are now worried that Prince Harry’s latest comments could ‘promote’ the ‘quack therapy’, which is illegal in the UK,
US and Canada, as a way to ‘remove life’s filters’.

In an interview broadcast online on Friday, Prince Harry talked to Dr Gabor Maté, a controversial author and trauma expert
who is an advocate of decriminalising drugs.

The Hungarian-Canadian doctor has used ayahuasca to treat his patients suffering from mental illness.

In the interview, which viewers were charged £19 to watch — and get a copy of his book — Prince Harry discussed the rift
with his family and his experience with drugs.

He said that cocaine ‘didn’t do anything’ for him, though it was a ‘social thing’ and gave him a ‘sense of belonging’.

But marijuana ‘really’ helped him.

And ayahuasca triggered feelings of ‘release’ and ‘comfort’ that helped him deal with his trauma, Prince Harry said.

He added: ‘It was the cleaning of the windscreen, cleaning of the windshield, the removal of life’s filters just as much as on
Instagram, these layers of filters.

’It removed it all for me and brought me a sense of relaxation, release, comfort, a lightness that I managed to hold on to for a
period of time.

’I started doing it recreationally and then started to realise how good it was for me, I would say it is one of the fundamental
parts of my life that changed me and helped me deal with the traumas and pains of the past.’

In a previous interview, Prince Harry said he would not recommended taking the substance recreationally.

But he added: ‘Doing it with the right people if you are suffering from a huge amount of loss, grief or trauma, then these
things have a way of working as a medicine.’

In the interview with the Duke of Sussex, Dr Maté denied that the drug can trigger side effects such as vomiting — which
one study found affects seven in 10 users — and hallucinations.

He said: ‘You purge with it sometimes, it’s a good thing. It doesn’t give you hallucination — it gives you visions... You think
it’s really happening.’
 Traditional psychoactive plants that can trigger health problems
For thousands of years before the arrival of European explorers, native American tribes harnessed the psychoactive properties
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How dangerous Amazonian drug ‘promoted’ by Prince Harry..., 2023 WLNR 8254813



of plants for magic and ritual.

Since the 1960s hippy trail reached South America, Western visitors have been tempted to ‘broaden their consciousness’ by
consuming hallucinogenic drinks mixed by local shamen – traditional healers and spiritual guides.

While substances such as ayahuasca are illegal to possess or supply in the UK, overseas retreats where people can sample
them are widely promoted online, and many users have reported trying them in this country as well.

Actress Lindsay Lohan credited drinking ayahuasca – which is created by pounding vine stems in boiling water – with
helping to free her from ‘the wreckage of my past’.

Musician Sting is also a proponent, saying ayahuasca had convinced him a ‘higher intelligence’ was at work.

Users experience hours of illusions and flashbacks. It is illegal in the UK as it contains the Class A drug DMT.

Experts warn ayahuasca and similar potions could trigger underlying mental health conditions or heart problems.

There are reports that tourists in South America have been robbed after being drugged by bogus shamen.

After the death of backpacker Henry Miller, 19, from Bristol, who paid £13 to try ayahuasca during his gap year trip to
Colombia in 2014, a coroner warned against taking part in such rituals.

Wachuma – brewed from the mescaline-producing San Pedro cactus and known as ‘the doorway’ – causes vomiting and
12-hour hallucinations, risking exacerbating underlying mental illness.

The cacti are legal to own – but only if not intended for human consumption.

However, he added: ‘I don’t think it’s a panacea for dealing with trauma.’

Professor Edzard Ernst, emeritus professor of complementary medicine at the University of Exeter, told MailOnline:
‘Ayahuasca is an under-researched botanical hallucinogenic and psychedelic drug that has shown some rather preliminary
promise in the treatment of depression, anxiety, and substance abuse.

’Adverse effects are on record, some of which are serious.

’Its promotion as a life-changing treatment is unwise at best and irresponsible at worst.’

Dr Max Pemberton, an NHS psychiatrist in London and columnist for The Daily Mail, said the Duke of Sussex’s comments
are ‘highly irresponsible and ‘promoting yet another quack therapy’.

’Harry plainly has no understanding of the serious damage these substances can wreak on users – damage that I see on mental
health hospital wards with upsetting frequency,’ he said.

Dr Pemberton warned that Prince Harry has been ‘seduced by the fashionability of the drug, which is popular among the
trendy middle classes’.

Meanwhile, the family of Jennifer Spencer, who died by suicide aged 29 in 2019 after taking ayahuasca in Peru, said his
comments were ‘irresponsible’.

Ms Spencer suffered severe psychosis as a result of her experience with the drug.

Her aunt, Fiona Chase, 73, told The Sun: ‘He should not be speaking positively about this drug. It’s irresponsible because a
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lot of people look up to him.

’It worked for him, but it certainly didn’t work for Jenny. Like every drug, different people react differently.’

Ms Spencer is not the only Brit to die after a trip on ayahuasca, however.

Henry Miller, from Bristol, died in 2014, aged 19, in the Columbian rainforest, which he had travelled to be part of a
shamanic ritual and take ayahuasca.

On his first try, he felt no effects from the brew, so went back two days later to try it again. But soon after drinking one cup,
his breathing slowed and he became unwell.

His body was found by the side of a road, after two men tried to take him to hospital and ‘panicked’ when he died en route,
an inquest heard at the time. A coroner ruled that it was an accidental death by intoxification.

Earlier this year, a coroner warned against taking the drug after Katie Hyatt, 32, suffered a mental breakdown and took her
own life following a shamanic ritual at a retreat in Malvern, Worcestershire.

Her parents believe she had consumed ayahuasca.

Last year, actor Will Smith revealed during an interview with Oprah Winfrey that he drank the brew over 12 times during a
retreat in Peru, while having marital problems with his wife Jada.

Mike Tyson said ayahuasca and other psychedelics saved his life, while Hunter Biden said profound trips helped him become
sober.

Actress Lindsay Lohan credited drinking ayahuasca – which is created by pounding vine stems in boiling water – with
helping to free her from ‘the wreckage of my past’.

Musician Sting is also a proponent, saying ayahuasca had convinced him a ‘higher intelligence’ was at work.

And Aaron Rodgers, an American football quarterback for the Green Bay Packers, revealed that he took the drugs on two
separate retreats to Peru, which he credited for helping with ‘a lot of healing’.

Experts warn that the ‘intense’ trips the drink can trigger may lead flashbacks or even a mental health condition.

It use dates back to 900BC, when it was taken for religious and medicinal purposes. While it continues to be used in this way
in south America, the use by tourists has grown.

It is popular among tourists travelling in south America, who drink the brew during a ceremony, led by a healer or shaman, at
specialist retreat centres.

Some studies have suggested ayahuasca could improve mental health and some credit it for tackling addiction, depression
and trauma.

A University College London a study found the so-called ‘jungle tea’ may boost wellbeing and lower the risk of depression.

The UCL researchers, who examined results from the Global Drug Survey, said those who took the plant, which causes
hallucinations that last up to six hours, were also less likely to develop eating disorders.

If you are affected by any of the issues raised by this article, you can call the Samaritans anonymously for free on 116 123, or
go online at samaritans.org.
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Company: UNIVERSITY OF EXETER; UNIVERSITY COLLEGE LONDON; GREEN BAY PACKERS, INC.

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Industry: (Healthcare (1HE06); Healthcare Practice Specialties (1HE49); Healthcare Services (1HE13); Psychiatric Disorders
& Conditions (1PS79); Psychiatric Services (1PS61); Psychiatry (1PS63))

Region: (Americas (1AM92); Europe (1EU83); Latin America (1LA15); Peru (1PE60); South America (1SO03))

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Meet Prince Harry’s ex-girlfriend he almost married, 2022 WLNR 36435585




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                                                   November 13, 2022


                                  Meet Prince Harry’s ex-girlfriend he almost married

Before Meghan Markle came into Prince Harry’s life, the son of King Charles III was known as one of the most
“womanizing” royals in the history of the British royal family. In addition, the Duke of Sussex had problems with drugs and
this caused many headaches for Queen Elizabeth II.

Prince Harry had numerous girlfriends, and one of the most remembered is Chelsy Davy, whom Harry met during a tour in
Africa.

Read more: The harsh revelation about the origin of the grudge between Princes William and Harry
 Who is Chelsy Davy?
Before graduating from Eton College, Prince Harry decided to travel to Africa. There he met Chelsy Davy, a businesswoman
born in Bulawayo, Zimbabwe, of British parents. Prince Harry and Chelsy soon began to be photographed and hounded by
the world’s press. This situation overcame Davy and the young woman decided to end the relationship in 2010.

Read more: These would be the new titles of Archie and Lilibet Diana, children of Prince Harry and Meghan Markle.

”I found it difficult. It’s not something you get used to,” Davy once assured The Times. When they ended their relationship,
Prince Harry was 24 and she was 23.
 What is Chelsy Davy’s life?
The relationship between Prince Harry and Chelsy Davy continued to be good even after their breakup. The young woman
attended the wedding of Prince William and Kate Middleton, as the royal family had become very fond of her. Besides,
Chelsy and Kate used to spend a lot of time together and this generated between them a beautiful friendship.

Chelsy secretly married Sam Cutmore-Scott, the younger brother of actor Jack Cutmore-Scott, who owns a hotel chain.
Chelsy studied economics and law and worked in a law firm. This year it became known that Chelsy Davy became the
mother of little Leo. The young woman shared the news through her Instagram account. In addition Davy is the founder of
“Aya Jewels”, and to create her jewelry she is inspired by Africa.


---- Index References ----

Company: THE KYNGE’S COLLEGE OF OUR LADYE OF ETON BESYDE WINDESORE

News Subject: (Health & Family (1HE30); Politically Exposed Persons (1PO01))

Industry: (Celebrities (1CE65); Consumer Products & Services (1CO62); Entertainment (1EN08); Luxury Items (1LU28))
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Meet Prince Harry’s ex-girlfriend he almost married, 2022 WLNR 36435585



Region: (Africa (1AF90); Southern Africa (1SO66); Zimbabwe (1ZI44))

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Meet the ‘toxic trauma’ expert interviewing Prince Harry, 2023 WLNR 7422504




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                                                    February 28, 2023


                             Meet the ‘toxic trauma’ expert interviewing Prince Harry
 He’s treated his patients with psychedelic drugs and written books on ADHD, addiction and stress. Get to know
                                      Dr Gabor Maté, who is set to intervie...

                                                     Martha Alexander

He’s treated his patients with psychedelic drugs and written books on ADHD, addiction and stress. Get to know Dr Gabor
Maté, who is set to interview Prince Harry this weekend

Bad news for anyone who has heard quite enough from him — and music to the ears of anyone hungry for more – Prince
Harry is set to take part in a livestream chat with Canadian child development expert and author of six books, Dr Gabor Maté.

The hour-long conversation will take place online on Saturday March 4th at 5pm (UK time) on Vimeo. It will be broadcast to
ticket holders only and costs £17 plus a £2.12 fee for UK customers. This will include a copy of Prince Harry’s memoir,
Spare.

Produced by Penguin Random House in partnership with Barnes & Noble, Waterstones and Indigo Books & Music, Prince
Harry, 38, and Dr Maté, 79, are set to discuss the importance of personal healing, among other topics.

Each guest has the opportunity to submit a question, which may be chosen for a Q&A session that will conclude the event.

But what exactly is Dr Maté’s relationship to Harry? And what else can we expect to see the pair discuss in what will be the
prince’s first public event since his January publicity blitz for Spare?

Dr Maté is an apt choice for Prince Harry to talk with, not least because the former’s next book, Hello Again: A Fresh Start
for Parents and Their Adult Children, is due for release later this year.

His focus on familial relationships is clear, as he asked “How much of what I have believed and done is actually my own and
how much has been in service to a self-image I originally created in the belief it was necessary to please my parents?” in his
book When the Body Says No: The Cost of Hidden Stress.

Dr Maté lives in Vancouver with his wife Rae, whom he married in 1969 after meeting at the University of British Columbia.
They have three children, including journalist Aaron Maté, with whom Dr Maté wrote Hello Again, and daughter Hannah,
who is a PhD student in clinical psychology. Born in Hungary in 1944, as the Second World War raged, he moved to Canada
at the age of only 12. As an infant, his mother put him in the care of strangers to keep him safe for over a month. However,
he felt acute anger and developed a fear of abandonment, which he’s carried throughout his life — and has informed his work

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Meet the ‘toxic trauma’ expert interviewing Prince Harry, 2023 WLNR 7422504



on trauma, child development, attention deficit hyperactivity disorder (ADHD), addiction and stress.

An advocate for drugs being decriminalised, Dr Maté has even used the plant ayahuasca — which causes hallucinations and
vomiting — to treat patients suffering from addiction and mental illness on dedicated retreats, where he worked with a
Peruvian shaman. Although there was evidence to suggest his methods helped to ease symptoms, in 2011 he got into hot
water with the Canadian authorities who threatened to arrest him.

However, that same year, Dr Maté, who spent much of his career working alongside drug addicts in one of Vancouver’s
roughest neighbourhoods, had his work recognised in the form of the Civic Merit Award of the City of Vancouver as well as
the Order of Canada.

While he is officially retired as a practising physician, Dr Maté shows no sign of putting his feet up. He is a frequent public
speaker and a prolific writer.

He also has an active Instagram account with 1.2 million followers including the likes of Elizabeth Day, Mae Martin and
Anita Rani — although it is run, with his blessing, by his daughter. He features in ‘to camera’ videos or conversations on
topics such as people pleasing, childhood trauma, and how to move past suffering.

He is regularly invited on podcasts to offer insight into all sorts of psychological issues. He spoke on Fern Cotton’s Happy
Place podcast about the emotional demands put on women by the traditional family unit and discussed addiction with Bryony
Gordon on her Mad World podcast. He told Gordon he would ban the word ‘addict’ if he could. Dr Maté firmly believes that
we are all addicts to some degree.

One of his most cited quotes is “a hurt is at the centre of all addictive behaviours”.

There is speculation about how the collaboration with Harry came about. Was it a decision made by Random House? Or
perhaps Harry is a client of Dr Maté? The latter theory is unlikely, given that while Dr Maté is a retired practicing physician.

It is probable that Harry, who has very much taken the reins on his own life over the last few years, decided to select Dr Maté
to accompany him for this part of Spare’s promotion — not least because it is another nod to his interest in talking therapy,
which he has had for seven years.

”The moment I started doing therapy, it opened my eyes,” he said at the inaugural Masters of Scale Summit in 2022. “I was
moving through life thinking there was only one way to live. And therapy burst that bubble.”

Given Dr Maté’s areas of expertise and how much Harry’s memoir focuses on his childhood (including the trauma of losing
his mother, Princess Diana, when he was only 12), it is likely that the livestream will focus on grief, loss and personal
healing.

The conversation, which viewers are prohibited from making any copies of and during which the ‘chat’ function will be
disabled, comes after a turbulent period for Prince Harry, who lives in California with his wife Meghan and their two
children.

His memoir is the fastest-selling non-fiction book in the UK since records began in 1998, shifting over 467,000 copies in its
first week. However, a recent poll conducted by Redfield & Wilton for Newsweek found that his popularity — and that of his
wife — has slumped to an all-time low among Americans. The couple were also savagely mocked in an episode of South
Park.

However, under a post promoting the virtual conversation on his Instagram, while many commenters questioned why Dr
Maté would give Harry further publicity, there was plenty of support. “Everyone deserves healing,” one person said.


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                                                     January 10, 2023


 One-On-One With Prince Harry; Buckingham Palace Has Repeatedly Decline To Comment On The Contents Of
                                 Prince Harry’s Memoir. Aired 8- 9p ET

OREN LIEBERMANN, CNN PENTAGON CORRESPONDENT: Or would it use its industrial and economic power to
control Taiwan instead of its military and that, Erin, is a critical question.

ERIN BURNETT, CNN HOST: Oren, thank you very much. Sobering.

And thanks so much for joining us. Don’t forget you can watch “Out Front” anytime on CNN Go.

AC 360, meantime starts now.

[20:00:22]

ANDERSON COOPER, CNN HOST: Welcome to a Special Edition of 360. The Harry interview, my conversation with
Prince Harry that I did it for CBS “60 Minutes.”

Tonight, the interview and we’ll discuss with our correspondents and guests the potential fallout from it and what Harry
reveals in his new book which comes out on Tuesday.

Prince Harry may have stepped back from his Royal duties in 2020, but he and his wife, Meghan, the Duchess of Sussex
certainly haven’t stepped away from the spotlight.

Just last month, they appeared in a six-part Netflix documentary about their relationship and their decision to leave their
Royal lives behind. But now, the 38-year-old Prince Harry is telling his own story in his new memoir, “Spare,” a nod to his
backup role in the line of succession.

The book is a stunning break with Royal protocol. It is deeply personal, and it’s an account of Prince Harry’s decades long
struggle with grief after the death of his mother, Princess Diana, and a revealing look at his fractured relationships with his
father, King Charles; his stepmother, the Queen Consort, Camila; and his brother, Prince William, the heir to his spare.

(BEGIN VIDEOTAPE)

COOPER: You write about a contentious meeting you had with him in 2021. You said: “I looked at Willy, really looked at
him maybe for the first time since we were boys. I took it all in. His familiar scowl, which had always been his default in
dealings with me, his alarming baldness more advanced than my own, his famous resemblance to mummy, which was fading

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with time, with age.” It’s pretty cutting.

PRINCE HARRY, DUKE OF SUSSEX: I don’t say it as cutting at all. You know, my brother, and I love each other. I love
him deeply. There has been a lot of pain between the two of us, especially the last six years. None of anything that I’ve
written or anything I’ve included, is ever intended to hurt my family.

But it does give a full picture of the situation as we were growing up and also squashes this idea that somehow my wife was
the one that destroyed the relationship between these two brothers.

COOPER: I think so many people around the world watched you and your brother grow up and feel like you two were
inseparable. And yet in reading the book, you have lived separate lives from the time your mom died.

Even when you were in the same school in high school --

PRINCE HARRY: Sibling rivalry.

COOPER: Your brother told you, pretend we don’t know each other.

PRINCE HARRY: Yes, and at the time, it hurt. I couldn’t make sense of it. I said, what are you talking about? We’re now at
the same school. Like, I haven’t seen you for ages. Now, we get to hang out together. He’s like, no, no, when we’re at school,
we don’t know each other.

I took that personally. But yes, you’re absolutely right. You hit the nail on the head, like, we had a very similar traumatic
experience and then we dealt with it in two very different ways.

COOPER: William, it tried to talk to you occasionally about your mom. But as a child, you could not -- you couldn’t
respond.

PRINCE HARRY: For me. It was never a case of I don’t want to talk about it with you. I just don’t know how to talk about. I
never ever thought that maybe talking about it with my brother or with anybody else at that point would be therapeutic.

COOPER (voice over): In August 1997, Harry and William were vacationing in Scotland with their father. Harry was 12,
William 15. They were asleep at Balmoral Castle on August 31st when Harry was awakened by his father, who told him his
mother had been in a car crash in Paris.

COOPER: In the book you write? He says, “They tried darling, boy. I’m afraid she didn’t make it.” These phrases remained
in my mind like darts in a board, you say. Did you cry?

PRINCE HARRY: No. I never shed a single tear at that point. I was shocked. You know, I am only 12 years old, sort of
seven, seven thirty in the morning, early. Your father comes in, sits on your bed, puts his hand on your knee and tells you
there’s been an accident. I couldn’t believe.

COOPER: And you write in the book that “Pa, didn’t hug me. He wasn’t great at showing emotions under normal
circumstances. But his hand did fall once more on my knee and he said, it’s going to be okay.” But after that nothing was
okay for a long time.

PRINCE HARRY: No, nothing was okay.

COOPER (voice over): Harry says his memories of the next few days are fragmented, but he does remember this: Greeting
mourners outside Kensington Palace in London the day before his mother’s funeral.

COOPER: When you see those videos now, what do you think?
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PRINCE HARRY: I think it’s bizarre, because I see William and me smiling. I remember the guilt that I felt --

COOPER: Guilt about?

PRINCE HARRY: The fact that the people that we were meeting were showing more emotion than we were showing, maybe
more emotion than we even felt.

COOPER: They were crying, but you weren’t.

PRINCE HARRY: There was a lot of tears and I talk about how wet people’s hands were, I couldn’t understand it at first.

[20:05:12]

COOPER: Their hands were wet.

PRINCE HARRY: Their hands are wet from wiping their own tears away.

I do remember one of the strangest parts to it was taking flowers from people, and then placing those flowers with the rest of
them as if I was some sort of middle person for their grief, and that really stood out for me.

COOPER (voice over): The funeral on a cool September morning was watched by as many as two and a half billion people
around the world. Perhaps the most indelible image, Prince Harry and his brother walking behind their mother’s casket on its
way to Westminster Abbey.

COOPER: What do you remember about that walk?

PRINCE HARRY: How quiet it was. I remember the occasional wail and screaming of someone. I remember the horse
hooves on the road. The bridles of the horses, the gun carriage, the wheels, the occasional gravel stone underneath your shoe,
but mainly, the silence.

COOPER (voice over): After the service Princess Diana’s body was brought for burial to her family’s ancestral estate,
Althorp.

PRINCE HARRY: Once my mother’s coffin actually went into the ground. That was the first time that I actually cried. Yes,
there was never another time.

COOPER: All through your teenage years, you didn’t cry about it? PRINCE HARRY: No.

COOPER: You didn’t believe she was dead.

PRINCE HARRY: For a long time. I just refused to accept that she was gone. Part of, you know, she would never do this to
us, but also part of maybe this is all part of a plan.

COOPER: I mean, you really believe that maybe she had just decided to disappear for a time.

PRINCE HARRY: For a time, and that she would call us and we were going to join her.

COOPER: How long did you believe that?

PRINCE HARRY: Yes. Many, many years. William and I talked about it as well. He had similar thoughts.

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COOPER: You write in the book, you say, “I’d often say to myself first thing in the morning, maybe this is the day.” Maybe
this is the day that she’s going to reappear.

PRINCE HARRY: Yes. Hope. I had huge amounts of hope.

COOPER (voice over): He held on to that hope into adulthood. When Harry was 20, he asked to see the police report about
the crash that killed his mother, her boyfriend Dodi al Fayed, and their driver Henri Paul, while they were being pursued by
paparazzi in a Paris tunnel.

The files contain photographs of the crash scene. Why did you want to see it?

PRINCE HARRY: Mainly proof. Proof that she was in the car, proof that she was injured and proof that the very paparazzi
that chased her into the tunnel were the ones that were taking photographs of her lying half dead on the backseat of the car.

COOPER: You write, “I hadn’t been aware before this moment,” talking about looking at the pictures of the crash scene,
“That the last thing mommy saw on this earth was a flashbulb.”

PRINCE HARRY: Yes.

COOPER: That’s what you saw in the pictures.

PRINCE HARRY: Yes. Well, there were pictures that showed the reflection of a group of photographers taking photographs
through the window and the reflection on the window was them.

COOPER (voice over): He only saw some of the crash photos. His private secretary and adviser dissuaded him from looking
at the rest.

PRINCE HARRY: All I saw was the back of my mom’s head slumped on the backseat. There were other more gruesome
photographs, but I will be eternally grateful to him for denying me the ability to inflict pain on myself by seeing that, because
that’s the kind of stuff that sticks in your mind forever.

COOPER (voice over): Harry says he believed his mother might still be alive until he was 23 and visited Paris for the first
time.

You told your driver, “I want to go to the tunnel where my mom died.”

PRINCE HARRY: I wanted to see whether it was possible driving at the speed that Henri Paul was driving, that you could
lose control of a car and plow into a pillar killing almost everybody in that car. I need to take this journey. I need to ride the
same route.

COOPER: The same tunnel, the same speed.

PRINCE HARRY: All of it.

COOPER: Your mother was going.

PRINCE HARRY: Because William and I had already been told the event was like a bicycle chain. If you remove one of
those chains, the end result would not have happened and the paparazzi chasing was part of that. But yet, everybody got away
with it.

COOPER (voice over): Harry writes he and his brother weren’t satisfied with the results of a 2006 investigation by London’s
Metropolitan Police, concluding Diana’s driver, Henri Paul had been drinking and the crash was a “tragic accident.”
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PRINCE HARRY: William and I considered reopening the inquest, because there was so many gaps and so many holes in it,
which just didn’t add up and didn’t make sense.

COOPER: Would you still like to do that?

PRINCE HARRY: I don’t even know if it’s an option now, but no, I think -- would I like to do that now? That’s a hell of a
question, Anderson.

COOPER: Do you feel you have the answers that you need to have about what happened to your mom?

PRINCE HARRY: Truth be known, no. I don’t think I do. I don’t think my brother does either. I don’t think the world does.

[20:10:05]

Do I need any more than I already know? No, I don’t think it would change much.

COOPER (voice over): Harry now says it wasn’t until he served in combat with the British Army in Afghanistan that he
finally found purpose and a sense of normalcy.

PRINCE HARRY: My military career saved me, in many regard.

COOPER: How so?

PRINCE HARRY: It got me out of the spotlight from the UK press. I was able to focus on a purpose larger than myself, to be
wearing the same uniform as everybody else, to feel normal for the first time in my life and accomplish some of the biggest
challenges that I ever had.

I was training to become an Apache helicopter pilot, you don’t get a pass for being a prince.

COOPER: The Apache doesn’t give a crap about who you are.

PRINCE HARRY: No. There’s no prince autopilot button that you can press and just takes you away.

I was a really good candidate for the military. I was a young man in my 20s, suffering from shock, but I was now in the front
seat of an Apache, shooting it, flying it, monitoring four radios simultaneously and being there to save and help anybody that
was on the on the ground with a radio screaming, we need your support. We need air support. That was my calling. I felt
healing from that, weirdly.

COOPER: And that multitasking, the brain work of that, that felt good to you.

PRINCE HARRY: It felt like I was turning pain into a purpose. I didn’t have the awareness at the time that I was living my
life in adrenaline. And that was the case from age 12, from the moment that I was told to my mom had died.

COOPER: You say war didn’t begin in Afghanistan, it began in August 1997.

PRINCE HARRY: Yes, the war for me unknowingly was when my mum died.

COOPER: Who are you fighting?

PRINCE HARRY: Myself. I had a huge amount of frustration and blame towards the British press for their part in it.

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COOPER: Even at 12 -- I mean, at that young, you were feeling that toward the British press.

PRINCE HARRY: Yes, I mean, it was obvious to us as kids, the British press is part in our mother’s misery and I had a lot of
anger inside of me that luckily, I never expressed toward anybody, but I resorted to drinking heavily, because I wanted to
numb the feeling, I wanted to distract myself from whatever I was thinking and I would resort to drugs as well.

COOPER: Harry admits he smoked pot and used cocaine and writes that in his late 20s, he felt hopeless and lost.

PRINCE HARRY: There was this weight on my chest that I felt for so many years, and I was never able to cry. So I was
constantly trying to find a way to cry. But even sitting on my sofa, and going over as many memories as I could muster up
about my mum and sometimes I watch videos online.

COOPER: Of your mum? PRINCE HARRY: Of my mum.

COOPER: Hoping to cry.

PRINCE HARRY: Yes.

COOPER: And you couldn’t.

PRINCE HARRY: I couldn’t.

COOPER (voice over): He sought out help from a therapist for the first time seven years ago, and reveals he’s also tried more
experimental treatments.

You write in the book about psychedelics, Ayahuasca, psilocybin mushrooms.

PRINCE HARRY: I would never recommend people to do this recreationally, but doing it with the right people if you are
suffering from a huge amount of loss, grief or trauma, then these things have a way of working as a medicine.

COOPER: They showed you something. What did they show you?

PRINCE HARRY: For me, they clear the windscreen -- the windshield, the misery of loss. They cleared away this idea that I
had in my head that my mother, that I needed to cry to prove to my mother that I missed her, when in fact, all she wanted was
for me to be happy.

(END VIDEOTAPE)

COOPER: We’ll continue with part two of my interview shortly. But first joining us right now, CNN Royal correspondent,
Max Foster; CNN Royal historian Kate Williams, and Bonnie Greer, noted author and playwright and former Deputy Chair
of the British Museum.

Max, let’s start with you. You know, this is a two-part interview that we did for “60 Minutes,” and one of the reasons that we
wanted to start with this -- with a focus on Princess Diana and the experience of her death for Harry is in reading the book
and it is 460 pages, I mean, it is, yes, people are going to be paying most attention to all the revelations and you know, the
inside information that he’s giving out, the break of protocol with Royal family, information he is telling about the Royal
family, which we will show shortly.

But for me, I mean, this is such a memoir about loss and about grief and about the devastating impact of childhood trauma,
the death of his mom which played out obviously on a global scale and it’s extraordinary how the life that he lived is so
different than or his perception of himself and his perception of his life is so different than the world’s perception of what his
life and his inner life must have been like growing up.
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I find that sort of dichotomy interesting.

MAX FOSTER, CNN ROYAL CORRESPONDENT: Yes, and it is where we all connect with Harry, isn’t it, that image of
him walking behind the coffin and utter sympathy you have for that young boy and how he was so deeply affected.

And as you explored with him, so effectively, this is a really sort of historic part of the interview, because it was a global
event defining for the UK in modern history and you see him behind the coffin and you tried to get a sense of what that was
like. And you’ve given that -- you know, you’ve shown and brought that out. So, it’s incredibly powerful.

And these images are seared on the world’s consciousness. And then, you know, you explore this part of the -- you know, he
didn’t -- he wondered if she was still alive and he didn’t really believe that she was dead until he saw the photos, and then he
sees the paparazzi around the body.

And this is utterly defining, as you explore later on in the interview, how, from that moment onwards, he’s at war, really,
with a media. And it’s not just the photographers. It is the news desks that commission and buy those photographers.

COOPER: Kate, I’m wondering what you thought of this side of Harry, how much was new to you? Does it inform at all the
way kind of what is happening now?

KATE WILLIAMS, CNN ROYAL HISTORIAN: Yes, Anderson, it was just heartbreaking to hear him talk about his
mother’s death. I was so moved, he said he felt guilty, because he couldn’t cry.

I remember being out there with the crowds, everyone was weeping. The tears were falling out. You were out there as a
reporter. The grief was cataclysmic. And yet Harry, the one with really almost the greatest -- he and William had the greatest
right to grieve of all, he just couldn’t cry. He felt so guilty.

I was so moved about him talking about his feelings, and how he is speaking out, Harry’s book, there really has been three
things for me: A portrait of a very dysfunctional family, their relationships with the press in this dysfunctional family. But
most of all, a portrait of a young boy losing his mother at this young age, with very little support from within the family and
also expected to play this role on the world stage.

And when he said “My war began in 1997,” that was, I think, a stunning revelation and really went to the heart of why he is
still suffering now, the loss of his mother and how much the press had a role in that.

COOPER: Bonnie, I mean, again, for me, the idea of how little we actually know about the people we think we know in
public life, you know, how they see their lives, their inner life is so completely opposite from what people imagined it would
be.

BONNIE GREER, FORMER DEPUTY CHAIR, BRITISH MUSEUM: Well, Anderson, this family is a little bit more than,
you know, celebrities. I mean, they are constitutional elements of his country. The head of the family is the constitutional
head of state, his oldest is also in the Constitution, and the oldest after that are also in the Constitution. So they become much
more than a prominent family. They’re actually the fabric of the country.

And you know, I can remember I mean, I remember when Charles and Diana brought Harry out of the Lindo Wing at St.
Mary’s, the day he was born, and watching this jolly little redhead boy who just always had a smile on his face, until that day,
when he was made to walk behind that coffin, which was barbaric, but also keeping in the tradition of this family, which is
more than a family, they are the state.

So that is the issue I think that the British people are going to have to come to grips with and I think is what Harry in which
you show in that really brilliant interview, Harry is challenging this and this is really the conflict and the clash is going to
come in the British body politic.
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COOPER: It is also interesting, Max, I mean, this whole notion of the heir and the spare, which you know, it’s been in
tabloids -- tabloid headlines, the fact that it kind of rhymes is obviously a tabloid catnip. Prince Charles and I asked this to
Harry, we didn’t include it in the interview, but you know, Prince Charles is famously rumored to have said to Diana after
Harry’s birth, well, you know, I’ve done my job I’ve given you an heir and a spare and that my job is done.

I asked him if he thought that was a true story. He said based on the various sources he had talked to or who had told him
about it, he thought it probably was true, but also probably meant as a joke.

But that heir and spare dynamic, it pops up throughout the book, and throughout the relationship between Prince William and
Prince Harry, we all have this idea that or at least you know, if you see a lot of the coverage in the British tabloids since the
whole rift, the argument is that that Meghan was the cause of that, and I don’t know what degree that is true, but from what
Prince Harry is saying in his book, and he documents this is from the time Diana died, they lived two very separate lives and
dealt with that grief in very separate ways. It’s like they were on separate paths. And part of that is the heir and spare
dynamic.

[20:20:25]

FOSTER: I mean, what Charles said there is the brutal reality though, isn’t it? This is a monarchy, it is built on a hierarchy
and Harry spoke to you about that. And by any definition, you know, there are more senior people in the hierarchy. If you
don’t like the hierarchy, you don’t like monarchy. And then Harry, of course, says he does believe in monarchy, I think that
is the reality.

I mean, I think what William’s side would say is that they did everything they could to make Harry not feel like a spare. They
elevated him, they had something called the Royal Foundation, where they worked together initially, Harry and William, and
that was an umbrella group for all of their charities.

And I think William felt that he was elevating what would be a traditional role for a spare, a spare, would, in the past, just be
invisible and brought in if they’re needed.

So I think Harry really struggled with that and then it was the treatment, of course, from William that he felt he received as
well always being made to feel like a spare. And ultimately, when he found Meghan, and she wasn’t happy with the situation,
either. They came together and realized they couldn’t do this any longer.

COOPER: And Kate, one of the things that Harry talks about is that his being dubbed the spare and his role as the spare, he
felt he was more vulnerable to the British press than others in the Royal family. He was essentially expendable, and that
particularly comes into play when he is making the argument that other members of the Royal family, as we will see in this
next part of the interview, in particular, now, the Queen consort, Camila, he says, was essentially throwing him under the bus.

He was one of the bodies left in the street, as she had a relationship with the British media.

WILLIAMS: Yes, I think that is exactly what Harry is saying. Harry feels he was the scapegoat that many other Royals used
him to deflect from their own problems, their own insecurities, and the bad stories about them. And particularly just as you
say, he talks about Camila, he said that she was seen as a villain, she needed to rehabilitate her image. And the way she did
this particularly was by pushing forward negative stories about Harry.

As the spare, he is expendable, and I thought you brought this out so acutely in the interview, the grief he suffered, that the
isolation he suffered, but also as this “Spare,” the title of the book, that very structure I think, even though he says he
supports the monarchy, he does blame it for so much of what went wrong.

We have a situation in which one child gets everything and all the attention and the next child not only gets nothing, but also
is sold out to the press and that is why he was so unhappy and that is why he felt he had to leave and I think it really raises
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questions about the structure of monarchy, spare and heir, the European Royals don’t do it like that. The younger Royals
have their jobs, they don’t expect to be a backup Royal, maybe that’s the way we have to go.

It’s not humane in the way that it is at present.

COOPER: We’ve got to take a short break. We’ll have more with Bonnie and Kate and Max. Stay with us.

When we come back, part of my interview you didn’t see last night. I asked Harry about why he made no mention of the
most headline making comment his wife gave to Oprah Winfrey alleging a Royal family member had expressed concerns
about what the skin color their first baby might be.

Also ahead, part two of the “60 Minutes” interview. Harry tells me why he called his stepmother Camila “dangerous.”

(BEGIN VIDEO CLIP) COOPER: You wrote, “I even wanted to Camila to be happy, maybe she’d be less dangerous if she
was happy.” How is she dangerous?

PRINCE HARRY: Because of the need for her to rehabilitate her image.

COOPER: That made her dangerous.

PRINCE HARRY: That made her dangerous because of the connections that she was forging within the British press.

(END VIDEO CLIP)

(COMMERCIAL BREAK)

[20:27:32]

COOPER: Welcome back to this Special Edition of 360.

Harry’s memoir “Spare” is anything but spare in its unflattering portrayal of the Royal family especially his stepmother,
Camila, now the Queen Consort. She married then Prince Charles in 2005, though the two had been romantically involved on
and off for decades.

When Princess Diana famously referred to Camila as the third person in her marriage, the British tabloids ran with it and
Prince Harry has never forgotten.

(BEGIN VIDEOTAPE)

PRINCE HARRY: She was the villain. She was the third person in the marriage, she needed to rehabilitate her image.

COOPER: You and your brother both directly asked your dad not to marry Camila.

PRINCE HARRY: Yes.

COOPER: Why?

PRINCE HARRY: We didn’t think it was necessary. We thought that it was going to cause more harm than good. And that if
he was now with his person, that surely that’s enough. Why go that far when you don’t necessarily need to.

We wanted him to be happy and we saw how happy he was with her. So at the time it was okay.

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COOPER: You wrote that she started a campaign in the British press to pave the way for a marriage and you wrote, “I even
wanted Camila to be happy, maybe she’d be less dangerous if she was happy.” How was she dangerous?

PRINCE HARRY: Because of the need for her to rehabilitate her image.

COOPER: That made her dangerous. PRINCE HARRY: That made her dangerous because of the connections that she was
forging within the British press, and there was open willingness on both sides to trade information and with a family built on
hierarchy and with her on the way to being Queen Consort, there was going to be people or bodies left in the street because of
that.

COOPER (voice over): Harry says over the years, he was one of those bodies. He accuses Camila and even his father at times
of using him or William to get better tabloid coverage for themselves.

Prince Harry writes Camila, “... sacrificed me on her personal PR altar.”

PRINCE HARRY: If you are led to believe as a member of the family that being on the front page, having positive headlines,
positive stories written about you is going to improve your reputation or increase the chances of you being accepted as
monarch by the British public, then that’s what you’re going to do.

COOPER (voice over): In his book, Harry writes that when he introduced Meghan Markle to his family in 2016, his father
initially took a liking to her. But William was skeptical, disdainfully referring to Meghan as an American actress, though
Harry doesn’t specify who, he says other members of the Royal family were uneasy as well.

PRINCE HARRY: Right from the beginning before he even got a chance to get to know, and the UK press jumped on that
and here we are.

[20:30:10]

COOPER (on-camera): And what was that based on, that mistrust?

PRINCE HARRY: The fact that she was American, an actress, divorced, black, biracial for the black mother. Those were just
four of the typical stereotypes that is becomes a feeding frenzy for the British press.

COOPER (on-camera): But all those things within the family also were sources of mistrust.

PRINCE HARRY: Yes, you know, my family read the tabloids. You know, it’s laid out at breakfast when everyone comes
together. So, whether you walk around saying you believe it or not, it’s still leaving an imprint in your mind. So, if you have
that judgment based on a stereotype right at the beginning, it’s very, very hard to get over that. And a large part of it for the
family, but also the British press and numerous other people, was like, he’s changed. She must be a witch. He’s changed. As
opposed to, yes, I did change and I’m really glad I changed, because rather than getting drunk, falling out of clubs, taking
drugs, I had now found the love of my life and I now have the opportunity to start a family with her.

COOPER (voice-over): Soon after their relationship became public, harry insisted on putting out a statement condemning
some of the tabloid coverage of Meghan and what he called, quote, the racial undertones of comment pieces. (on-camera):
You write that your dad and your brother William were furious with you for doing that. Why?

PRINCE HARRY: They felt as though it made them look bad. They felt as though they didn’t have a chance or weren’t able
to do that for their partners. What Meghan had to go through was similar in some part to what Kate and what Camilla went
through. Very different circumstances. But then you add in the race element, which was what the British press jumped on
straight away. I went into this incredibly naive I had no idea the British press was so bigoted. Hell, I was probably bigoted
before the relationship with Meghan.

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COOPER (on-camera): You think you were bigoted before the relationship with Meghan?

PRINCE HARRY: I don’t know. Put it this way, I didn’t see what I now see.

COOPER (voice-over): They were married in May 2018 in a ceremony that seemed to promise a more modern and inclusive
royal family and given the titles Duke and Duchess of Sussex. Behind the scenes, according to Harry, William’s mistrust of
Meghan only worsened.

(on-camera): Did you ever try to meet with William and Kate to defuse the tension?

PRINCE HARRY: Yes.

COOPER (on-camera): How did that meeting go?

PRINCE HARRY: Not particularly well.

COOPER (voice-over): In early 2019, Harry writes, the rancor between William and him exploded at Harry’s cottage on the
grounds of Kensington Palace.

(on-camera): Your arguments with your brother became physical.

PRINCE HARRY: It was a buildup of frustration, I think, on his part. It was at a time where he was being told certain things
by people within his office. And at the same time, he was consuming a lot of the tabloid press, a lot of the stories, and he had
a few issues which were based not on reality. And I was defending my wife, and he was coming for my wife. She wasn’t
there at the time, but through the things that he was saying, I was defending myself and we moved from one room into the
kitchen and his frustrations were growing and growing, and growing. He was shouting at me. I was shouting back at him. It
wasn’t nice. It wasn’t pleasant at all. And he snapped and he pushed me to the floor.

COOPER (on-camera): He knocked you over?

PRINCE HARRY: He knocked me over. I landed on the dog bowl.

COOPER (on-camera): You cut your back? PRINCE HARRY: Yes, I cut my back. I didn’t know about it at the time. But
yes, he apologized afterwards. It was a pretty nasty experience, but --

COOPER (on-camera): He asked you not to tell anybody? Not to tell Meghan?

PRINCE HARRY: Yes. And I wouldn’t have done. I didn’t until she saw on my back, she goes, what’s that? I was like,
what? Actually, didn’t know what she was talking about. I looked in the mirror, I was like, because I hadn’t seen it.

COOPER (voice-over): Meghan has said constant criticism and pressure led her in the winter of 2019 to contemplate suicide.

PRINCE HARRY: The thing that’s terrified me the most is history repeating itself.

COOPER (on-camera): You really feared that your wife Meghan?

PRINCE HARRY: Yes, I feared. I feared a lot that the end result, the fact that I lost my mum when I was twelve years old
could easily happen against my wife.

COOPER (voice-over): In January 2020, Prince Harry and Meghan announced they intended to, in their words, step back as
senior members of the royal family. They moved to California three months later. Then there was the headline grabbing
interview with Oprah Winfrey and a deal with Netflix worth a reported hundred million dollars. Critics say the Duke and
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Duchess are cashing in on their royal titles while they still can.

[20:35:01]

(on-camera): Why not renounce your titles as Duke and Duchess?

PRINCE HARRY: And what difference would that make?

COOPER (on-camera): One of the criticisms that you’ve received, is that, OK, fine, you want to move to California, you
want to step back from the institutional role. Why be so public? Why reveal conversations you’ve had with your father or
with your brother? You say you try to do this privately.

PRINCE HARRY: And every single time I’ve tried to do it privately, there have been briefings and leakings and planting of
stories against me and my wife. You know, the family motto is, never complained, never explain. But it’s just a motto, and it
doesn’t really hold.

COOPER (on-camera): There’s a lot of complaining and a lot of explaining?

PRINCE HARRY: Yes.

COOPER (on-camera): And private being done in through leaks.

PRINCE HARRY: Through leaks.

COOPER (voice-over): Prince Harry continues to claim he would never leak against his family.

PRINCE HARRY: So now trying to speak a language that perhaps they understand, I will sit here and speak truth to you with
the words that come out of my mouth, rather than using someone else, an unnamed source, to feed in lies or a narrative to a
tabloid media that literally radicalizes its readers to then potentially cause harm to my family, my wife, my kids.

COOPER (voice-over): Last month, the British tabloid The Sun published a vicious column about Meghan written by a TV
host.

(on-camera): He said, I hate her at night. I’m unable to sleep as I lie there grinding my teeth and dreaming of the day where
she is made to walk naked through the streets of every town in Britain while the crowds chant shame and throw lumps of
excrement at her. Did that surprise you?

PRINCE HARRY: Did it surprise me? No. Is it shocking? Yes. I mean, thank you for proving our point.

COOPER (on-camera): Has there been any response from the palace?

PRINCE HARRY: No. That comes a point when silence is betrayal.

(END VIDEOTAPE)

COOPER: A lot to talk about. I’m joined now by Max Foster, Kate Williams, Bonnie Greer. There’s a lot of issues there to
talk about the issue of Camilla, which is probably one of the big allegations made in this book.

But Bonnie, I also want to bring up something that wasn’t in the included in the 60 Minutes interview, though. Though it
took part in the interview. It was played on CBS Mornings this morning. I asked Harry about a comment that Meghan, the
Duchess of Sussex, had made to Oprah Winfrey in that headline making interview when they first came to the United States
before the Netflix show. And she had said that a member of the family, of Harry’s family had expressed concerns. There have
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been conversations about the potential skin color of their first child. I want to play they didn’t go any further in that
interview, Oprah oppressed them, they didn’t go any further. It became a huge story. I want to play -- I asked Harry about it.

(BEGIN VIDEO CLIP)

COOPER (on-camera): In your interview with Oprah, probably one of the most explosive claims came from Meghan, which
was that a member of the Royal family wondered how dark your child skin would be. That wasn’t brought up in Netflix or in
the book. Why?

PRINCE HARRY: The way the British press reacted to that was fairly typical. There was like a hunt for the raw racist.
Neither of us believe that comment or that experience or that opinion was based in racism, unconscious bias, yes. But I think
that you speak to the majority, maybe not all, but the majority of mixed-race couples around the world that the white side of
the family would wonder whether talking openly about it or amongst themselves, what the kids are going to look like. The
key word here was concern as opposed to curiosity. But the way that the British press, what they turned it into was not what it
was.

COOPER (on-camera): But you stand by that happened, but you just didn’t feel the need to.

PRINCE HARRY: Yes, but what else did I say at the end of within that Oprah interview?

COOPER (on-camera): That you would not discuss it further.

PRINCE HARRY: OK.

(END VIDEO CLIP)

COOPER: Bonnie, I wonder you made of how he framed that? Because obviously it was got a huge publicity at the time and
there was no mention of it in ethics, no mention of it in his book.

BONNIE GREER, FMR DEPUTY CHAIR, BRITISH MUSUEM: Well, you know, I saw it. You remember Oprah’s reaction
was something like what? And the whole world stopped, then Meghan looked as she was about to cry. So, you know, we
have to take that as very serious and maybe even deliberate. And then Harry kind of implies that maybe it wasn’t. So, you
know, how do you take this?

The other thing I want to say that I didn’t get a chance to say about spare. Anderson, there’s no way that a person who is
royal one side and high nobility on the other would be surprised about being called a spare. The second son is a norm in
aristocratic of royal circles. Henry the 8th was a second son. His great grandfather was a second son. They were spares. So,
Harry would have known about the spares. He would have gone to school with a bunch of spares.

[20:40:15]

The issue is, I think, that there was no space for this man to be who he is in this particular family. I mean and that’s the crisis.
And we can see that when he’s walking behind his mother’s coffin on that day. That is a crisis. And it’s a crisis not just for
Harry. It’s a crisis for the British people. They have to make some decisions about this family, because I’ve frankly, I’ve
lived here a long time, half my life, and every decade, there’s something about the royal family that’s going on every decade.
And I think the British people are going to have to make a decision about this, because the head of the family is the
constitutional head of state. His eldest is the constitutional, and his eldest is constitutional. Everybody else is despair.

COOPER: Yes.

GREER: So, you know, we need to actually this has to be in the hands of the British people to actually understand what’s
going on here and deal with it, because this can’t keep going on.
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COOPER: Max, you know, you hear Prince Harry talking about his relationship with the Queen Consort, Camilla. I mean
that’s really some of in the book, some of his toughest perspective is about her.

MAX FOSTER, CNN ROYAL CORRESPONDENT: Yes. And for me, that was seismic. You know, actually, it’s interesting
through that story and, you know, part of the interview, how he lets off Charles quite lightly there, and he has done, actually,
throughout the whole of this book. The reality is, over the last 20 years or so, Charles has driven this effort to rehabilitate
Camilla’s image. And Harry, in that interview in the book, is literally blowtorching that saying that she’s dangerous and she
was leaking stories, and that was undermining other members of the royal family. But Charles was part of that as well, has
been part of that. There’s no way she could have gone through that process of working with the media, which (INAUDIBLE)
--

COOPER: And I should point out, Harry does hinted that -- does talk about that, his perspective on it in the book. There’s
more detail of it in the book. He talks about one particular incident when Harry was actually in high school and there were all
these stories about alleged drug use. Harry was, I believe, smoking pot, he says, but many of the details were, he says, were
not true that were being reported. And he believes a decision was made by the spin doctors that were employed by his father
and by Camilla, essentially, to, if not greenlight those stories, not try to squash them or count or in some way try to minimize
them because they were convinced or told by their spin doctor that those stories would make Prince Charles look better. He
would suddenly go from being the villain in the story who had been terrible to his former wife, to being the beleaguered dad
with a drug adult son.

FOSTER: Yes. I mean, reality is they do protect the more senior members of the family. Not necessarily a campaign against
the junior members of the family, but I mean the crying incident. You know, this has gone into folklore, you know, who
made who cry? Meghan or Kate over the bridesmaid dress just before the wedding. I mean it’s quite defining. I mean, none
of us know who made who cry. The story got in the papers was that Meghan made Kate cry and Meghan and Harry are really
precious about this, saying it wasn’t that way around, it was the other way around. But the palace wouldn’t address that
because it would be a more negative story for Kate to make Meghan cry. And that’s the sort of thing that really frustrates
Harry and Meghan.

But, you know, my experience was that whenever I worked with William’s side of the palace, they would often, you know,
and hey were working with the Sussexes as well. They were constantly talking about, you know, the racism and the sexism in
the British tabloid media, and they were trying to stick up for them. But, you know, I didn’t, I was a party to the
conversations between behind palace walls, and clearly Harry had the inside track, and he felt that it was always working
against him and Meghan.

COOPER: Yes. Everyone stick around. More of my interview with Prince Harry when we come back, including what
happened when he learned his grandmother, Queen Elizabeth, was near death. (BEGIN VIDEO CLIP)

PRINCE HARRY: I asked my brother, I said, what are your plans? How are you and Kate getting up there? And then a
couple of hours later, you know, all of the family members that live within the Windsor and Ascot area were jumping on a
plane together. A plane with 12, 14, maybe 16 seats.

COOPER (on-camera): You were not invited on that plane?

PRINCE HARRY: I was not invited.

(END VIDEO CLIP)

(COMMERCIAL BREAK)

[20:48:45]

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COOPER: More now of my interview with Prince Harry that first aired last night on CBS’s 60 Minutes. We pick up the
conversation with the death of the Queen. And once again, Harry finds himself with his brother, this time behind his
grandmother’s casket.

(BEGIN VIDEOTAPE)

COOPER (voice-over): Harry has been back in the United Kingdom. He was in London last September for a charity event
when the palace announced his grandmother, the Queen, was under medical supervision at Balmoral Castle in Scotland.

PRINCE HARRY: I asked my brother, I said, what are your plans? How are you and Kate getting up there? And then a
couple of hours later, you know, all of the family members that live within the Windsor and Ascot area were jumping on a
plane together. A plane with 12, 14, maybe 16 seats.

COOPER (on-camera): You were not invited on that plane?

PRINCE HARRY: I was not invited.

COOPER (voice-over): By the time Harry got to Balmoral on his own, the Queen was dead.

PRINCE HARRY: I walked into the hall and my aunt was there to greet me. And she asked me if I wanted to see her. I
thought about it for about 5 seconds, thinking, is this a good idea? And I was like, you know what, you can do this. You need
to say goodbye. So, I went upstairs, took my jacket off and walked in and just spent some time with her alone.

COOPER (on-camera): Where was she?

PRINCE HARRY: She was in her bedroom. I was really happy for her because she’d finished life, she’d completed life, and
her husband was waiting for her. And the two of them were buried together.

[20:50:09]

COOPER (on-camera): As they had 25 years earlier, Harry and William found themselves walking together, but apart this
time behind their grandmother’s casket.

(on-camera): Do you speak to William now? Do you text?

PRINCE HARRY: Currently, no. But I look forward to us being able to find peace.

COOPER (on-camera): How long has it been since you spoke?

PRINCE HARRY: A while.

COOPER (on-camera): Do you speak to your dad?

PRINCE HARRY: We haven’t spoken for quite a while. No, not recently.

COOPER (on-camera): Can you see a day when you would return as a full- time member of the royal family?

PRINCE HARRY: No. I can’t see that happening.

COOPER (on-camera): In the book, you call this a full-scale rupture. Can it be healed?

PRINCE HARRY: Yes. The board is very much in their call. But, you know, Meghan and I have continued to say that we
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will openly apologize for anything that we did wrong. But every time we ask that question, no one’s telling us the specifics or
anything. There needs to be a constructive conversation, one that can happen in private, that doesn’t get late.

COOPER (on-camera): I assume they would say, well, how can we trust you? How do we know that you’re not going to
reveal whatever conversations we have in an interview somewhere?

PRINCE HARRY: This all started with them briefing daily against my wife, with lies to the point of where my wife and I had
to run away from my country.

COOPER (on-camera): It’s hard, I think, for anybody to imagine a family dynamic that is so Game of Thrones without
dragons.

PRINCE HARRY: I don’t watch Game of Thrones, but there’s definitely dragons. And that’s, again, the third party, which is
the British press. So ultimately, without the British press as part of this, we would probably still be a fairly dysfunctional
family, like a lot all. But at the heart of it, there is a family, without question. And I really look forward to having that family
element back. I look forward to having a relationship with my brother. I look forward to having a relationship with my father
and other members of my family.

COOPER (on-camera): You want that?

PRINCE HARRY: That’s all I’ve ever asked for. (END VIDEOTAPE)

COOPER: The 60 Minutes reached out to Buckingham Palace for comment about this interview. Its representatives
demanded that before even considering responding, 60 Minutes provide them with a report prior to airing it last night, which
is something the broadcast never does.

Back now with Max, Kate and Bonnie. So, Kate, I mean obviously the royal family would like to avoid a public tit for tat
with Prince Harry. They have not responded, I assume they probably won’t, given that this is probably the worst in terms of
the attention, the amount of coverage and revelations to come. What happens now?

KATE WILLIAMS, CNN ROYAL HISTORIAN: Anderson, they’ve said they’re not going to respond. They’re going to stay
(INAUDIBLE). And it’s interesting, isn’t it, because Harry was saying that never explain, never complain was just tomato.
As you were saying, there’s an awful lot of complaining and explaining behind the scenes. So, they aren’t going to say
anything officially, but we’ve already had sources briefing the newspaper that they’re devastated, that William is angry that
there won’t be a role for Harry in the coronation.

So, there are sources who Harry, of course, would say comes from Buckingham Palace itself. These sources are anonymous
sources are briefing. At the moment, it looks very much as if there can’t be a reconciliation. There is a big distance between
them. Harry said we haven’t spoken for a while. He said there are dragons in the family. The press he said that actually also
that the press wanted them to stay apart. They’d be terrified by a peace between them. So there seems to be this huge
investment in keeping them apart and Harry sees that, you know, about to continue.

So, I don’t see a happy family reconciliation anytime soon, but I certainly think that Harry feels that he’s been damaged so
much already, that this is not burning bridges, it’s honesty, and he’s telling his truth.

COOPER: Bonnie, what do you think happens now?

GREER: Well, this is the story of a human being caught in a machine. The royal family, as Kate and Max have implied and
said, is a machine and it’s grinding along and Harry has said, halt. So, it’s halted, but it’s going to still try to struggle. If
there’s a coronation in May, that’s going to be fascinating. But Harry is telling a story that has to be told. His mother started
it, he’s going to finish it. So, in that sense, spare at your interview with him is very, very important because we’re getting a
look at the vicious, nasty tabloids which Americans we don’t have an equivalent of that anywhere in the United States. There
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is no equivalent. So, he’s right about how Meghan was labeled, which was appalling.

So, this guy is stopping the machine. I hope he does. I hope the British people in this great country also began to look at this
machine, because it’s not doing, I don’t think it’s doing the country any good, even though my taxi driver said he wanted the
royal family to stay because of continuity. [20:55:14]

COOPER: Max, I mean, it’s interesting, you know, the palace is not responding publicly, and yet they are briefing, as Kate
said, I assume privately, and offering up people who will say things that they want to be said.

FOSTER: I haven’t had that. There’s been a bit of it in the papers. I’m not sure where it’s coming from. I think a very clear
decision not to say anything here, (INAUDIBLE) get it all out, or perhaps to rise above it. I don’t really know. I’m a bit more
hopeful than the other two, only because things are so bad, they can’t get any worse. I mean, he’s broken the cardinal rule
wash, you know, he’s -- the really private moments he’s exposed, you know, at moments at Philip’s funeral, at the Queen’s
funeral. You would not talk about this as part of the family. He feels he has to do that. It’s so bad. I think he only get better.

So, in future they might look at this and say, well, let, you know, it’s all out there now. We might as well try to fix things. I
don’t think it’s going to happen anytime soon, but I’m quite hopeful, you know, it can only get better, frankly.

COOPER: Yes. And he has said that the ball is in their court. There need to be conversations, but that from his concern. He
says that the original offer is still on the table of a partial role for him. He doesn’t see a full-time role, but he would like to see
a partial role. Obviously that there needs to be a lot of conversations before that.

GREER: Charles needs to be the king and actually take his fund offer up. If he wants to change his institution, that’s what he
needs to do.

COOPER: Bonnie Greer, Max Foster, Kate Williams, I appreciate all you being with us. Thank you so much.

We turn back to U.S. politics and our breaking news tonight. President Biden now with his own classified documents
controversy and the Justice Department investigating. Details next.

(COMMERCIAL BREAK)

[Byline: Anderson Cooper, Max Foster, Kate Williams] [Guest: Prince Harry, Bonnie Greer] [High: Prince Harry on the
death of his mother, Princess Diana: After that, nothing was okay for a long time. Anderson Cooper talk about his latest
interview with Prince Harry on “60 Minutes,” in which he details dealing with the loss of his mother, Princess Diana.
Britain’s Prince Harry has launched a series of incendiary accusations against members of his family in his new memoir,
which reveals a number of private confrontations between him and other senior royals and details his split from the family.
CNN has obtained a copy of the book called “Spare,” a reference to the Duke of Sussex’s role as the monarchy’s “spare
heir.”] [Spec: Royalty; Prince Harry; Meghan Markle; King Charles II; Camilla; Prince William; Princess Kate; Queen
Elizabeth II; Royal Family; United Kingdom; Family; Media; Race; Racism; Policies; Tabloid]

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legal transcript for purposes of litigation.] [End-Story: One-On-One With Prince Harry; Buckingham Palace Has Repeatedly
Decline To Comment On The Contents Of Prince Harry’s Memoir. Aired 8-9p ET]


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One-On-One With Prince Harry; Buckingham Palace Has..., 2023 WLNR 971995



---- Index References ----

Company: THE BRITISH MUSEUM FRIENDS; CABLE NEWS NETWORK LP, LLLP; VIQ MEDIA TRANSCRIPTION
INC.; BRITISH ARMY TRAINING UNIT KENYA; APA CORPORATION

News Subject: (Family Social Issues (1FA81); Minority & Ethnic Groups (1MI43); Race Relations (1RA49); Social Issues
(1SO05))

Industry: (Celebrities (1CE65); Entertainment (1EN08))

Region: (Europe (1EU83); United Kingdom (1UN38); Western Europe (1WE41))

Language: EN

Other Indexing: (Metropolitan Police; Buckingham Palace; CNN PENTAGON; CBS; Justice Department; British Museum;
Cable News Network LP, LLLP; VIQ Media Transcription, Inc.; British Army; Apache) (Prince Harry)

Word Count: 9479
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POOR PRINCE A TRAUMA QUEEN Duke of Sussex in..., 2023 WLNR 8156964




                                                    3/5/23 N.Y. Post 7
                                                   2023 WLNR 8156964

                                                    New York Post
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                                                       March 5, 2023

                                                        Section: News

                POOR PRINCE A TRAUMA QUEEN Duke of Sussex in denial on his victim complex

                                                    KIRSTEN FLEMING

Prince Harry has made the most shocking claim since he’s left royal life.

”I certainly don’t see myself as a victim,” he told Gabor Mate, the renowned Hungarian-Canadian physician and author in an
online therapy session to plug his cringey memoir, “Spare.”

It’s a rather hollow sentiment considering the royal has spent his last three years claiming the “poor me” title of Duke of
Roadkill from the House of Windsor.

In a multimedia effort, he’s chronicled every sin committed against him by his cold, distant, racist family — and of course,
the media.

But now, Harry, who clearly read every scathing review from all corners of the press, is reframing his tawdry tell-alls.

He called his perpetual oversharing an “act of service,” attaching virtue and charity to systematically and publicly tossing his
family under the bus.

In this, Harry’s latest journey into his well-tread mental inner sanctum, the price of entry was a cool $37.15. Viewers
received an hour and a half of psychobabble buzzwords discernible only to people who use the phrase “lived experience.”

At times, it seemed I was watching a fierce competition between two grown men to see who could employ the word “trauma”
more.

Yes, it was a trauma-palooza.

First, the good doctor noted that Harry suffered from not being cuddled and hugged as a child. As a result, Harry said, he
“smothers” his kids with love.

Harry said he’s always felt different from his family and was not interested in erudite pursuits. He thrived on the rugby field
and in wilderness. And he said the military was a good place for him because the armed forces “tends to recruit people from
broken homes.”


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POOR PRINCE A TRAUMA QUEEN Duke of Sussex in..., 2023 WLNR 8156964



They talked about drugs: Harry dabbled in cocaine. He said marijuana helped him, and ayahuasca assisted in clearing the
“windshield.”

But this wasn’t all an empty, exploitative exercise.

Mate unwittingly opened a fascinating window into Prince Harry’s mind when he offered him numerous mental health
diagnoses. These clinical assessments were based off the doc’s reading of “Spare.”

Instantly, Harry lit up at the prospect of piling more onto his stack of issues to be worked out in therapy, his favorite sport.

Mate said Harry has ADD. And fittingly as the conversation starts to meander into other areas (as ADD will make you do),
Harry kept interrupting. He wanted Mate to finish the list, giggling like a child at Christmas.

Mate noted that Harry has depression, agoraphobia, anxiety and post-traumatic stress injury. Not post-traumatic stress
disorder. Language matters.

Whatever words you want to use, there’s one clear conclusion: Prince Harry is addicted to trauma, whether real or imagined.

He and his wife Meghan Markle quite literally live in a house that trauma built — a $14.7 million Montecito retreat — paid
for by trading on his family turmoil and his childhood tragedies.

There is a point where Harry and Mate discuss how acknowledging trauma helps trigger the process of healing.

But it’s clear that Prince Harry doesn’t want to move on or close old wounds.

Being injured and aggrieved is the ginger prince’s most comfortable place and sadly, what he views as his most valuable
resource.

Yes, the “T” word to him is like a warm bed on a cold, rainy morning.

And he’s not moving.


---- Index References ----


News Subject: (Minority & Ethnic Groups (1MI43); Race Relations (1RA49); Social Issues (1SO05))

Industry: (Healthcare (1HE06); Healthcare Practice Specialties (1HE49); Healthcare Services (1HE13); Psychiatric Disorders
& Conditions (1PS79); Psychiatric Services (1PS61); Psychiatry (1PS63); Psychology (1PS96))


Language: EN

Other Indexing: (Duke of)

Edition: All Editions

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POOR PRINCE A TRAUMA QUEEN Duke of Sussex in..., 2023 WLNR 8156964




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Prince Andrew is left ‘furious’ after finding out the King might..., 2023 WLNR 8427439




                                 3/8/23 Daily Mail Online (U.K.) (Pg. Unavail. Online)
                                               2023 WLNR 8427439

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                                                       March 8, 2023


 Prince Andrew is left ‘furious’ after finding out the King might ban him from wearing lavish velvet Knight of the
                                          Garter robes at Charles’s coronation

                                              Chris Matthews For Mailonline

Prince Andrew is ‘furious’ after he found out he might be banned from wearing ceremonial robes at King Charles’
coronation.The disgraced Duke of York could be banned from donning a set of velvet robes adorned with intricate royal
details that signify his position as a Knight of the Garter.The King is reportedly deciding whether to let his brother wear the
robes after Andrew stepped back from royal duties because of a sex abuse scandal.The Prince paid a reported £12million in
an out-of-court settlement with his accuser Virginia Giuffre while emphatically denying her claims that he had sexually
assaulted her when she was 17.He was previously banned from wearing the traditional robes at Queen Elizabeth’s final
appearance at the Garter Day procession in Windsor.King Charles III’s coronation on May 6 will be a ‘Collar Day’, meaning
Knights of the Garter can wear the robes denoting their status as members of the highest British Order of Chivalry.As a result
of Prince Andrew’s scandal, the King may force him to wear a lounge suit.A source told The Mirror Andrew was ‘left
completely in the dark’ over his dress for the coronation even though others have been told the specifics and is ‘furious’ that
he could be banned from wearing the robes.Buckingham Palace declined to comment when contacted by MailOnline. Charles
ascended to the throne immediately following the death of Her Majesty, but his coronation will not be until May 6 this
year.Camilla, the Queen Consort, will also be crowned at the same time during the historic event. The royal coronation
ceremony, in particular, is an event that dates back over a thousand years and is set to take place inside Westminster Abbey,
with Charles opting for a slimmed down occasion and a guest list of only around 2,000 people.He will be the 40th reigning
monarch to be crowned in the Abbey. Charles will be 74 at the time of the ceremony, the oldest new monarch ever
crowned.The guest size is much smaller compared to Queen Elizabeth’s coronation in 1953, where more that 7,000 people
packed into Westminster Abbey.In January, Buckingham Palace announced details for King Charles III’s version of the
tradition, which will be followed by two more days of celebration and will include a concert at Windsor Castle and
community-building events.But what does the coronation mean for the public, when exactly is it, and will Prince Andrew be
there? And what about Prince Harry and Meghan - will they make an appearance following the Duke’s fallout with the Royal
Family?The Coronation will take place on Saturday, May 6, at Westminster Abbey.It will be a bank holiday weekend,
allowing Britons to celebrate on Monday, May 8 as well.The Queen’s Coronation took place nearly 70 years before, on June
2, 1953, but she actually became monarch in February the previous year, following the death of her father George VI.The
coronation itself will be televised. The Archbishop of Canterbury will conduct the ‘solemn religious service’ of King Charles
and Queen Consort Camilla’s coronation, which will take place in the morning and will be televised by the BBC. However,
specific details of when and where will be available closer to the big day. A worldwide audience of hundreds of millions is
expected to watch. Queen Elizabeth’s coronation in 1953 was the first coronation to ever be aired on TV and sparked an
explosion in ownership of televisions around Britain.Around 27 million people watched the ceremony, with a further 11
million listening on the radio.It has not yet been confirmed what time the King’s Coronation will take place. However, Queen
Elizabeth II’s ceremony began at 11.15am and lasted nearly three hours.However, the Mail on Sunday previously revealed

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Prince Andrew is left ‘furious’ after finding out the King might..., 2023 WLNR 8427439



that the service will last for just over an hour.Though they’ve stepped down as senior members of the Royal Family, Harry
and Meghan are still both technically royal and family to King Charles.They have confirmed they have been invited to the
King’s Coronation – but have refused to say whether they will be attending.The Mail understands that Harry and Meghan’s
former UK home, Frogmore Cottage in Windsor – which the King is said to have taken from them – will be available for
them to stay in should they fly to England to attend. Harry received an email from the Palace about the event, their
spokesman said, despite the fallouts with the Royal Family and his ‘trauma chat’ on Saturday.The Duke of Sussex sat down
for an intimate chat with controversial ‘trauma therapist’ Gabor Maté over the weekend and poured his heart out about topics
ranging from his ‘positive’ experience of psychedelic drugs to how wife Meghan Markle ‘saved’ him. The conversation
heaped more misery on his dad King Charles with a series of shocking admissions which included him claiming that
speaking about his trauma over his mum Diana’s death was an act of service to the world.This comes following the release of
Harry’s book Spare and the bombshell Netflix docuseries the royal couple starred in a few months ago.So, while there is a rift
between Harry and the rest of the Royal Family members, only time will tell whether the couple will fly across the pond for
the monumental day.Charles will be crowned alongside Camilla, the Queen Consort.The occasion is expected to be a smaller
affair than the late Queen’s ceremony.A Buckingham Palace statement said in October: ‘The coronation will reflect the
monarch’s role today and look towards the future, while being rooted in longstanding traditions and pageantry.’It added: ‘The
coronation is a solemn religious service, together with an occasion for celebration and pageantry.’The ceremony has retained
a similar structure for over a thousand years, and this year’s coronation is expected to include the same core elements while
recognising the spirit of our times.’For the last 900 years, the ceremony has taken place at Westminster Abbey, London.
Since 1066, the service has almost always been conducted by the Archbishop of Canterbury.’The guest list may also be
slashed from 8,000 to 2,000 and discussions have been held about having a more relaxed dress code.The King is also set to
ditch the various outfit changes that his mother had to make.Whilst some lengthy traditions that featured in 1953 are set to be
axed, the highly sacred moment of the anointing of the monarch will be retained.A canopy of golden cloth will be held over
Charles’ head during the anointing, so that no one else can see.Charles will swear to be the ‘defender of the faith’, not
‘defender of faith’ - a change that was previously speculated.The King will sit in the Coronation Chair, which dates from the
start of the 14th century.After being anointed, Charles will have the crown of St Edward placed on his head, officially
crowning him as King Charles III.The 1762 Gold State Coach, which was refurbished at great expense for the Queen’s
Platinum Jubilee, will also be part of the Coronation procession.Prince William will also take on new titles at the Coronation,
including being formally named as the Prince of Wales.The King has personally chosen the music for the ceremony, which
will feature 12 newly-commissioned pieces, including an anthem from Cats composer Andrew Lloyd Webber. Part of the
service will be sung in Welsh, and soloists will include world-famous Welsh opera singer Sir Bryn Terfel. There will be
Greek Orthodox music in memory of the King’s father, Prince Philip, who was born in Greece. A gospel choir will also
perform, as will choristers from Westminster School.After the service at Westminster Abbey, the King may head to
Buckingham Palace to stand on the balcony with senior members of his family.The Bank Holiday weekend means that most
Britons will be able to celebrate the crowning of the King for two further days until they go back to work on
Tuesday.Coronation Big Lunches, thousands of street parties, and The Big Help Out will bring communities together over the
special Bank Holiday Coronation weekend.It should be noted that Street parties and coronation events require a road closure,
so it is important to check with your local council or borough on how you can organise one. Big Lunches take place across
the UK annually and last year they raised more than £22 million for local charities. Here is what is planed for each day:

Prince Andrew left ‘furious’ after he found out of potential ban from royal robesDuke of York could be banned from donning
a set of velvet robes at coronation
 Here is everything you need to know:
When is the Coronation?
Will the Coronation be on television?
What time will the coronation start?
Will Harry and Meghan be at the Coronation?
What will actually happen at the Coronation?
What do we know about the music?
What will happen after the Coronation and will there be street parties?
Saturday 6th May 2023 - The Coronation Service at Westminster AbbeySunday 7th May 2023 - The Coronation Concert at
Windsor CastleSunday 7th May 2023 - The Coronation Big LunchMonday 8th May 2023 - The Big Help Out
 What Crown will the king wear?
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Prince Andrew is left ‘furious’ after finding out the King might..., 2023 WLNR 8427439



King Charles will wear St Edward’s Crown, which was made in 1661 for the coronation of King Charles II.

It is made of solid gold and features more than 400 gemstones, including six sapphires, and 12 rubies. It weighs nearly 5lbs
(2.23kg).

St Edward’s Crown is a replacement for the original that was among the Crown Jewels that were melted down and sold off
when the monarchy was abolished in 1649.
 Why was May 6 chosen?
Reportedly, King Charles wanted his Coronation to be held around the same date as his mother’s 1953 coronation, which
took place on Tuesday 2nd June.

Instead, 6th May was reportedly chosen in consultation with the government, the Church of England and the Royal
Household.


---- Index References ----

Company: Church of England-Equity

News Subject: (Health & Family (1HE30))

Industry: (Celebrities (1CE65); Entertainment (1EN08); Music (1MU57); Music Concert (1MU45))

Region: (Europe (1EU83); United Kingdom (1UN38); Western Europe (1WE41))

Language: EN

Other Indexing: (Royal Household; Westminster School.After; Church of England) (Prince Andrew; Knight; King Charles’)

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Prince Harry admits in his memoirs that he started using..., 2023 WLNR 498959




                             1/5/23 NOTICIASFINANCIERAS - ENG. (Pg. Unavail. Online)
                                              2023 WLNR 498959

                                             NoticiasFinancieras - English
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                                                     January 5, 2023


                    Prince Harry admits in his memoirs that he started using cocaine at 17 years old

Prince Harry publishes next week his memoirs, which threaten a new series of revelations about the royal’s life, after the
documentary produced with Netflix with his wife, Meghan Markle. One of the details that Harry of England expands on in
the book is the use of drugs, which he had once admitted without giving excessive details.

In his memoirs, Harry assures that he tried cocaine for the first time at the age of 17, according to an excerpt advanced by
Sky News television.

”Of course I used cocaine at that time. At someone’s house, during a hunting weekend, I was offered a stripe and since then I
have consumed more times,” assures the member of the British royalty in his new book.

”It wasn’t much fun, and it didn’t make me feel happy as it seemed to provoke others, but it made me feel different and that
was my goal,” he goes on to relate. “To feel. To be different. I was a 17-year-old kid trying to do anything that upset the
preset order. At least that’s what I was trying to convince myself of,” Harry elaborates.


---- Index References ----



Industry: (Book Publishing (1BO18); Books (1BO26); Entertainment (1EN08); Publishing (1PU26); TV (1TV19); TV
Programming (1TV26); Traditional Media (1TR30))


Language: EN

Other Indexing: (Sky News) (Prince Harry)

Keywords: (Gente); (Drogas); (Reino Unido)

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Prince Harry admits in his memoirs that he started using..., 2023 WLNR 498959




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Prince Harry at risk of losing his visa for drug use




                                     3/8/23 CE Latin Am. Migr. Newswire 00:00:00

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                                                        March 8, 2023


                                    Prince Harry at risk of losing his visa for drug use

                                                             SUN.

Prince Harry , in his need to talk about his mental health, confessed that he used psychedelic and other drugs , such as
marijuana and cocaine , during a talk that was broadcast live with controversial physician Gabor Mate for the program “The
Myth of Normal: Trauma, Illness, and Healing in a Toxic Culture.”

”I started doing it recreationally and then realized how good it was for me,” recounted Henry, Duke of Sussex.

 READ: Rauw Alexander dislocates his shoulder during his concert and is taken to the hospital (VIDEO)
However, these statements that caused astonishment to more than one could cause him problems with the U .S. government,
since if the son of Charles III did not mention that in his past he used intoxicants, the authorities could revoke his permission
to live in California .

According to U.S. Citizenship and Immigration Services, visa applicants “who are determined to be drug abusers or addicts
are inadmissible.”

”(Authorities) frown upon drug use by non-U.S. citizens,” Piers Morgan said. “Another compelling reason why we don’t
want them at the King’s coronation, as we could end up keeping them forever,” he added referring to Harry and Meghan.

Australia’s “Sky News” recalled the time in 2014 when chef Nigella Lawson was banned from taking a flight to the United
States after confessing to cocaine use during a trial. Later, her case was subjected to analysis and she was given a pardon after
an appeal.

Harry and Meghan have already received the official invitation to the coronation of King Charles III next May 6 and it was
via email. The couple has not yet decided whether they will attend the royal family event or decline the invitation.

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Company: US Citizenship and Immigration Services; United States of America

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Prince Harry at risk of losing his visa for drug use



News Subject: (Crime (1CR87); Drug Addiction (1DR84); Health & Family (1HE30); Immigration & Naturalization
(1IM88); Smuggling & Illegal Trade (1SM35); Social Issues (1SO05))

Industry: (Healthcare (1HE06); Healthcare Practice Specialties (1HE49); Healthcare Services (1HE13); Psychiatric Services
(1PS61))


Language: EN

Other Indexing: (U.S. Citizenship and Immigration Services; U .S. government) (Prince Harry)

Keywords: (Entretenimiento)

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Prince Harry opens up about drug use, saying marijuana..., 2023 WLNR 8062039




                                  3/5/23 Daily Mail Online (U.K.) (Pg. Unavail. Online)
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                                                         March 5, 2023


  Prince Harry opens up about drug use, saying marijuana ‘really helped’ him but cocaine and alcohol was ‘more
                                    of a social thing’, and psychedelic dr...

                                                        Madeleine Ross

Prince Harry opens up about drug use, saying marijuana ‘really helped’ him but cocaine and alcohol was ‘more of a social
thing’, and psychedelic drug Ayahuasca ‘helped me deal with the traumas and pains of the past’ in Q&A with Gabor Mate

Prince Harry spoke candidly about his recreational use of illegal drugs during a intimate chat with a toxic trauma expert.

Duke of Sussex talked about his recreational drug use during bombshell chat Read more: Prince Harry discusses being
diagnosed with PTSD in interview

The discussion came in a ‘intimate conversation’ about ‘living with loss and personal healing’ between the Duke and Dr
Gabor Mate on Saturday evening.

Tickets to the livestream, which cost £19, included a hardback copy of the Prince’s recent memoir, Spare.

The second son of King Charles said marijuana had ‘really helped’ him but that cocaine and alcohol were more ‘social’.

The timing of the discussion is particularly awkward for the palace, coming just days after it emerged King Charles is
evicting Harry and his wife Meghan Markle from Frogmore Cottage, their grace-and-favour mansion on the Windsor estate.

Trauma expert Dr Gabor Mate spoke of the way people used drugs to deal with problems in their lives before asking Harry’s
about his reasons for using drugs including cocaine and cannabis.

’The first one you mentioned, that didn’t do anything for me, it was more a social thing. It gave me a sense of belonging and
probably also made me feel different to the way I was feeling,’ Harry said.

’Marijuana is different, that actually did really help me.’

The prince said alcohol was also ‘more of a social thing’ and complained about peer pressure around drinking.

Dr Mate, who has faced numerous controversies in the past, denied accusations he had been threatened with arrest by the
Canadian government for using Ayahuasca with his patients.


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Prince Harry opens up about drug use, saying marijuana..., 2023 WLNR 8062039



In 2011, Health Canada threatened to prosecute the trauma expert if he did not stop using the Amazonian plant to treat
addiction.

In the two years before receiving the warning, Dr Mate administered the medicine to between 150 and 200 patients.
 Prince Harry interview LIVE: Follow MailOnline’s coverage
The addiction doctor said during the interview: ‘I was never threatened with arrest.’

He also spoke about the side effect of the drugs, denying that they can include vomiting and hallucinations.

He said: ‘You purge with it sometimes, it’s a good thing.

’It doesn’t give you hallucination - it gives you visions... You think it’s really happening.’

Dr Mate added: ‘I don’t think it’s a panacea for dealing with trauma.’

Harry agreed, describing his own experiences using psychedelics.

He said: ‘It was the cleaning of the windshield, removal of life’s filters.

’It removed it all for me and brought me a sense of relaxation, release, comfort, a lightness that I managed to hold onto for a
period of time

’For me I started doing it recreationally and then started to realise how good it was for me. I would say it is one of the
fundamental parts of my life that changed me and helped me deal with the traumas and the pains of the past.’

Prince Harry admitted taking cocaine as a teenager, smoking weed and trying magic mushrooms in the home of Courtney
Cox in his explosive memoir Spare.

Courtney Cox responded to the claims last week ahead of her induction to the Hollywood Walk of Fame.

She told Variety that the Prince had stayed with her for a ‘couple of days’ and was ‘a really nice person’.

’I haven’t read the book. I do want to hear it, because I’ve heard it’s really entertaining. But yes, it’s gotten back to me about
it.

’I’m not saying there were mushrooms! I definitely wasn’t passing them out,’ the actress said.

Dr Mate has also faced criticism for remarks made in the past and Harry has come under fire for sharing a platform with him.

The doctor has provoked fury due to his history of controversial comments, including comparing Hamas to the Jewish heroes
of the Warsaw Ghetto Uprising against the Nazis.
 Read more: How Prince Harry’s chat with guru who compared Hamas terrorists to Jews who battled the Nazis has
appalled Rabbis
The 79-year-old Hungarian-Canadian Holocaust survivor has also defended Palestinian rocket fire at Israeli civilians and
once branded the Israeli government ‘terrorists’.

The ‘intimate conversation’ comes amid concern from the Sussex camp over the recent revelation that they will be asked to
move out of their Windsor home - which may be handed over to Prince Andrew.

The couple were allegedly given ‘weeks’ to pack up their British home at Frogmore Cottage after Harry’s memoir Spare hit
the shelves in January.

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Prince Harry opens up about drug use, saying marijuana..., 2023 WLNR 8062039



Earlier this week, journalist Omid Scobie claimed that some members of the Royal Family were ‘appalled’ by the decision to
evict Harry and Meghan, with the couple also said to have felt ‘stunned’.

An insider allegedly told him: ‘It all feels very final and like a cruel punishment. It’s like [the family] want to cut them out of
the picture for good.’

But the couple are not as ‘stunned’ about leaving as previous reports have suggested, believing that ‘if we need to move out,
we will get ourselves out’, a source told The Times.

The revelation comes as preparations are taking place for King Charles’ Coronation in May amid speculation that Harry may
not receive an invitation.
 What is ayahuasca?
Ayahuasca, also known as caapi, yaje or yage, is a hallucinogenic drink made from tropical plants found in the Amazon.

The brew is made from the leaves of the Psychotria Viridis shrub along with the stalks of the Banisteriopsis Caapi vine,
though other plants and ingredients can be added.

The drink has been used for spiritual and religious purposes by Amazonian tribes and is still used for rituals in some places in
South America today.

Psychotria Viridis contains DMT, which is a psychedelic substance.

There are several potential benefits to the drug, including improving brain health and psychological wellbeing.

Unpleasant side effects include vomiting, diarrhoea, paranoia and panic and while the effects are usually temporary, they can
be very distressing.

The substance remains illegal in many countries including Australia, Canada and the United Kingdom.

Source: Britannica


---- Index References ----

Company: Health Canada

News Subject: (Alcohol Abuse (1AL63); Crime (1CR87); Drug Addiction (1DR84); Health & Family (1HE30); Smuggling
& Illegal Trade (1SM35); Social Issues (1SO05))

Industry: (Celebrities (1CE65); Entertainment (1EN08))

Region: (Americas (1AM92); Canada (1CA33); North America (1NO39))

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Word Count: 1020
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Prince Harry opens up about drug use, saying marijuana..., 2023 WLNR 8062039




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Prince Harry shares drug that ‘really helped’ him mentally as..., 2023 WLNR 8062163




                                 3/4/23 Daily Star Online (U.K.) (Pg. Unavail. Online)
                                                2023 WLNR 8062163

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                                                       March 4, 2023


               Prince Harry shares drug that ‘really helped’ him mentally as cocaine ‘did nothing’
     Prince Harry revealed the drug that ‘really helped’ during his dark days, but noted another, cocaine, ‘did
                                   nothing’ for him as the Duke of Sussex o...

                                                     By, Ewan Gleadow

Prince Harry revealed the drug that ‘really helped’ during his dark days, but noted another, cocaine, ‘did nothing’ for him as
the Duke of Sussex opens up to Dr Gabor Maté in a Spare-promoting chat

Prince Harry has revealed the drug that “really helped” him mentally, and cast aside cocaine as a drug that “did nothing”.

The Duke of Sussex opened up on his drug use during a live question and answer section with Dr. Gabor Maté, and shared
which drug worked best for him mentally.

Promoting his memoir, Spare, the Duke considered marijuana was the most helpful narcotic that he had applied himself to,
with the paid audience given the details of his drug use.

READ MORE: Prince Harry says ‘I’m not a victim’ as he hopes Spare will ‘help people’

Prince Harry had previously revealed in his autobiography that he had taken several drugs, and claimed marijuana was the
most helpful of all.

Speaking to Dr Maté regarding his cocaine use, the Duke said: “I don’t think that did anything for me. It was more of a social
thing, and I guess trying to get a sense of belonging, for sure.

”I think it also probably made me feel different to the way that I was feeling, which was kind of the point. Marijuana is
different, that actually did help me.”

That point appeared to be “really helpful” with the use of marijuana, a drug use the Duke had revealed in his autobiography
and further confirmed during his chat promoting the book.

It comes just as the Duke of Sussex claimed he was “not a victim” during the talk with Dr Maté.

Daily Star previously reported that Harry had hoped his book would “help people”, noting that his book served as an “act of
service” to readers.


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Prince Harry shares drug that ‘really helped’ him mentally as..., 2023 WLNR 8062163



Dr Maté had noted some were “resentful” toward the Duke, without having read the book.

The Prince replied: “I definitely don’t see myself as a victim’, adding that his experiences and his work with mental health
‘sharing my story will help some people out there.”

It comes during a talk that one expert, Phil Dampier, claimed the Duke had “nothing to lose” during his chat with Dr Maté
following on from the Frogmore Cottage eviction.

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Prince Harry has ‘nothing to lose’ in tell-all talk after Frogmore Cottage eviction Prince Harry says therapy helped him
‘break free’ from his family in live interview Royal expert’s bombshell theory on why King Charles has evicted Prince Harry
and Meghan ‘Bullet magnet’ Prince Harry’s Afghanistan tour was ‘as normal’ as life gets for royal King Charles to break
‘900-year’ coronation rule as guest list gutted to 2,000 people


---- Index References ----


News Subject: (Crime (1CR87); Drug Addiction (1DR84); Health & Family (1HE30); Smuggling & Illegal Trade (1SM35);
Social Issues (1SO05))

Industry: (Celebrities (1CE65); Entertainment (1EN08); Healthcare (1HE06); Healthcare Practice Specialties (1HE49);
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Prince Harry Speaks Truth, 2023 WLNR 2948569




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                                             2023 WLNR 2948569

                                          CBS: 60 Minutes (Sunday general)
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                                                      January 9, 2023


                                                Prince Harry Speaks Truth

ANDERSON COOPER: Prince Harry may have “stepped back” from his royal duties in 2020, but he and his wife, Meghan,
the Duchess of Sussex, certainly haven’t stepped away from the spotlight. Just last month, they appeared in a six-part Netflix
documentary about their relationship and their decision to leave their royal lives behind.

But now, the 38-year-old Prince Harry is telling his own story. In a new memoir, coming out Tuesday, called “Spare” -- a
nod to his backup role in the line of succession. The book is a stunning break with royal protocol. It’s a deeply personal
account of Prince Harry’s decades-long struggle with grief after the death of his mother, Princess Diana, and a revealing look
at his fractured relationships with his father, King Charles, his stepmother, the Queen Consort Camilla, and his brother,
Prince William, the heir to his spare.

(Begin VT)

ANDERSON COOPER: You write about a contentious meeting you had with him in 2021. You said, “I looked at Willy,
really looked at him maybe for the first time since we were boys. I took it all in, his familiar scowl, which had always been
his default in dealings with me, his alarming baldness, more advanced than my own, his famous resemblance to Mummy
which was fading with time, with age.” That’s pretty cutting.

PRINCE HARRY: I don’t see it as cutting at all. You know, my brother and I love each other. I love him deeply. There has
been a lot of pain between the two of us, especially the last six years. None of anything that I’ve written, anything that I’ve
included is ever intended to hurt my family. But it does give a full picture of the situation as we were growing up, and also
squashes this idea that somehow my wife was the one that destroyed the relationship between these two brothers.

ANDERSON COOPER: I think so many people around the world watched you and your brother grow up and feel like you
two were inseparable. And yet in reading the book, you have lived separate lives from the time your mom died.

PRINCE HARRY: Uh-huh.

ANDERSON COOPER: Even when you were in the same school, in high school.

PRINCE HARRY: Sibling rivalry.

ANDERSON COOPER: Your brother told you, “Pretend we don’t know each other.”

PRINCE HARRY: Yeah, and at the time it hurt. I couldn’t make sense of it. I was like, “What do you mean? We’re now at

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the same school. Like, I haven’t seen you for ages, now we get to hang out together.” He’s like, “No, no, no, when we’re at
school, we don’t know each other.” And I took that personally. But yes, you’re absolutely right, you hit the nail on the head.
Like, we had a very similar traumatic experience, and then we dealt with it two very different ways.

ANDERSON COOPER: William had tried to talk to you occasionally about your mom, but, as a child you could not -- you
couldn’t respond.

PRINCE HARRY: For me, it was never a case of, “I don’t want to talk about it with you.” I just don’t know how to talk
about it. I never ever thought that maybe talking about it with my brother or with anybody else at that point would be
therapeutic.

ANDERSON COOPER (voiceover): In August 1997, Harry and William were vacationing in Scotland with their father.
Harry was 12, William, 15. They were asleep at Balmoral Castle on August 31st, when Harry was awakened by his father
who told him his mother had been in a car crash in Paris.

ANDERSON COOPER: In the book you write, “He says, ‘They tried, darling boy. I’m afraid she didn’t make it.’ These
phrases remain in my mind like darts on a board,” you say. Did -- did you cry?

PRINCE HARRY: No. No. Never shed a single tear at that point. I was in shock, you know? You’re twelve years old, sort of
7:00, 7:30 in the morning early. Your father comes in, sits on your bed, puts his hand on your knee and tells you “There’s
been an accident.” I -- I couldn’t believe.

ANDERSON COOPER: And you write in the book that, “Pa didn’t hug me. He wasn’t great at showing emotions under
normal circumstances. But his hand did fall once more on my knee and he said, ‘It’s going to be okay.’” But after that,
nothing was okay for a long time.

PRINCE HARRY: No, nothing -- nothing was okay.

ANDERSON COOPER (voiceover): Harry says his memories of the next few days are fragmented. But he does remember
this: greeting mourners outside Kensington Palace in London the day before his mother’s funeral.

ANDERSON COOPER: When you see those videos now, what do you think?

PRINCE HARRY: I think it’s bizarre, because I see William and me smiling. I remember the guilt that I felt.

ANDERSON COOPER: Guilt about?

PRINCE HARRY: The fact that the people that we were meeting were showing more emotion than we were showing, maybe
more emotion than we even felt.

ANDERSON COOPER: They were crying, but you weren’t.

PRINCE HARRY: There was a lot of tears. I talk about how wet people’s hands were. And I couldn’t understand it at first.

ANDERSON COOPER: Their hands were wet from crying --

PRINCE HARRY: Their hands were wet from wiping their own tears away. I do remember one of the strangest parts to it
was taking flowers from people and then placing those flowers with the rest of them. As if I was some sort of middle person
for their grief. And that really stood out for me.

ANDERSON COOPER (voiceover): The funeral, on a cool September morning, was watched by as many as 2.5 billion
people around the world. Perhaps the most indelible image: Prince Harry and his brother, walking behind their mother’s
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casket on its way to Westminster Abbey.

ANDERSON COOPER: What do you remember about that walk?

PRINCE HARRY: How quiet it was. I remember, the occasional wail and screaming of someone. I remember the horse
hooves on the road.

The bridles of the horses, the gun carriage, the wheels, the occasional gravel stone underneath your shoe. But mainly, the --
the silence.

ANDERSON COOPER (voiceover): After the service, Princess Diana’s body was brought for burial to her family’s ancestral
estate, Althorp.

PRINCE HARRY: Once my mother’s coffin actually went into the ground, that was the first time that I actually cried. Yeah,
there was never another time.

ANDERSON COOPER: All through your teenage years, you did -- you didn’t cry about it?

PRINCE HARRY: No.

ANDERSON COOPER: You didn’t believe she was dead.

PRINCE HARRY: For a long -- for a long time, I just refused to accept that she was -- she was gone. Part of, you know, she
would never do this to us, but also part of, maybe this is all part of a plan.

ANDERSON COOPER: I mean, you really believed that maybe she had just decided to disappear for a time?

PRINCE HARRY: For a time, and then that she would call us and that we would go and join her, yeah.

ANDERSON COOPER: How long did you believe that?

PRINCE HARRY: Years. Many, many years. William and I talked about it as well. He had -- he had similar thoughts.

ANDERSON COOPER: You write in the book, you say, “I’d often say it to myself first thing in the morning, ‘Maybe this is
the day. Maybe this is the day that she’s going to reappear.’”

PRINCE HARRY: Yeah, hope. I had huge amounts of hope.

ANDERSON COOPER (voiceover): He held onto that hope into adulthood. When Harry was 20, he asked to see the police
report about the crash that killed his mother, her boyfriend Dodi Al-Fayed and their driver Henri Paul while they were being
pursued by paparazzi in a Paris tunnel.

ANDERSON COOPER: The files contained photographs of the crash scene. Why did you want to see it?

PRINCE HARRY: Mainly proof. Proof that she was in the car. Proof that she was injured. And proof that the very paparazzi
that chased her into the tunnel were the ones that were taking photographs of her lying half dead on the back seat of the car.

ANDERSON COOPER: You write, “I hadn’t been aware before this moment,” talking about looking at the pictures of the
crash scene --

PRINCE HARRY: Yeah.

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ANDERSON COOPER: -- “that the last thing Mummy saw on this earth was a flash bulb.”

PRINCE HARRY: Yep

ANDERSON COOPER: That’s what you saw in the pictures?

PRINCE HARRY: Mm-hmm. Well, they were -- the pictures showed the reflection of a group of photographs taking
photographs through the window, and the reflection on the window was -- was them.

ANDERSON COOPER (voiceover): He only saw some of the crash photos, his private secretary and advisor dissuaded him
from looking at the rest.

PRINCE HARRY: All I saw was the back of my mum’s head slumped on the back seat. There were other more gruesome
photographs, but I will be eternally grateful to him for denying me the ability to inflict pain on myself by seeing that. Because
that’s the kind of stuff that sticks in your mind forever.

ANDERSON COOPER (voiceover): Harry says he believed his mother might still be alive until he was 23 and visited Paris
for the first time.

ANDERSON COOPER: You told your driver, “I want to go to the tunnel where my mom died?”

PRINCE HARRY: Yeah. I wanted to see whether it was possible driving at the speed that Henri Paul was driving that you
could lose control of a car and plow into a pillar killing almost everybody in that car. I need to take this journey. I need to
ride the same route --

ANDERSON COOPER: The same tunnel, the same speed --

PRINCE HARRY: All of it.

ANDERSON COOPER: -- your mother was going.

PRINCE HARRY: Yeah. Because William and I had already been told, “The event was like a bicycle chain. If you remove
one of those chains, the end result would not have happened.” And the paparazzi chasing was part of that. But yet, everybody
got away with it.

ANDERSON COOPER (voiceover): Harry writes he and his brother weren’t satisfied with the results of a 2006 investigation
by London’s Metropolitan Police, concluding Diana’s driver, Henri Paul, had been drinking and the crash was a, quote,
“tragic accident.”

PRINCE HARRY: William and I considered reopening the inquest. Because there were so many gaps and so many holes in
it. Which just didn’t add up and didn’t make sense.

ANDERSON COOPER: Would you still like to do that?

PRINCE HARRY: I don’t even know if it’s an option now. But no, I think -- would I like to do that now? It’s a hell of a
question, Anderson.

ANDERSON COOPER: Do you feel you have the answers that you need to have about what happened to your mom?

PRINCE HARRY: Truth be known, no. I don’t think I do. And I don’t think my brother does either. I don’t think the world
does. Do I need any more than I already know? No. I don’t think it would change much.

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ANDERSON COOPER (voiceover): Harry now says it wasn’t until he served in combat with the British Army in
Afghanistan that he finally found purpose and a sense of normalcy.

PRINCE HARRY: My military career saved me in many regards.

ANDERSON COOPER: How so?

PRINCE HARRY: Got me out of the spotlight from the -- from the U.K. press. I was able to focus on a purpose larger than
myself, to be wearing the same uniform as everybody else, to feel normal for the first time in my life. And accomplish some
of the biggest challenges that I ever had. I was training to become an Apache helicopter pilot. You don’t get a pass for being
a prince.

ANDERSON COOPER: The Apache doesn’t give a crap about who you are.

PRINCE HARRY: No, there’s no prince autopilot button that you can press and just takes you away. I was a really good
candidate for the military. I was a young man in my 20s suffering from shock. But I was now in the front seat of an Apache
shooting it, flying it, monitoring four radios simultaneously and being there to save and help anybody that was on the -- on
the ground with a radio screaming, “We need support, we need air support.” That was my calling. I felt healing from that
weirdly.

ANDERSON COOPER: And that multi-tasking, the brain work of that, that felt good to you?

PRINCE HARRY: It felt like I was turning pain into a purpose. I didn’t have the awareness at the time that I was living my
life in adrenaline, and that was the case from age 12, from the moment that I was told that my mom had died.

ANDERSON COOPER: You say, “War didn’t begin in Afghanistan. It began in August 1997.”

PRINCE HARRY: Yeah. The war for me unknowingly was when my mum died.

ANDERSON COOPER: Who were you fighting?

PRINCE HARRY: Myself. I had a huge amount of frustration and blame towards the British press for their part in it.

ANDERSON COOPER: Even at 12, I mean, at that young, you were feeling that toward the British press?

PRINCE HARRY: Yeah. I mean, it was obvious to us as kids, the British press’ part in our mother’s misery and I had a lot of
anger inside of me that luckily, I never expressed to anybody. But I resorted to drinking heavily. Because I wanted to numb
the feeling, or I wanted to distract myself from how -- whatever I was thinking. And I would resort to drugs as well.

ANDERSON COOPER (voiceover): Harry admits he smoked pot and used cocaine. And he writes that in his late 20s, he felt
“hopeless” and “lost.”

PRINCE HARRY: There was this weight on my chest that I felt for so many years that I was never able to cry. So I was
constantly trying to find a way to cry, but in even sitting on my sofa and going over as many memories as I could muster up
about my mum, and sometimes I watched videos online.

ANDERSON COOPER: Of your mom?

PRINCE HARRY: Of my mum.

ANDERSON COOPER: Hoping to cry?

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PRINCE HARRY: Yep.

ANDERSON COOPER: And you couldn’t.

PRINCE HARRY: I couldn’t.

ANDERSON COOPER (voiceover): He sought out help from a therapist for the first time seven years ago. And he reveals
he’s also tried more experimental treatments.

ANDERSON COOPER: You write in the book about psychedelics, Ayahuasca, psilocybin, mushrooms.

PRINCE HARRY: Yeah, I would never recommend people to do this recreationally. But doing it with the right people if you
are suffering from a huge amount of loss, grief or trauma, then these things have a way of working as a medicine.

ANDERSON COOPER: They showed you something. What did they show you?

PRINCE HARRY: For me, they cleared the windscreen, the windshield, the misery of loss. They cleared away this idea that I
had in my head that my mother, that I needed to cry to prove to my mother that I missed her. When in fact, all she wanted
was for me to be happy.

(End VT)

ANDERSON COOPER: Prince Harry says he’s found that happiness with his wife in California, but as you’ll hear in a
moment, he’s far from at peace with the royal family.

(ANNOUNCEMENTS)

ANDERSON COOPER: Prince Harry’s memoir “Spare,” is anything but spare in its unflattering portrayal of the royal
family, especially his stepmother, Camilla, now the Queen consort. She married then-Prince Charles in 2005, though the two
had been romantically involved on and off for decades. When Princess Diana famously referred to Camilla as the third person
in her marriage, the British tabloids ran with it, and Prince Harry has never forgotten.

(Begin VT)

PRINCE HARRY: She was the villain. She was the third person in their marriage. She needed to rehabilitate her image.

ANDERSON COOPER: You and your brother both directly asked your dad not to marry Camilla?

PRINCE HARRY: Yes.

ANDERSON COOPER: Why?

PRINCE HARRY: We didn’t think it was necessary. We thought that it was going to cause more harm than good and that if
he was now with his person, that -- surely that’s enough. Why go that far when you don’t necessarily need to? We wanted
him to be happy. And we saw how happy he was with her. So, at the time, it was, “Okay.”

ANDERSON COOPER: You wrote that she started a campaign in the British press to pave the way for a marriage. And you
wrote, “I even wanted Camilla to be happy. Maybe she’d be less dangerous if she was happy.” How was she dangerous?

PRINCE HARRY: Because of the need for her to rehabilitate her image.

ANDERSON COOPER: That made her dangerous?
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PRINCE HARRY: That made her dangerous because of the connections that she was forging within the British press. And
there was open willingness on both sides to trade of information. And with a family built on hierarchy, and with her, on the
way to being Queen consort, there was going to be people or bodies left in the street because of that.

ANDERSON COOPER (voiceover): Harry says over the years, he was one of those bodies. He accuses Camilla and even his
father, at times, of using him or William to get better tabloid coverage for themselves. Prince Harry writes, Camilla, quote,
“sacrificed me on her personal P.R. altar.”

PRINCE HARRY: If you are led to believe, as a member of the family, that being on the front page, having positive
headlines, positive stories written about you, is going to improve your reputation or increase the chances of you being
accepted as monarch by the British public, then that’s what you’re going to do.

ANDERSON COOPER (voiceover): In his book, Harry writes that when he introduced Meghan Markle to his family in
2016, his father initially took a liking to her, but William was skeptical, disdainfully referring to Meghan as “an American
actress.” Though Harry doesn’t specify who, he says other members of the royal family were uneasy as well.

PRINCE HARRY: Right from the beginning, before they even had a chance to get to know her. And the U.K. press jumped
on that. And here we are.

ANDERSON COOPER: And what was that based on, that mistrust?

PRINCE HARRY: The fact that she was American, an actress, divorced, black, biracial with a black mother. Those were just
four of the typical stereotypes that is -- becomes a feeding frenzy for the British press.

ANDERSON COOPER: But all those things within the family also were sources of mistrust.

PRINCE HARRY: Yes. You know, my family read the tabloids. It’s laid out at breakfast when everyone comes together. So,
whether you walk around saying you believe it or not, it’s still -- it’s still leaving an imprint in your mind. So if you have that
judgment based on a stereotype right at the beginning, it’s very, very hard to get over that.

And a large part of it for the family, but also the British press and numerous other people is, like, “He’s changed. She must be
a witch. He’s changed.” As opposed to, yeah, I did change, and I’m really glad I changed. Because rather than getting drunk,
falling out of clubs, taking drugs, I had now found the love of my life, and I now had the opportunity to start a family with
her.

ANDERSON COOPER (voiceover): Soon after their relationship became public, Harry insisted on putting out a statement
condemning some of the tabloid coverage of Meghan and what he called, quote “the racial undertones of comment pieces.”

ANDERSON COOPER: You write that your dad and your brother, William, were furious with you for doing that. Why?

PRINCE HARRY: They felt as though it made them look bad. They felt as though they didn’t have a chance or weren’t able
to do that for their partners. What Meghan had to go through was similar in some part to what Kate and what Camilla went
through, very different circumstances. But then you add in the race element, which was what the press -- British press jumped
on straight away. I went into this incredibly naive. I had no idea the British press were so bigoted. Hell, I was probably
bigoted before --

ANDERSON COOPER: You --

PRINCE HARRY: -- the relationship with Meghan.

ANDERSON COOPER: You think you were bigoted before the relationship with Meghan.
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PRINCE HARRY: I don’t know. Put it this way, I didn’t see what I now see.

ANDERSON COOPER (voiceover): They were married in May 2018, in a ceremony that seemed to promise a more modern
and inclusive royal family -- and given the titles Duke and Duchess of Sussex. But behind the scenes, according to Harry,
William’s mistrust of Meghan only worsened.

ANDERSON COOPER: Did you ever try to meet with William and Kate to try to defuse the tension?

PRINCE HARRY: Yep.

ANDERSON COOPER: How did that meeting go?

PRINCE HARRY: Not particularly well.

ANDERSON COOPER (voiceover): In early 2019, Harry writes, the rancor between William and him exploded at Harry’s
cottage on the grounds of Kensington Palace.

ANDERSON COOPER: Your arguments with your brother became physical.

PRINCE HARRY: It was a buildup of frustration, I think, on his part. It was at a time where he was being told certain things
by people within his office. And at the same time, he was consuming a lot of the tabloid press, a lot of the stories. And he had
a few issues, which were based not on reality. And I was defending my wife.

And he was coming for my wife -- she wasn’t there at the time -- but through the things that he was saying. I was defending
myself. And we moved from one room into the kitchen. And his frustrations were growing, and growing, and growing. He
was shouting at me. I was shouting back at him. It wasn’t nice. It wasn’t pleasant at all. And he snapped. And he pushed me
to the floor.

ANDERSON COOPER: He knocked you over?

PRINCE HARRY: He knocked me over. I landed on the dog bowl.

ANDERSON COOPER: You cut your back.

PRINCE HARRY: Yeah. I cut my back. I didn’t know about it at the time. But, yeah, he apologized afterwards. It was a
pretty nasty experience, but --

ANDERSON COOPER: He asked you not to tell anybody -- not to tell Meghan?

PRINCE HARRY: Yeah. And I wouldn’t have done it. I didn’t until she -- until she saw on the -- on my back. She goes,
“What’s that?” I was like, “Huh, what?” I actually didn’t know what she was talking about. I looked in the mirror. I was like,
“Oh (inaudible).” Well, because I’d never -- I hadn’t seen it.

ANDERSON COOPER (voiceover): Meghan has said constant criticism and pressure led her in the winter of 2019 to
contemplate suicide.

PRINCE HARRY: The thing that’s terrified me the most is history repeating itself.

ANDERSON COOPER: You really feared that your wife, Meghan --

PRINCE HARRY: Yes, I feared -- I feared a lot that the end result, the fact that I lost my mum when I was 12 years old,
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Prince Harry Speaks Truth, 2023 WLNR 2948569



could easily happen again to my wife.

ANDERSON COOPER (voiceover): In January 2020, Prince Harry and Meghan announced they intended to, in their words,
step back as senior members of the royal family. They moved to California three months later. Then there was the
headline-grabbing interview with Oprah Winfrey and a deal with Netflix worth a reported $100 million. Critics say the Duke
and Duchess are cashing in on their royal titles while they still can.

ANDERSON COOPER: Why not renounce your titles as duke and duchess?

PRINCE HARRY: And what difference would that make?

ANDERSON COOPER: One of the criticisms that you’ve received is that okay, fine, you want to move to California, you
want to step back from the institutional role. Why be so public? Why reveal conversations you’ve had with your father or
with your brother? You say you tried to do this privately.

PRINCE HARRY: And every single time I’ve tried to do it privately, there have been briefings and leakings and planting of
stories against me and my wife. You know, the family motto is never complain, never explain. But it’s just a motto. And it
doesn’t really hold --

ANDERSON COOPER: There’s a lot of complaining and a lot of explaining.

PRINCE HARRY: Endless --

ANDERSON COOPER: Private -- being done in -- through leaks.

PRINCE HARRY: Through leaks.

ANDERSON COOPER (voiceover): Prince Harry continues to claim he would never leak against his family.

***************************************************************

(10:30 PM, EDT)

PRINCE HARRY: So now, trying to speak a language that perhaps they understand, I will sit here and speak truth to you
with the words that come out of my mouth, rather than using someone else, an unnamed source, to feed in lies or a narrative
to a tabloid media that literally radicalizes its readers to then potentially cause harm to my family, my wife, my kids.

ANDERSON COOPER (voiceover): Last month, the British tabloid The Sun published a vicious column about Meghan
written by a TV host.

ANDERSON COOPER: He said, “I hate her. At night, I’m unable to sleep as I lie there, grinding my teeth and dreaming of
the day where she is made to walk naked through the streets of every town in Britain while the crowds chant, ‘Shame,’ and
throw lumps of excrement at her.” Did that surprise you?

PRINCE HARRY: Did it surprise me? No. Is it shocking? Yes. I mean, thank you for proving our point.

ANDERSON COOPER: Has there been any response from the palace?

PRINCE HARRY: No. And there comes a point when silence is betrayal.

ANDERSON COOPER (voiceover): Harry has been back in the United Kingdom. He was in London last September for a
charity event when the Palace announced his grandmother, the Queen, was under medical supervision at Balmoral Castle in
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Scotland.

PRINCE HARRY: I asked my brother -- I said, “What are your plans? How are you and Kate getting up there?” And then, a
couple of hours later, you know, all of the family members that live within the Windsor and Ascot area were jumping on a
plane together, a plane with 12, 14, maybe 16 seats.

ANDERSON COOPER: You were not invited on that plane?

PRINCE HARRY: I was not invited.

ANDERSON COOPER (voiceover): By the time Harry got to Balmoral on his own, the Queen was dead.

PRINCE HARRY: I walked into the hall, and my aunt was there to greet me. And she asked me if I wanted to see her. I
thought about it for about five seconds, thinking, “Is this a good idea?” And I was, like, “You know what? You can -- you
can do this. You need to say goodbye.” So I went upstairs, took my jacket off and walked in and just spent some time with
her alone.

ANDERSON COOPER: Where was she?

PRINCE HARRY: She was in her bedroom. I was actually -- I was really happy for her. Because she’d finished life. She’d
completed life, and her husband was waiting for her. And the two of them are buried together.

ANDERSON COOPER (voiceover): As they had 25 years earlier, Harry and William found themselves walking together, but
apart, this time behind their grandmother’s casket.

ANDERSON COOPER: Do you speak to William now? Do you text?

PRINCE HARRY: Currently, no. But I look forward to -- I look forward to us being able to find peace. I want --

ANDERSON COOPER: How long has it been since you spoke?

PRINCE HARRY: A while.

ANDERSON COOPER: Do you speak to your dad?

PRINCE HARRY: We aren’t -- we haven’t spoken for quite a while. No, not recently.

ANDERSON COOPER: Can you see a day when you would return as a full-time member of the royal family?

PRINCE HARRY: No. I can’t see that happening.

ANDERSON COOPER: In the book, you called this, “A full-scale rupture.” Can it be healed?

PRINCE HARRY: Yes. The ball is very much in their court, but Meghan and I have continued to say that we will openly
apologize for anything that we did wrong, but every time we ask that question, no one’s telling us the specifics or anything.
There needs to be a constructive conversation, one that can happen in private that doesn’t get leaked.

ANDERSON COOPER: I assume they would say, “Well, how can we trust you, how do we know that you’re not going to
reveal whatever conversations we have in an interview somewhere?”

PRINCE HARRY: This all started with them briefing daily, against my wife with lies to the point of where my wife and I had
to run away from our -- from my country.
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ANDERSON COOPER: It’s hard, I think, for anybody to imagine a family dynamic that is so “Game of Thrones” without
dragons.

PRINCE HARRY: I don’t watch “Game of Thrones,” but --

ANDERSON COOPER: Oh. Okay.

PRINCE HARRY: -- there’s definitely dragons. And that’s again the third party which is the British Press. So, ultimately,
without the British press as part of this, we would probably still be a fairly dysfunctional family, like, a lot are. But at the
heart of it, there is a family, without question. And I really look forward to having that family element back. I look forward to
having a relationship with my brother. I look forward to having a relationship with my father and other members of my
family.

ANDERSON COOPER: You want that?

PRINCE HARRY: That’s all I’ve ever asked for.

(End VT)

ANDERSON COOPER: We reached out to Buckingham Palace for comment. Its representatives demanded that before
considering responding, 60 MINUTES provide them with our report prior to airing it tonight, which is something we never
do.

ANNOUNCER: Prince Harry on how being father helps him understand his own mother.

PRINCE HARRY: I’m starting to comprehend the position that she was in.

ANNOUNCER: At 60minutesovertime.com.

(ANNOUNCEMENTS)

END

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---- Index References ----

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Region: (Americas (1AM92); California (1CA98); Europe (1EU83); Eurozone Countries (1EU86); France (1FR23); North
America (1NO39); U.S. West Region (1WE46); USA (1US73); United Kingdom (1UN38); Western Europe (1WE41))

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Prince Harry’s memoir ‘Spare’ but not stingy, 2023 WLNR 1437020




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                                                    2023 WLNR 1437020

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                                                       January 13, 2023

                                                Section: Arts + Entertainment

                                      Prince Harry’s memoir ‘Spare’ but not stingy
                                  Deeply personal details about royals fill explosive book

                                                           Hillel Italie

                                                Jill Lawless, Associated Press

From the book’s opening citation of William Faulkner to Prince Harry’s passionate bond with his wife, Meghan Markle, you
could almost call the Duke of Sussex’s memoir “The Americanization of Prince Harry.”

Bereaved boy, troubled teen, wartime soldier, unhappy royal -- many facets of Prince Harry are revealed in his explosive
memoir, often in eyebrow-raising detail. Running throughout is Harry’s desire to be a different kind of prince -- the kind who
talks about his feelings, eats fast food and otherwise doesn’t hide beyond a prim facade.

Like an American.

From accounts of cocaine use and losing his virginity to raw family rifts, “Spare” exposes deeply personal details about
Harry and the wider royal family.

Brotherhood: The book opens with a famous quote from Faulkner: “The past is never dead. It’s not even past.”

Harry’s story is dominated by his rivalry with elder brother Prince William and the death of the boys’ mother, Princess
Diana, in 1997. Harry, who was 12 at the time, has never forgiven the media for Diana’s death in a car crash while being
pursued by photographers.

The loss of his mother haunts the book, which Harry dedicates to Meghan, children Archie and Lili, “and, of course, my
mother.”

The opening chapter recounts how his father Prince Charles -- now King Charles III -- broke the news of his mother’s
accident, but didn’t give his son a hug.

Harry reveals that years later he asked his driver to take him through the Pont de l’Alma tunnel in Paris, site of the fatal crash,
hoping in vain that it would help end a “decade of unrelenting pain.” He also says he once consulted a woman who claimed
to have “powers” and to be able to pass on messages from Diana.


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Harry adds that he and William “pleaded” with their father not to marry his long-term paramour Camilla Parker-Bowles,
worried she would become a “wicked stepmother.”

Harry also is tormented by his status as royal “spare” behind William, who is heir to the British throne. Harry recounts a
long-standing sibling rivalry that worsened after Harry began a relationship with Meghan, the American actor whom he
married in 2018.

He says that during an argument in 2019, William called Meghan “difficult” and “rude” (the kind of insults an upper-class
Englishman might reserve for Americans), then grabbed him by the collar and knocked him down. Harry suffered cuts and
bruises from landing on a dog bowl.

Harry says Charles implored the brothers to make up, saying after the funeral of Prince Philip in 2021: “Please, boys -- don’t
make my final years a misery.”

Neither Buckingham Palace, which represents King Charles III, nor William’s Kensington Palace office, has commented on
any of the allegations.

Admiration for grandparents: Harry writes with admiration and some affection about Queen Elizabeth II and Prince Philip.
He remembers Philip’s “many passions -- carriage driving, barbecuing, shooting, food, beer,” and above all how he
“embraced life,” as did his mother. “Maybe that was why he’d been such a fan” of Princess Diana, Harry recalls.

Meanwhile, he acknowledges being intimidated at times by his grandmother, if only because she was the Queen. She is no
more helpful than anyone else in containing the media leaks, but she is often seen as sympathetic to his wishes, never more so
than when she approved of his marriage of Meghan.

Harry also sees her as an engaging, even humorous person beyond her otherwise proper bearing. Reflecting on her death last
year, he remembers whispering jokes into her ear or convincing her to participate in a widely seen promotional video of the
Invictus Games, in which she one-ups the Obamas in a sparring contest.

”She was a natural comedienne,” he writes, calling her “wicked sense of humor” a prized confidence between the two. “In
every photo of us, whenever we’re exchanging a glance, making solid eye contact, it’s clear. We had secrets.”

Wild teenage years: The memoir suggests the media’s party-boy image of Harry during his teen and young adult years was
well-deserved.

Harry describes how he lost his virginity at age 17 -- in a field behind a pub to an older woman who loved horses and treated
the teenage prince like a “young stallion.” It was, he says, an “inglorious episode.”

He says he took cocaine several times starting at the same age to “feel different.” He also acknowledges using cannabis and
psychedelic mushrooms.

Army revelations: Harry offers extensive memories of his decade in the British Army, serving twice in Afghanistan. He says
that on his second tour, as an Apache helicopter co-pilot and gunner in 2012-2013, he killed 25 Taliban militants. Harry says
he felt neither satisfaction nor shame about his actions, and in the heat of battle regarded enemy combatants as pieces being
removed from a chessboard, “Bads taken away before they could kill Goods.”

Veterans criticized the comments and said they could increase the security risk for Harry. The Taliban returned to power in
Afghanistan in 2021, and Harry’s words have drawn protests in the country.

A regular guy: Yes, he’s a prince, but he isn’t above stopping by for burgers and fries at an In-N-Out, or getting clothes from
a chain outlet. He’s also a compulsive watcher of “Friends” and relates most to the wisecracking Chandler Bing, played by
Matthew Perry. He got to meet another “Friends” star, Courteney Cox, and indulge in chocolate psychedelic mushrooms at
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Prince Harry’s memoir ‘Spare’ but not stingy, 2023 WLNR 1437020



her Los Angeles home.

The real villain: Harry shares painful words about his father and brother, but his real anger is directed at the British media,
and at those within the royal circle who cooperated and otherwise stood aside. While Charles remains apparently indifferent
to the press, the rest of the family is obsessed with media coverage, Harry writes, himself as much as any of them. He
expresses despair over what he calls endlessly false stories about him, the racist caricatures of his wife and of the press’
unnerving knowledge of his whereabouts and private correspondence. “One has to have a relationship with the press,” he is
told by the royal staff.

Personal journey: Harry credits Meghan with changing the way he sees the world and himself. He says he was “awash in
isolation and privilege” and had no understanding of unconscious bias before he met her.

The young prince notoriously wore a Nazi uniform to a costume party in 2005, and claims in the book that William and his
now-wife Kate encouraged the choice of outfit and “howled” with laughter when they saw it. He was recorded using a racist
term about a fellow soldier of Pakistani descent in 2006, but says he did not know the word was a slur and that the soldier
was not offended.

Meghan and Harry cited the U.K. media’s treatment of the biracial American actor as one of the main reasons for their
decision to quit royal duties and move to the U.S. in 2020.

The book gives no sign that royal family relations will be repaired soon. Harry told ITV in an interview to promote the book
that he wants reconciliation, but that there must be “accountability” first.

In the final pages, Harry describes how he and William walked side-by-side during the funeral procession of Queen Elizabeth
in September, but spoke barely a word to one another.

”The following afternoon, Meg and I left for America,” he says.

Photo: Copies of Prince Harry’s memoir “Spare” are displayed Jan. 10 at a bookstore in London. Many facets of the Duke of
Sussex are revealed in eyebrow-raising detail in the book. KIN CHEUNG/AP


---- Index References ----

Company: BRITISH ARMY TRAINING UNIT KENYA

News Subject: (Health & Family (1HE30); Minority & Ethnic Groups (1MI43); Race Relations (1RA49); Social Issues
(1SO05))

Industry: (Book Publishing (1BO18); Books (1BO26); Celebrities (1CE65); Entertainment (1EN08); Publishing (1PU26);
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Region: (England (1EN10); Europe (1EU83); United Kingdom (1UN38); Western Europe (1WE41))

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Prince Harry and drugs: cocaine, marijuana, ayahuasca and alcohol, 2023 WLNR 8128987




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                                                         March 5, 2023


                           Prince Harry and drugs: cocaine, marijuana, ayahuasca and alcohol

Prince Harry , as part of the promotion of his book of memoirs ‘Spare: In the Shadow’ , held a live session -his followers had
to pay to see it- with Dr. Gabor Maté , a specialist in the treatment of addictions. The Duke of Sussex has not avoided any
question and has spoken openly about his past relationship with drugs: cocaine, marijuana, ayahuasca and alcohol .

Let’s start with marijuana . In this case, Prince Harry has confessed that this substance was a great help for him mentally.
However, he does not have such good experiences after his consumption of cocaine , of which he assures that, beyond having
a social component, it was of practically no use to him.

Harry has explained that cocaine made him feel “different”, which is what he was looking for in part with the consumption of
this type of substance. “It helped me have a sense of belonging,” he has reflected as Dr. Gabor Maté listened attentively.
 Ayahuasca helped Prince Harry
On the other hand, the son of Charles III has also opened up about his consumption of ayahuasca , a potent hallucinogen. In
this case, Harry has given quite a few more details about what this substance caused in his mood and mental state: “It was
like cleaning the windshield , like removing the filters on Instagram”.

The Duke of Sussex has acknowledged that this substance helped him “deal with the traumas and pains of the past”. “It took
it all away and brought me a sense of relaxation, release, comfort and a lightness that I managed to hold on to. I did it, at first,
as a leisure activity, but then I saw that it was good for me,” he reflected.

In a different way he has analyzed his experiences with alcohol. Although in other interviews he has acknowledged that he
had times when he drank heavily, in the talk with Dr. Gabor Maté he made a different assessment: “It seems that there is a
social pressure to drink . At some dinners when I didn’t drink, they told me, if you’re not going to drink anything, go away”.
 Gabor Maté’s diagnosis: Harry may have ADD
The conversation with Prince Harry has led addiction specialist Gabor Maté to a conclusion: the Duke of Sussex may have
attention deficit disorder (ADD ). The doctor has commented that this may be due to the fact that the Duke of Sussex , among
other factors, has grown up in an environment that he has described as “abnormal”.


---- Index References ----


News Subject: (Alcohol Abuse (1AL63); Drug Addiction (1DR84); Health & Family (1HE30))

Industry: (Healthcare (1HE06); Healthcare Practice Specialties (1HE49); Healthcare Services (1HE13); Psychiatric Disorders
& Conditions (1PS79); Psychiatric Services (1PS61); Psychiatry (1PS63))
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Royal Sussex




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                                                       March 4, 2023


                                                        Royal Sussex

The Duke of Sussex has said marijuana “really helped” him mentally.

Harry, speaking at a livestreamed event, said cocaine “did nothing” for him.

He went on: “Marijuana is different, that actually really did help me.”


---- Index References ----



Industry: (Healthcare (1HE06); Healthcare Practice Specialties (1HE49); Healthcare Services (1HE13); Psychiatric Services
(1PS61))


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Royals will be mortified as Harry’s cocaine confession revives..., 2023 WLNR 657068




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                                                2023 WLNR 657068

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                                                      January 7, 2023


 Royals will be mortified as Harry’s cocaine confession revives memories of Freddie Windsor and Camilla’s son’s
                                       drug use - with Kate at the helm of ...

                                               Tom Scotson For Mailonline

Royals will be mortified as Harry’s cocaine confession revives memories of Freddie Windsor and Camilla’s son’s drug use -
with Kate at the helm of anti-abuse charity

Senior Royals are likely to be uneasy at Prince Harry’s cocaine confession as it drags up unwelcome memories of drug use
within the wider royal family.

The Duke of Sussex, 38 sensationally admitted to taking cocaine ‘a few times’Prince Harry also confessed to smoking
cannabis and taking magic mushroomsLike Harry’s drug habits the Royal Family has a history of taking and using
drugsREAD MORE: ‘I didn’t know p*** was an insult...’ says Prince Harry

Writing in his memoir Spare, which went on sale in Spain earlier than planned, the Duke of Sussex sensationally admitted to
having taken cocaine ‘a few times’ during his wilder party years.

In his autobiography, the 38-year-old Royal also confessed to taking cannabis and magic mushrooms, and ended up
hallucinating that a bin was talking to him.

In his book, Harry described smoking cigarettes and cannabis and drinking at the Windsor Castle golf course while he was a
student at Eton, but he’s not the only member of the family with a history of dabbling with illegal substances.

TOM PARKER BOWLES

In 1999 Camilla’s son, Tom Parker Bowles, was caught giving cocaine to a journalist while working at the Cannes Film
Festival in France.

Last year, it emerged that one of Ghisaline Maxwell’s accusers had a hand in setting up the sting.

According to the Telegraph, the woman was paid up to £40,000 to help a tabloid newspaper set up Mr Parker Bowles, son of
the Queen Consort, as part of a well-publicized sting in 1999.

Mr Parker Bowles was secretly filmed offering to buy cocaine for the woman, who was used by the tabloid because she knew
the food writer at the time.

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Royals will be mortified as Harry’s cocaine confession revives..., 2023 WLNR 657068




He also admitted using cocaine himself with ‘someone he found last night’ while working in France.

Mr Parker Bowles, who was 24 at the time and working as a publicist, was caught in the sting while at the Cannes Film
Festival and the incident was splashed over five pages of the News of the World.

In contemporary reports, Parker Bowles was described as ‘contrite’ while it was said Prince Charles, who was then a patron
of the drugs charity Phoenix House, was ‘fairly cross’ with the 24-year-old and scolded him for having been caught up in the
sting.

Lord Frederick Windsor

Queen Elizabeth II’s cousin, Lord Frederick Windsor, also admitted to taking cocaine after being snapped on the floor of a
London club, aged 22.

Back in 1999 he was spotted snorting cocaine after succumbing to peer pressure.

Lord Freddie later retold the story and said he regretted it.

After the incident Lord Freddie and his younger sister Lady Gabriella Windsor were taken by their mother to a drug
rehabilitation centre as teenagers, so they could see the problems caused by addiction.

It was reported at the time that both children were sick after leaving, having been left shocked by the aged state of a
17-year-old addict they met, the Princess said.

Nicolas Knatchbull

Another of Charles’s godchildren, Honourable Nicholas Knatchbull, the great-grandson of Earl Mountbatten of Burma, was
Prince William’s mentor at Eton and a frequent holiday companion.

But he became hooked on drugs and his life after school becamse a downward spiral or wild parties, which saw him drop out
of Edinburgh University after just six weeks.

A typical evening out would involve drug-taking, nightclubs and often end with him performing dangerous high-speed
manoeuvres in the car his father had bought for him.

Initially, he was arrested and cautioned by police for possession of cannabis, but rapidly graduated to crack cocaine, heroin,
ketamine — the horse tranquilliser — and MDMA, the key ingredient of ecstasy.

Devastated, his parents tried keeping him under curfew at Broadlands, the Hampshire home where the Queen and Prince
Philip spent their honeymoon, but ended up sending him to detox clinics costing up to £10,000 a week in Essex, Surrey,
London, South Africa and Arizona.

When he went on the run from The Priory, in Roehampton, South-West London, they had no choice but to have him
sectioned under the Mental Health Act.

As well writing about drugs in his memoir, Prince Harry’s drug use and partying lifestyle has been well documented.

During the Golden Jubilee in 2002, the Duke described being dragged into an office by an anonymous Royal Household staff
member after a reporter enquired about his drug-taking habits.

In February 2002 it was also reported that King Charles then the Prince of Wales, sent Harry to visit Featherstone Lodge
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Royals will be mortified as Harry’s cocaine confession revives..., 2023 WLNR 657068



Rehabilitation Centre in Peckham.

His Majesty took the decision after finding out the prince had taken drugs at parties and drunk booze at the Rattlebone Inn,
Sherston, Wiltshire.

In 2012, Harry enjoyed a wild weekend in Las Vegas, where he was snapped in just a necklace while a naked girl hid behind
him following a game of strip billiards in his VIP suite.

During Dax’s ‘Armchair Expert’ show, the royal was chatting about how people are more likely to run away and rebel after
being told ‘you need help’ when the host mentioned the notorious trip, joking: ‘[Or] take your clothes off in Las Vegas’.

Kate is a Patron of an Anti Drugs Charity

At the same time senior royals such as Kate Middleton are at the helm of anti-drugs charities.

Back in October the Princess of Wales released a message of support for those suffering with addiction, urging them to not
let shame hold them back from asking for help.

The Princess of Wales, patron of addiction recovery charity The Forward Trust, said addiction is ‘a serious health condition’
and ‘not a choice’.

Her message of support for the Taking Action on Addiction campaign comes in the form of a video on the first day of
Addiction Awareness Week.

In the video, Kate, 40, appears to be speaking from home as she is sitting on a couch with framed family photographs visible
behind her.

She says: ‘Addiction is a serious mental health condition that can happen to anyone, no matter what age, gender, race or
nationality.

’As patron of The Forward Trust, I have met many people who have suffered from the effects of addiction. Attitudes to
addiction are changing.

READ MORE:

Prince Harry reveals he took cocaine a ‘few times’ aged 17 after first being ‘offered a line’ during a hunting weekend but
claims it ‘wasn’t very fun’

’I saw the red mist in William. He wanted me to hit him back, but I chose not to’: Prince Harry tells more about the fight
between him and his brother in new ITV trailer... and says his mother Princess Diana would be ‘sad’ about their broken
relationship


---- Index References ----

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Royals will be mortified as Harry’s cocaine confession revives..., 2023 WLNR 657068



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What we learned from Prince Harry’s live therapy session..., 2023 WLNR 8286164




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                                                         Section: Life

                     What we learned from Prince Harry’s live therapy session with Gabor Mat[©

                                                         Sarah Laing

Ninety minutes is a long time to do anything, let alone delve into the deepest corners of your psyche and family history on a
ticketed livestream video feed. It’s a marathon of public self-examination, to be sure, but it’s one Prince Harry has been
training for ahead of his online conversation with Gabor Mat&#38;#233;, a Hungarian-Canadian trauma expert on Saturday.
(Writing a 416-page tell-all memoir about his life so far while filming a six-part documentary about his marriage has clearly
built his stamina in the confessional arena.)

This weekend’s virtual event was hosted by Random House, Harry’s publisher of his record-selling memoir, as well as of
Mat&#38;#233;’s own new book, “The Myth of Normal,” elegantly arranged alongside “Spare” on the rustic wooden mantle
of the fireplace that burned behind the two men, snow falling softly outside.

It was not, however, entirely the cosiest of fireside chats. Mat&#38;#233; was firmly in therapist mode, far more interested in
plumbing the depths of Harry’s feelings than casual chit-chat that might reveal nuggets of salacious gossip. Nothing, for
example, about whether Harry and Meghan will attend King Charles’s coronation , how he feels about the Frogmore Cottage
“ Frogxit “ drama, or even whether he’s spoken to his family since his book came out.

What we did get, however, was a series of fascinating revelations, straight from the therapist’s couch (armchair). Let’s get
into it.

There is very little physical affection between the Windsors

We already had a sense that the royals aren’t huggers (Exhibit A: Meghan’s story of her first time meeting William and Kate,
when it seems they found her attempts to embrace them “jarring”), but Harry really drove the point home in this
conversation. When Mat&#38;#233; suggested he had a childhood “deprived” of touch, Harry agreed, implying that he was
traumatized by his father’s lack of physical affection, which never went beyond a touch on the shoulder or knee, and even
then only in times of emotional extremis.

”It leaves me in the position of a father having two children trying to smother them with love,” Harry said of parenting
Archie and Lilibet. “I feel a huge responsibility not to pass on any trauma or negative experiences that I’ve had as a kid or as
a man growing up. There are times when I catch myself when I should be smothering them with that love but I might not be.”

Harry said he’s focused on “breaking the cycle” in his own family, a clear implied indictment on the way he was parented

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(and the way Queen Elizabeth II and Prince Philip did, by extension). In Charles’ defence, however, Harry added that “we
only know what we know.”

Harry said Meghan “saved” him

Harry landed another less-than-favourable blow against his family, who he describes as being trapped in an unhealthy “gilded
cage”: That his wife “saved him.” As he put it: “ I was stuck in this world, and she was from a different world and helped
draw me out of that.” In a fascinating follow-up, surely in response to the commenters who paint him as a manipulative
woman’s puppet, Harry went out of his way to say, “But none of the elements of my life now would have been possible
without me seeing it for myself.”

Along with an admission that he reads the Amazon reviews of his book (at his publisher’s urging), this little detail reveals
that Harry is indeed keeping tabs on what tabloids and royal watchers are saying about him.

Gabor Mat&#38;#233; suggested Harry has ADD

In one of the stranger moments of the livestream, Mat&#38;#233; began to diagnose a sometimes visibly uncomfortable
Harry with various mental health conditions: PTSD (which Harry said he prefers to call a “post-traumatic injury” instead of
disorder, since it’s something that can be healed rather than a life sentence); depression (which Harry accepts, while stressing
his episodes were very brief) and ADD, or attention deficit disorder. Gamely going along with being diagnosed live on air,
Harry entertains the idea. “OK &#38;#8230; should I accept that, or should I look into it?” he says with a slightly awkward
laugh before his on-air therapist tells him to do “whatever” he wants with that information.

Harry’s a fan of psychedelics &#38;#8212; and skeptical about Big Pharma

At one point, the conversation turned to substances that Harry may have used, both to mask his pain and to heal it. Cocaine
“didn’t do anything” for him, Harry said, while marijuana “really did help.” It’s psychedelics , however, that he really rates.
“I started doing it recreationally and then started to realize how good it was for me,” says Harry. One such experience is
detailed in “Spare,” when he took magic mushrooms at a party at Courtney Cox’s house and encountered a chatty garbage
bin in her guest bathroom.

”I would say it is one of the fundamental parts of my life that changed me and helped me deal with the traumas and pains of
the past,” Harry adds, describing taking ayahuasca as akin to cleaning a dirty windscreen. “It removed it all for me and
brought me a sense of relaxation, release, comfort, a lightness that I managed to hold on to for a period of time.”

Harry seems less keen on pharmaceutical medication, however, asking Mat&#38;#233;’s opinion on prescription drugs used
to treat depression in a leading sort of way that indicated he’s not such a believer himself. Later, he posited a theory that
doctors are paid more (by who, it’s not clear) when they prescribe medication.

Harry views “Spare” as “an act of service”

One of the striking things about the release of Harry’s memoir has been the dissonance between how he talks about it in
interviews and what’s actually in the book. For instance, his thoughtful explanation to Stephen Colbert of why he chose to
write about his “kill count” in Afghanistan read very differently in the book than the way he spoke about it. Saturday’s event
was another example of this: Harry called writing the book “an act of service,” something he did to help other people. While
that may be true, it’s also a glossing of the fact that many parts of the book &#38;#8212; including some of the petty family
dramas he airs &#38;#8212; feel less like charitable works and more like chances to score points against people who will
likely never answer back, publicly at least.

This tale of two Harrys could have a few different explanations: evidence of his continuing evolution, perhaps, a kind of
growth that means he might now see things he wrote in the book differently. Or it could be the added veneer of public
relations interventions giving him talking points to address points of controversy his “authentic” self spilled in the book.
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This interview makes it seem unlikely Harry and Meghan will be at the Coronation

While Harry and Meghan’s reps have confirmed they’ve received an invite to King Charles’s coronation , in the wake of this
interview it seems increasingly bizarre that we would see Harry and Meghan at Charles’s big day. Not only has Harry not
walked back any of the more hurtful things he’s said in his memoir, he’s taken another opportunity to reiterate them, even
added to them. “I always felt different from everyone in my family, and I know my mother did too,” he said at one point. He
also strongly implied that there’s little to no contact between him and his family: “I’ve lost a lot.”

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---- Index References ----

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